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                            .IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE
   ------------------------------------------------------------- x
                                                                 :
   In re:                                                        :           Chapter 11
                                                                 :
   THE WEINSTEIN COMPANY HOLDINGS,                               :           Case No. 18-10601 (MFW)
   LLC, et al.,                                                  :
                                                                 :           (Jointly Administered)
                                     Debtors.1                   :
                                                                 :           Re: D.I. 3182 & 3195
   ------------------------------------------------------------- x

                          ORDER CONFIRMING PLAN PROPONENTS’
                   FIFTH AMENDED JOINT CHAPTER 11 PLAN OF LIQUIDATION

              The Fifth Amended Joint Chapter 11 Plan of Liquidation, dated January 20, 2021 [D.I.

   3182 & 3195] (as may be amended, modified or supplemented, the “Plan”) and the Fourth

   Amended Disclosure Statement in Support of the Fourth Amended Joint Chapter 11 Plan of

   Liquidation Proposed by the Debtors and the Official Committee of Unsecured Creditors [D.I.

   3097 & 3098], dated November 17, 2020 (the “Disclosure Statement”)2 each having been filed

   with the United States Bankruptcy Court for the District of Delaware (the “Court”) by The

   Weinstein Company Holdings LLC and its affiliated debtors and debtors in possession

   (collectively, the “Debtors”) and the Official Committee of Unsecured Creditors appointed in their

   Chapter 11 Cases (the “Committee” and, together with the Debtors, the “Plan Proponents”); and

   the Disclosure Statement, and appropriate Ballots for voting on the Plan having been approved,

   and transmitted to Holders of Claims against the Debtors in the Voting Classes, pursuant to that


   1
     The last four digits of The Weinstein Company Holdings LLC’s federal tax identification number are 3837. The
   mailing address for The Weinstein Company Holdings LLC is 99 Hudson Street, 4th Floor, New York, New York
   10013. Due to the large number of debtors in these cases, which are being jointly administered for procedural purposes
   only, a complete list of the Debtors and the last four digits of their federal tax identification numbers is not provided
   herein. A complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent
   at https://dm.epiq11.com/twc.
   2
       All capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Plan.




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   certain Order (A) Approving the Adequacy of the Disclosure Statement, (B) Approving Solicitation

   Procedures (C) Setting Confirmation Hearing Date and Related Deadlines, (D) Estimating

   Certain Claims, and (E) Granting Related Relief, entered by this Court on November 17, 2020

   [D.I. 3101] (the “Disclosure Statement Order”); and a copy of the Plan, as amended or modified,

   being attached hereto as Exhibit A; and the Plan Supplement having been filed on December 4,

   2020 [D.I. 3120] (the “Plan Supplement”); and the Plan Proponents having filed their Joint (I)

   Memorandum of Law In Support of Confirmation of the Fifth Amended Joint Chapter 11 Plan of

   Liquidation of The Weinstein Company Holdings, LLC et al. and (II) Omnibus Reply to

   Confirmation Objections [D.I. 3184] (the “Confirmation Brief”) with this Court prior to the

   Confirmation Hearing (as defined herein); and the Declaration of Ivona Smith in Support of

   Confirmation of the Fifth Amended Joint Chapter 11 Plan of Liquidation of The Weinstein

   Company Holdings, LLC et al. [D.I. 3185] (the “TWC Declaration”); (ii) Declaration of Kyle

   Herman in Support of Confirmation of the Fifth Amended Joint Chapter 11 Plan of Liquidation of

   The Weinstein Company Holdings, LLC et al. [D.I. 3186] (the “Herman Declaration”); (iii)

   Declaration of Robert Peck in Support of Fifth Amended Chapter 11 Plan of Liquidation [D.I.

   3187] (the “Peck Declaration”); (iv) Declaration of David P. Schack in Support of Confirmation

   of the Fifth Amended Joint Chapter 11 Plan of The Weinstein Company Holdings, LLC et al. [D.I.

   3188] (the “Schack Declaration”); (v) Declaration of Paul H. Zumbro in Support of Confirmation

   of the Fifth Amended Joint Chapter 11 Plan of The Weinstein Company Holdings, LLC et al. [D.I.

   3189] (the “Zumbro Declaration”); (vi) Declaration of Jane Sullivan on Behalf of Epiq Corporate

   Restructuring, LLC Regarding Voting and Tabulation of Ballots Cast on the Fourth Amended Joint

   Chapter 11 Plan of Liquidation (the “Voting Declaration”) [D.I. 3191]; and Report of the Official

   Committee of Unsecured Creditors Concerning Sexual Misconduct Claims Ballots and




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   Declaration of Debra L. Grassgreen In Support Thereof (the “Committee Voting Report”)

   [D.I. 3159] (collectively, the “Declarations” and together with the Confirmation Brief, the

   “Confirmation Documents”) having been filed with this Court prior to the Confirmation Hearing;

   and the hearing to consider the confirmation of the Plan having been held before this Court on

   January 25, 2021 (the “Confirmation Hearing”) after due and sufficient notice was given to

   Holders of Claims against, and Interests in, the Debtors and other parties-in-interest in accordance

   with the Disclosure Statement Order, Title 11 of the United States Code (the “Bankruptcy Code”),

   the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and the Local Rules of

   Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

   Delaware (the “Local Rules”), in each case as established by the affidavits of service, mailing

   and/or publication filed with this Court prior to the Confirmation Hearing (collectively, the “Notice

   Affidavits”);3 and upon all of the proceedings held before this Court and after full consideration

   of: (i) each of the objections to the confirmation of the Plan filed with this Court and not

   subsequently withdrawn, settled, or deemed moot (the “Objections”); (ii) the Plan Supplement;

   (iii) the Confirmation Brief; (iv) the Voting Report; (v) testimony proffered or presented at the

   Confirmation Hearing, (vi) the Declarations and affidavits filed with this Court; and (vii) all other

   evidence proffered or adduced at, memoranda and objections filed in connection with, and

   arguments of counsel made at, the Confirmation Hearing; and after due deliberation thereon; and

   good cause appearing therefor:

                       THE COURT HEREBY FINDS:

              A.       The findings and conclusions set forth herein and on the record made at the

   Confirmation Hearing constitute the Court’s findings of fact and conclusions of law pursuant to


   3
       The Notice Affidavits are located at D.I. 3139 & 3163-65.



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   Rule 52 of the Federal Rules of Civil Procedure, as made applicable herein by Bankruptcy Rules

   7052 and 9014. To the extent any of the following findings of fact constitute conclusions of law,

   they are adopted as such. To the extent any of the following conclusions of law constitute findings

   of fact, they are adopted as such.

            B.        The Debtors are eligible debtors under section 109 of the Bankruptcy Code and,

   pursuant to Local Rule 9013-1(f), the Debtors consent to entry of a final order by the Court in

   accordance with the terms set forth herein to the extent that it is later determined that the Court,

   absent consent of the parties, cannot enter final orders or judgments consistent with Article III of

   the United States Constitution. Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408

   and 1409. The Debtors and the Committee are proper plan proponents under section 1121(a) of

   the Bankruptcy Code.

            C.        The Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and

   1334, and the Amended Standing Order of Reference from the United States District Court of

   Delaware, dated February 29, 2012. This is a core proceeding pursuant to 28 U.S.C. § 157(b) and

   this Court has jurisdiction to enter a final order with respect thereto.

            D.        The Plan Proponents have met their burden of proving that the Plan satisfies the

   elements of 1129(a) of the Bankruptcy Code by a preponderance of the evidence.

            E.        The Plan was solicited in good faith and in compliance with the applicable

   provisions of the Bankruptcy Code and Bankruptcy Rules. As is evidenced by the Affidavit of

   Service of Solicitation Materials [D.I. 3139], the transmittal and service of the Plan, the Disclosure

   Statement, and the other documents required by the Disclosure Statement Order were adequate

   and sufficient under the circumstances, and all parties required to be given notice of the

   Confirmation Hearing, including the deadline for filing objections, have been given due, proper,




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   timely, and adequate notice in accordance with the Disclosure Statement Order and in compliance

   with the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and applicable non-bankruptcy

   law and such parties have had a full and fair opportunity to appear and be heard with respect

   thereto. No additional or further notice is required.

            F.        The Plan has been proposed in good faith and not by any means forbidden by law.

   In so finding, the Court has considered the totality of the circumstances of these Chapter 11 Cases,

   and found that all constituencies acted in good faith. The Plan is the result of extensive, good faith,

   arm’s length negotiations among the Debtors and their principal constituencies.

            G.        Votes to accept or reject the Plan have been solicited and tabulated fairly, in good

   faith, and in a manner consistent with the Bankruptcy Code, the Bankruptcy Rules and the

   Disclosure Statement Order.

            H.        The Holders of Sexual Misconduct Claims in Class 4 and the Holders of General

   Unsecured Claims in Class 6 have voted to accept the Plan in accordance with section 1126(c) of

   the Bankruptcy Code. No Holders of Other Tort Claims in Class 5 submitted ballots in favor of,

   or against, the Plan. Holders of Claims in Class 4, Class 5 and Class 6 are the only Holders of

   Claims entitled to vote on the Plan in accordance with the terms of the Plan, the Bankruptcy Code

   and the Bankruptcy Rules.

            I.        The Plan Injunction (Section 7.3), the Channeling Injunction (Sections 5.8, 5.12),

   the Debtor Release (Section 7.2.1), the Third-Party Release (Sections 7.2.2-7.2.6) and the

   Exculpation (Section 14.5) as set forth in the Plan are appropriate under applicable law.

            J.        The releases contained in Section 7 of the Plan are: (a) in exchange for the good

   and valuable consideration provided by the Released Parties; (b) a good faith settlement and

   compromise of the Claims released by Section 7 of the Plan; (c) a product of good-faith and arm’s-




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   length negotiations; (d) integral elements of the Plan and the resolution of these Chapter 11 Cases;

   (e) in the best interests of the Debtors and all Holders of Claims and Interests; (f) fair, equitable,

   and reasonable; (g) given and made after due notice and opportunity for a hearing; and (h)

   consistent with the Bankruptcy Code and applicable bankruptcy law.

            K.        The Court’s findings of fact to support the approval of the Plan Injunction, the

   Channeling Injunction, the Debtor Release, the Third-Party Release and the Exculpation, based on

   the record made at the Confirmation Hearing, including the Confirmation Brief, Declarations and

   Voting Report, are set forth below:

                   1)      Compromise and Settlement. The Plan memorializes the significant
   compromises and agreements among the Released Parties that were agreed upon in the Plan
   Support Agreement. The Released Parties’ commitments under the Plan are contingent upon the
   corresponding commitments by the other Released Parties. In consideration for the classification,
   distributions, and other benefits provided under the Plan, the provisions of the Plan constitute a
   good faith compromise and settlement of all Claims and controversies among the Released Parties,
   including all Claims arising prior to the Petition Date. These compromises and settlements are in
   the best interests of the Debtors, their Estates and creditors, and all other parties-in-interest, and
   are fair, equitable and within the range of reasonableness.

                      2)     Fairness.

                           i.       Each of the Released Parties provided, or has agreed to provide, a
   substantial contribution that was necessary to make the Plan feasible and to provide a fair result
   for affected creditors that is superior to all other alternatives. Specifically:

                                a) The Insurance Companies. In connection with the Settlement and,
                                   pursuant to the terms of the Plan Support Agreement, the Insurance
                                   Companies, on behalf of the Released Parties (and Harvey
                                   Weinstein, only with respect to Sexual Misconduct Claimants who
                                   affirmatively elect to release Harvey Weinstein in accordance with
                                   the Plan), have agreed to pay the Settlement Amount to the Global
                                   Escrow Agent for the benefit of Holders of, among other Claims,
                                   Sexual Misconduct Claims, Other Tort Claims and General
                                   Unsecured Claims. The consideration provided by the Insurance
                                   Companies constitutes a substantial contribution and is critical to the
                                   Plan.

                                b) The Former Representatives. In connection with the Settlement, the
                                   Former Representatives have agreed to waive, in part, their



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                                  entitlement to reimbursement of all defense costs and expenses as a
                                  priority to payment of any lability or settlement amount pursuant to
                                  the terms of the Insurance Policies, which has provided the
                                  Insurance Companies with the ability to tender the Settlement
                                  Payment under the Plan. The consideration provided by the Former
                                  Representatives constitutes a substantial contribution and is critical
                                  to the Plan.

                          ii.       As reflected in the Voting Report and as set forth on the record made
   at the Confirmation Hearing, Holders of Sexual Misconduct Claims and General Unsecured
   Claims overwhelmingly voted in favor of the Plan. No Holders of Other Tort Claims returned a
   ballot in favor or, or against, the Plan. Accordingly, the Plan has been overwhelmingly accepted
   the classes of creditors affected by the injunctions and releases.

                      iii.      The Plan, the compromises reflected therein, and the Plan
   Injunction, the Channeling Injunction, the Debtor Release, the Third-Party Release and
   Exculpation were each the product of good-faith and arm’s-length negotiation among the Debtors,
   the Committee, the Insurance Companies, the Former Representatives and their respective
   representatives.

                        iv.      The Settlement Payment is fair and adequate under the
   circumstances and provides sufficient funding for the Sexual Misconduct Claims Fund and
   Liquidation Trust and provides adequate funding for the other payments and distributions to be
   made under the Plan. Accordingly, in exchange for the injunctions and releases provided for under
   the Plan, Holders of Claims and Interests are receiving fair, reasonable and adequate consideration.

                          v.       The Sexual Misconduct Claims Fund provides a fair and equitable
   mechanism for holders of Sexual Misconduct Claims to liquidate and satisfy their Sexual
   Misconduct Claims.
        .
                   3)      Necessity. The Plan Injunction, the Channeling Injunction, the Debtor
   Release and Third-Party Release are critical to the success of the Plan. Without the Debtor Release
   and Third-Party Release and the enforcement of the Debtor Release and Third-Party Release
   through the Plan Injunction and the Channeling Injunction, the Released Parties would not be
   willing to make their contributions under the Plan. Absent those contributions, no chapter 11 plan
   is feasible and creditors in these Chapter 11 Cases would receive little or no recovery.

                    4)     Extraordinary Circumstances. These Chapter 11 Cases were precipitated
   by the public disclosure of Harvey Weinstein’s years’ of alleged sexual misconduct. The Plan
   avoids the need for contentious, protracted and value-destructive litigation, preserves the Estates’
   limited assets and liquidates and monetizes the Debtors’ applicable Insurance Policies for the
   benefit of, among others, Holders of Sexual Misconduct Claims, Other Tort Claims and General
   Unsecured Claims whose recoveries may not otherwise be possible under the circumstances. The
   extensive efforts and substantial contributions by each of the Released Parties, along with the
   substantial litigation and collection risk absent a global settlement such as that included in the Plan
   and the magnitude of the recoveries provided for under the Plan, and in particular to Holders of



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   Sexual Misconduct Claims, constitute extraordinary circumstances warranting the Plan Injunction,
   the Channeling Injunction, the Debtor Release and Third-Party Release set forth in the Plan.

                   5)     Record Supports Specific Findings. The record of the Confirmation Hearing
   (including the Confirmation Brief, Declarations and Voting Report) and of these Chapter 11 Cases
   is sufficient to support the Plan Injunction, the Channeling Injunction, the Debtor Release and
   Third-Party Release contained in the Plan.

                   6)     Third Party Release. As set forth in the Confirmation Documents and
   herein, the Third-Party Release provided under the Plan satisfies the standard articulated in
   Continental Airlines (In re Continental Airlines), 203 F.3d 203 (3d Cir. 2000) and In re Millennium
   Lab Holdings II, LLC, 945 F.3d 126 (3d Cir. 2019), and with respect to Holders of Claims (except
   Holders of Claims in Class 4) who voted against the Plan or failed to return a ballot, the Third-
   Party Release is consensual in that all parties to be bound by such release were given due and
   adequate notice thereof and sufficient opportunity and instruction to elect to opt out of such Third-
   Party Release. With respect to Holders of Claims in Class 6 who opted out of the Third-Party
   Release, after confirmation of the Plan, such Holders may revise their ballot to opt in to the Third-
   Party Release and be treated as if such Holders never opted out of the Third-Party Releases.

                  7)     Debtor Release. As set forth in the Confirmation Documents and herein,
   the releases being provided by the Debtors and the Estates constitute a sound exercise of the
   Debtors’ business judgment and, to the extent applicable, otherwise satisfy the standard articulated
   in In re Master Mortg. Inv. Fund, Inc., 168 B.R. 930 (Bankr. W.D. Mo. 1994).

                   8)     Exculpation. As set forth in the Confirmation Documents and herein, the
   exculpations in favor of the Exculpated Parties in Section 14.5 of the Plan are appropriate in that
   the Exculpated Parties are estate fiduciaries and no Exculpated Party is being exculpated for acts
   or omissions that constitute willful misconduct or gross negligence. Accordingly, the Exculpation
   complies with the standard articulated in In re PWS Holding Corp., 228 F.3d 224 (3d Cir. 2000).

                      L.     The injunction and release provisions are critical to the success of the Plan.

   Without the Debtor Release and Third-Party Release, and the enforcement of such releases through

   the Plan’s Injunction and Channeling Injunction, the Insurance Companies and Former

   Representatives would not be willing to make their contributions under the Plan. Absent those

   contributions, the Plan would not be feasible. The injunctions are necessary to preserve and

   enforce the Debtor Release and Third-Party Release and are narrowly tailored to achieve that

   purpose.

            M.        Section 12.1 of the Plan provides for the substantive consolidation of the Debtors

   and their Estates for all purposes associated with confirmation and substantial consummation of


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 the Plan. Based on, among other things, the Confirmation Brief, the Peck Declaration and the

 record made at the Confirmation Hearing, (i) no class of creditors or interest holders is

 disadvantaged by the substantive consolidation of the Debtors and their Estates and (ii) substantive

 consolidation of the Debtors and their Estates is justified, appropriate, and in the best interests of

 the Debtors, their Estates, creditors and all other parties-in-interest.

          N.        Pursuant to sections 105, 363 and 1123(b)(3) of the Bankruptcy Code and

 Bankruptcy Rule 9019, and in consideration for, among other things, the classification,

 distributions, releases and other benefits provided under the Plan, upon the Effective Date, the

 provisions of the Plan, including the Settlement and Plan Support Agreement, shall constitute a

 good-faith compromise and settlement of all Claims, Interests, Causes of Action, and controversies

 resolved pursuant to the Plan, the Settlement and the Plan Support Agreement.                   These

 compromises and settlements, including the Settlement and the Plan Support Agreement, are in

 the best interests of the Debtors, their Estates, the Debtors’ creditors and other parties-in-interest,

 and are fair, equitable and within the range of reasonableness.

          O.        The Holders of Intercompany Claims (Class 7) and Interests (Class 8) are deemed

 to have rejected the Plan (the “Rejecting Classes”). The Plan does not discriminate unfairly and

 is fair and equitable with respect to the Rejecting Classes, as required by sections 1129(b)(1) and

 (b)(2) of the Bankruptcy Code, because (i) no Holder of any Claim or Interest that is junior to the

 Rejecting Classes will receive or retain any property under the Plan on account of such junior

 Claim or Interest and (ii) no Holder of a Claim in a Class senior to the Rejecting Classes is

 receiving more than 100% recovery on account of its Claim. Accordingly, the Plan does not

 discriminate unfairly among the different classes of creditors and interest holders, satisfies the fair




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 and equitable standard of the Bankruptcy Code and may be confirmed notwithstanding the

 rejection of the Plan by the Rejecting Classes.

                    FURTHER, IT IS HEREBY ORDERED THAT:

 A.       Confirmation of the Plan and Approval of the Settlement and Plan Support
          Agreement

          1.        The Plan is confirmed and approved in all respects.

          2.        Each of the Settlement and the Plan Support Agreement satisfies the requirements

 of Bankruptcy Rule 9019 and is approved. The compromises and settlements set forth in the Plan,

 including the Settlement and the Plan Support Agreement, as reflected in the relative distributions

 to and recoveries of Holders of Claims under the Plan, are approved pursuant to Bankruptcy Rule

 9019(a), including with respect to each of the Settlement and the Plan Support Agreement, and

 shall be effective immediately and binding on all parties in interest on the Effective Date.

          3.        Any and all objections to the Plan that have not been resolved, withdrawn, waived,

 or settled prior to the Confirmation Hearing are hereby overruled on the merits for the reasons set

 forth on the record made at the Confirmation Hearing.

          4.        The documents contained in the Plan Supplement are integral to the Plan and are

 approved by the Court.

          5.        The Debtors, the Liquidation Trust, the Liquidation Trustee and the Sexual

 Misconduct Claims Examiner are authorized to take all actions required under the Plan, the Plan

 Supplement and the Liquidation Trust Agreement to effectuate the Plan and the transactions

 contemplated therein.

          6.        The terms of the Plan, the Plan Supplement, the Liquidation Trust Agreement and

 the exhibits thereto (including, without limitation, the Settlement and the Plan Support Agreement)

 are incorporated herein by reference and are an integral part of this Confirmation Order. The terms



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 of the Plan, the Plan Supplement, the Liquidation Trust Agreement and the exhibits thereto

 (including, without limitation, the Settlement and the Plan Support Agreement), and all other

 relevant and necessary documents executed or to be executed in connection with the transactions

 contemplated by the Plan shall be effective and binding as of the Effective Date. Subject to the

 terms of the Plan, the Plan Proponents may alter, amend, update or modify the Plan Supplement

 and the Liquidation Trust Agreement before the Effective Date. The failure to specifically include

 or refer to any particular article, section, or provision of the Plan, the Plan Supplement, the

 Liquidation Trust Agreement or any related document in this Confirmation Order does not

 diminish or impair the effectiveness or enforceability of such article, section, or provision and this

 Confirmation Order shall be interpreted as if such articles, sections or provisions were included

 herein in their entirety.

          7.        This Confirmation Order shall constitute all approvals and consents required, if any,

 by the laws, rules or regulations of any state or any other governmental authority with respect to

 the implementation or consummation of the Plan and any other acts that may be necessary or

 appropriate for the implementation or consummation of the Plan. In accordance with section

 1142(b) of the Bankruptcy Code, upon the entry of this Confirmation Order, the Debtors, the

 Liquidation Trust, the Liquidation Trustee and the Sexual Misconduct Claims Examiner, as

 applicable, each acting by and through their respective officers and agents, are authorized to take

 any and all actions necessary or appropriate to implement the Plan, including, without limitation,

 (i) consummating the Settlement and Plan Support Agreement; (ii) forming the Liquidation Trust,

 entering into the Liquidation Trust Agreement (substantially in the form included in the Plan

 Supplement), and complying with, and satisfying the obligations set forth under, the Liquidation

 Trust Agreement; (iii) complying with, and satisfying the obligations set forth under, the Plan; and




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 (iv) complying with, and satisfying the obligations set forth under, the Sexual Misconduct Claims

 Fund Procedures, as applicable, in each case, without any further order of the Court. The

 Liquidation Trust shall be deemed for all purposes to have been created in connection with the

 Plan and this Confirmation Order.

          8.        Subject to payment of any applicable filing fees under applicable non-bankruptcy

 law, each federal, state, commonwealth, local, foreign or other governmental agency is authorized

 to accept for filing and/or recording any and all documents, mortgages and instruments necessary

 or appropriate to effectuate, implement or consummate the transactions contemplated by the Plan

 and this Confirmation Order.

          9.        The amendments and modifications to the Fourth Amended Joint Chapter 11 Plan

 of Liquidation [D.I. 3095 & 3096] since the filing thereof, including as reflected herein, and

 incorporated into and reflected in the Plan are approved in accordance with section 1127(a) of the

 Bankruptcy Code and Rule 3019(a) of the Bankruptcy Rules.

          10.       Pursuant to Bankruptcy Rule 3020(c)(1), the following provisions in the Plan are

 hereby approved and shall be effective immediately on the Effective Date without further order or

 action by the Court, any of the parties to such release, or any other Entity: (a) the Debtor Release

 (Section 7.2.1); (b) the Third-Party Release (Sections 7.2.2-7.2.6); (c) the Plan Injunction (Section

 7.3); (d) the Channeling Injunction (Section 5.8, 5.12); and (e) the Exculpation (Section 14.5). For

 the avoidance of doubt, the terms of the Plan provisions set forth in this paragraph 10 are

 incorporated herein by reference.

          11.       Except as otherwise set forth in the Plan, the Liquidation Trust Agreement or this

 Confirmation Order, on the Effective Date, the Liquidation Trust Assets shall vest in the

 Liquidation Trust free and clear of all Claims, Liens, and Interests.




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          12.       Unless as otherwise set forth in Section 8 of the Plan, all executory contracts and

 unexpired leases to which a Debtor is a party shall be deemed rejected on, and effective as of, the

 Effective Date.

          13.       Pursuant to Section 12.1 of the Plan, the terms of the Debtors’ substantive

 consolidation are approved.

          14.       The Chapter 11 Cases, other than the Chapter 11 Case of The Weinstein Company

 LLC (Case No. 18-10601) are deemed closed as of the Effective Date and this Confirmation Order

 shall serve as an order closing such Chapter 11 Cases.

          15.       The Liquidation Trustee shall cause to be served a notice of the entry of this

 Confirmation Order and occurrence of the Effective Date, substantially in the form attached hereto

 as Exhibit B (the “Effective Date Notice”), upon all parties listed in the creditor matrix maintained

 by Epiq Corporate Restructuring, LLC no later than seven (7) calendar days after the Effective

 Date. Notice need not be given or served to any Person for whom any prior notices sent during

 these Chapter 11 Cases have been returned as undeliverable, unless the Liquidation Trustee has

 been informed, on or before the date on which the Effective Date Notice is served, in writing by

 such Person of that Person’s new address, or unless previous mail to such address has been returned

 with a valid forwarding address on or before the date on which the Effective Date Notice is served,

 in which case the Effective Date Notice shall be mailed to such forwarding address. The notice

 described herein is adequate and appropriate and no other or further notice is necessary.

 B.       Liquidation Trust

          16.       Except as otherwise provided in the Plan, this Confirmation Order, or this Court’s

 Order Authorizing and Establishing Procedures for the Sale, Transfer or Abandonment of De

 Minimis Assets [D.I. 3141] and Order Granting Debtors’ Motion Pursuant to Fed. R. Bankr. P.




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 9019 for Approval of Settlement Agreement with Guilds,4 MUFG, UnionBanCal, and Committee

 [D.I. 1956; 1956-1], on and after the Effective Date, all Liquidation Trust Assets shall vest in the

 Liquidation Trust free and clear of all Claims, Liens, charges, other encumbrances, and Interests.

 On and after the Effective Date, the Liquidation Trust shall be authorized, without limitation, to

 use and dispose of the Liquidation Trust Assets in accordance with the terms of the Plan, to

 investigate and pursue any Causes of Action (other than any Cause of Action that has been released

 pursuant to the Plan and this Confirmation Order) as the representative of the Debtors’ Estates

 pursuant to section 1123(b)(3)(B) of the Bankruptcy Code, and to otherwise administer their

 affairs, in each case without supervision or approval by the Bankruptcy Court and free of any

 restrictions of the Bankruptcy Code or Bankruptcy Rules.

          17.       The Liquidation Trust shall retain and may enforce all rights to commence and

 pursue, as appropriate, any and all Causes of Action (other than any Cause of Action that has been

 released pursuant to the Plan and this Confirmation Order), whether arising before or after the

 Petition Date, and such rights to commence, prosecute, or settle such Causes of Action shall be

 preserved notwithstanding the occurrence of the Effective Date.

          18.       Dean A. Ziehl shall be, and hereby is, appointed as the Liquidation Trustee from

 and after the Effective Date. As the Liquidation Trustee, Mr. Ziehl will be an officer of the

 Bankruptcy Court, with the immunities, rights, and protections customarily enjoyed by bankruptcy

 trustees. The Bankruptcy Court will have sole jurisdiction over claims and causes of action against

 Mr. Ziehl (solely in his capacity as the Liquidation Trustee) arising out of the performance of his



 4
  “Guilds” means, as applicable: (i) Directors Guild of America, Inc., (ii) Directors Guild of America, Inc.-Producer
 Pension and Health Plans, (iii) Screen Actors Guild-American Federation of Television and Radio Artists, (iv) Screen
 Actors Guild-Producers Pension and Health Plans, (v) Writers Guild of America West, Inc., (vi) Writers Guild of
 America East, Inc., (vii) Writers Guild Pension Plan and Industry Health Fund, and (viii) Motion Picture Industry
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 duties, and Mr. Ziehl (in such capacity) may not be sued, or have claims asserted against him, in

 any other forum without leave of the Bankruptcy Court. The Liquidation Trustee and any

 professionals retained by the Liquidation Trustee may be compensated by the Liquidation Trust in

 connection with any services provided to or on account of the Liquidation Trust from and after the

 Effective Date, subject to and in accordance with the terms of the Plan and the Liquidation Trust

 Agreement.

 C.       Supplemental Administrative Expense Claims Bar Date

          19.       Except as otherwise provided in the Initial Bar Date Order or the Plan, requests for

 payment of Administrative Expense Claims must be filed with the Court and served on the

 Liquidation Trustee and its counsel and the U.S. Trustee within forty-five (45) days from service

 of the Effective Date Notice. Such proof of Administrative Expense Claim must include at a

 minimum: (i) the name of the holder of the Administrative Expense Claim; (ii) the dates upon

 which the Administrative Expense Claims arose; (iii) the asserted amount of the Administrative

 Expense Claim; (iv) the basis of the Administrative Expense Claim; and (v) supporting

 documentation for the Administrative Expense Claim. ANY ADMINISTRATIVE EXPENSE

 CLAIMS THAT ARE NOT ASSERTED IN ACCORDANCE HEREWITH AND WITH

 SECTION 3.7.1 OF THE PLAN SHALL BE DEEMED DISALLOWED UNDER THE PLAN

 AND SHALL BE FOREVER BARRED AGAINST THE DEBTORS, THEIR ESTATES, THE

 LIQUIDATION TRUST, OR ANY OF THEIR ASSETS OR PROPERTY, AND THE HOLDER

 THEREOF SHALL BE ENJOINED FROM COMMENCING OR CONTINUING ANY

 ACTION, EMPLOYMENT OF PROCESS OR ACT TO COLLECT, OFFSET, RECOUP, OR

 RECOVER SUCH CLAIM AND SHALL BE SUBJECT TO THE INJUNCTION PROVISION.




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      D. Bar Date for Claims Arising From Rejection of Execution Contracts

          20.       Claims created by the rejection of executory contracts or unexpired leases pursuant

 to the Plan must be filed with the Bankruptcy Court and served on the Liquidation Trustee and its

 counsel, no later than thirty (30) days after the Effective Date. Any Claims for rejection of

 executory contracts or unexpired leases pursuant to the Plan for which a proof of claim is not filed

 and served within such time will be forever barred and shall not be enforceable against the Debtors

 or their Estates, assets, properties, or interests in property, or against the Liquidation Trust. Unless

 otherwise ordered by the Bankruptcy Court, all such Claims that are timely filed as provided in

 the Plan shall be treated as General Unsecured Claims under the Plan. Nothing in the Plan extends

 any deadline for the filing of any Claims established in a previously entered order of the

 Bankruptcy Court.

 E.       Professional Fee Claims

          21.       Each Bankruptcy Professional requesting compensation for services rendered and

 reimbursement for expenses incurred during the period from the Petition Date through the

 Effective Date must (i) file and serve a properly noticed final fee application by no later than 45

 days after the Effective Date and (ii) be paid solely from the Liquidation Trust (a) the full unpaid

 amount as is Allowed by the Court within 7 days after the date that such Claim is Allowed by

 Order of the Court or (b) upon such other terms as may be mutually agreed upon between the

 Holder of such an Allowed Professional Fee Claim and the Liquidation Trustee.                     ANY

 PROFESSIONAL FEE CLAIM THAT IS NOT ASSERTED IN ACCORDANCE WITH

 SECTION 3.8 OF THE PLAN SHALL BE DEEMED DISALLOWED UNDER THE PLAN AND

 SHALL BE FOREVER BARRED AGAINST THE DEBTORS, THEIR ESTATES, THE

 LIQUIDATION TRUST, OR ANY OF THEIR ASSETS OR PROPERTY, AND THE HOLDER

 THEREOF SHALL BE ENJOINED FROM COMMENCING OR CONTINUING ANY


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 ACTION, EMPLOYMENT OF PROCESS OR ACT TO COLLECT, OFFSET, RECOUP, OR

 RECOVER SUCH CLAIM AND SHALL BE SUBJECT TO THE INJUNCTION PROVISION.

 Any Holder of a Claim or Interest (or their representative, including, but not limited to, the

 Committee) or the Liquidation Trustee may object to the allowance of Professional Fee Claims.

 F.       Dissolution of the Committee

          22.       On the Effective Date, the Committee shall dissolve and all members, ex officio

 members, employees, attorneys, financial advisors, other Bankruptcy Professionals, or other

 agents thereof shall be released and discharged from all rights and duties arising from or related to

 the Chapter 11 Cases; provided, however, that the Committee shall continue in existence and its

 Professionals shall continue to be retained with respect to Professional Fee Claims filed or to be

 filed pursuant to sections 330 and 331 of the Bankruptcy Code.

 G.       Miscellaneous

          23.       The Plan shall not become effective unless and until all conditions set forth in

 Section 11 of the Plan have been satisfied or waived pursuant to the terms thereof.

          24.       Notwithstanding Bankruptcy Rule 3020(e), 6004(h), 6006(d) and 7062, to the

 extent applicable, this Confirmation Order shall be effective and enforceable immediately, and the

 Plan Proponents and the Settlement Parties are hereby authorized to consummate the Plan and the

 transactions contemplated thereby immediately upon the entry of this Confirmation Order.

          25.       The failure specifically to include or to refer to any particular section or provision

 of the Plan or any related document in this Confirmation Order shall not diminish or impair the

 effectiveness of such article, section, or provision, and such section or provision shall have the

 same validity, binding effect, and enforceability as every other section or provision of the Plan, it

 being the intent of the Bankruptcy Court that the Plan be confirmed in its entirety and that all Plan-

 related documents be approved.


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          26.       Notwithstanding anything to the contrary contained in the Plan or Confirmation

 Order, nothing in the Plan or Confirmation Order: (i) shall grant any relief to any Entity that the

 Court is prohibited from granting by the Declaratory Judgment Act, 28 U.S.C. § 2201(a), or the

 Tax Anti-Injunction Act, 26 U.S.C. § 7421(a); (ii) release or discharge any claim for federal taxes

 against any Entity other than the Debtors, or enjoin the collection or assessment of such taxes; or

 (iii) grant the Debtors a release or discharge of any claims for federal taxes except as provided by

 11 U.S.C. §§ 524 and 1141(d), or enjoin the collection or assessment of such taxes except as

 provided by those provisions.

          27.       Notwithstanding any other provision of the Plan, the United States’ right(s) of setoff

 and recoupment are expressly preserved.

          28.       Notwithstanding any other provision of the Plan, the United States’ right to post-

 petition interest and penalties on its administrative claims is preserved.

          29.       Notwithstanding anything to the contrary in the Plan Documents or this

 Confirmation Order, nothing in the Plan Documents, this Confirmation Order, or the Chapter 11

 Cases generally, including any orders establishing deadlines for filing proofs of claim or requests

 for payment of expenses, shall stay, affect, or prejudice in any way Ashley Judd’s rights, claims,

 or defenses, or be used in any way, in or in connection with (a) the litigation currently pending in

 the United States District Court for the Central District of California captioned Judd v. Weinstein,

 Case No. 18-cv-05724 PSG (FFMx) or any related appeal, provided that none of the Released

 Parties shall be named as defendants in such litigation; or (b) any other proceeding, litigation, or

 appeal involving Ashley Judd and Harvey Weinstein relating to conduct arising in whole or part

 prior to June 30, 2005.




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          30.       On April 30, 2018, Black Bear Pictures, together with its affiliates BBP DevCo,

 LLC, BBP Gold, LLC, BBP Imitation, LLC, Black Bear IG Limited, and Three Greenhorns, Inc.

 (collectively, “Black Bear Pictures”) filed “Black Bear Pictures’ Objection To Assumption And

 Assignment Of Executory Contracts Or Unexpired Leases And Proposed Cure Objection” [D.I.

 527] (the “Black Bear Pictures Cure Objection”), to, among other things, object to the assumption

 and assignment of the Assumption Agreements (as defined in the Black Bear Pictures Cure

 Objection) to Spyglass Media Group, LLC, (f/k/a Lantern Entertainment LLC) pursuant to the Sale

 Order (as defined below). As of the date of the entry of this Confirmation Order, the Black Bear

 Pictures Cure Objection remains an Unresolved Contract Objection (as such term is defined the

 Order (I) Authorizing the Sale of All or Substantially All of the Debtors Assets Free and Clear of

 All Liens, Claims, Interests, Encumbrances and Other Interests, (II) Authorizing the Assumption

 and Assignment of Certain Executory Contracts and Unexpired Leases in Connection Therewith,

 and (III) Granting Related Relief [D.I. 846] (the “Sale Order”)). Notwithstanding anything in this

 Confirmation Order to the contrary, nothing herein shall affect the rights of any parties with

 Unresolved Contract Objections (as such term is defined in the Sale Order), including Black Bear

 Pictures under the Sale Order or the Black Bear Pictures Cure Objection with respect to the

 Assumption Agreements including, without limitation, any rights arising under Section 8.1 of the

 Plan. For the avoidance of doubt, nothing in this Confirmation Order shall supersede, alter, or

 otherwise modify the terms of the Sale Order and the rights granted or obligations imposed

 thereunder.

          31.       Except as otherwise provided in this Confirmation Order, if any or all of the

 provisions of this Confirmation Order are hereafter reversed, modified, vacated, or stayed by

 subsequent order of this Court, or any other court, such reversal, stay, modification, or vacatur




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 shall not affect the validity or enforceability of any act, obligation, indebtedness, liability, priority,

 or lien incurred or undertaken by the Debtors or the Liquidation Trustee, as applicable, prior to the

 effective date of such reversal, stay, modification, or vacatur. Notwithstanding any reversal, stay,

 modification or vacatur of this Confirmation Order, any such act or obligation incurred or

 undertaken pursuant to, or in reliance on, this Confirmation Order prior to the effective date of

 such reversal, stay, modification, or vacatur shall be governed in all respects by the provisions of

 this Confirmation Order, the Plan, the Plan Supplement, and any amendments or modifications to

 the foregoing.

          32.       The provisions of the Plan and this Confirmation Order, including the findings of

 fact and conclusions of law set forth herein, are nonseverable and mutually dependent.

          33.       To the extent of any inconsistency between this Confirmation Order and the Plan,

 this Confirmation Order shall govern.

          34.       Except as otherwise provided in the Plan or this Confirmation Order, notice of all

 subsequent pleadings in these Chapter 11 Cases after the Effective Date shall be limited to the

 following parties: (i) the Liquidation Trustee and its counsel; (ii) the U.S. Trustee, and (iii) any

 party known to be directly affected by the relief sought.

          35.       Notwithstanding the entry of this Confirmation Order or the occurrence of the

 Effective Date, pursuant to sections 105 and 1142 of the Bankruptcy Code, this Court, except as

 otherwise provided in the Plan or this Confirmation Order, shall retain jurisdiction over all matters

 arising out of, arising under, and related to, the Chapter 11 Cases to the fullest extent as is legally

 permissible, including jurisdiction over the matters set forth in Section 13 of the Plan.




Dated: January 26th, 2021
                                                       MARY F. WALRATH
Wilmington, Delaware
                                                       UNITED STATES BANKRUPTCY JUDGE

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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


 In re:                                                         Chapter 11

 THE WEINSTEIN COMPANY                                          Case No. 18-10601 (MFW)
 HOLDINGS LLC., et al.,1
                                                                Jointly Administered
                                      Debtors.
                                                                Re: Docket No. 29922


                FIFTH AMENDED JOINT CHAPTER 11 PLAN OF LIQUIDATION

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                                Counsel for the Official Committee of Unsecured Creditors
 Dated: January 20, 2021



 1
  The last four digits of The Weinstein Company Holdings LLC’s federal tax identification number are 3837. The
 mailing address for The Weinstein Company Holdings LLC is 99 Hudson Street, 4th Floor, New York, New York
 10013. Due to the large number of debtors in these cases, which are being jointly administered for procedural
 purposes only, a complete list of the Debtors and the last four digits of their federal tax identification numbers is not
 provided herein. A complete list of such information may be obtained on the website of the Debtors’ claims and
 noticing agent at http://dm.epiq11.com/twc.
 2
  On September 25, 2020 the Court entered an order [Docket No. 2992] authorizing the Debtors to file the Insurance
 Companies’ Funding Amounts, a copy of which is attached to the Plan as Schedule 2, under seal.




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                                          INTRODUCTION

         On March 19, 2018, The Weinstein Company Holdings LLC and fifty-four (54) affiliated
 companies (collectively, the “Debtors”) filed voluntary petitions for relief under chapter 11 of
 Title 11 of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court
 for the District of Delaware (the “Chapter 11 Cases”).3 The Chapter 11 Cases are jointly
 administered.

         The Debtors and the Official Committee of Unsecured Creditors appointed in the Chapter
 11 Cases (the “Committee”) jointly propose this Fifth Amended Joint Chapter 11 Plan of
 Liquidation (as it may be further amended, modified, or supplemented from time to time, together
 with any and all exhibits, schedules, and supplements attached hereto or referenced herein, the
 “Plan”) for the resolution and satisfaction of all Claims4 against and Interests in the Debtors.
 The Plan contemplates, first and foremost, the comprehensive settlement of various Claims,
 including those at issue in a multitude of litigations pending in various courts between and among
 sexual misconduct claimants, the Debtors, Harvey Weinstein, Robert Weinstein, other former
 members of the board of representatives of and/or directors and officers of the Debtors, the Office
 of the New York Attorney General (the “NYOAG”), and numerous insurance companies that
 issued directors and officers and general liability insurance policies to the Debtors prepetition.
 The Debtors and the Committee (the “Plan Proponents”) believe the Plan represents the most
 favorable recoveries attainable under the circumstances and provides for the fair and equitable
 allocation of the insurance proceeds (which may not be available at all absent the comprehensive
 settlement embodied in the Plan) and the Debtors’ remaining business assets to be distributed to
 creditors.

        Subject to certain restrictions and requirements set forth in section 1127 of the Bankruptcy
 Code and Bankruptcy Rule 3019, the Plan Proponents reserve the right to alter, amend, modify,
 revoke, or withdraw this Plan prior to its substantial consummation, so long as such alterations,
 amendments or modifications are consistent with the terms of the Plan Support Agreement,
 attached hereto as Exhibit 3. Reference is made to the Disclosure Statement for a discussion of
 the Debtors’ history and assets, a summary and analysis of this Plan, and certain related matters,
 including the distributions to be made under this Plan and the risk factors relating to the
 consummation of this Plan.

         The comprehensive settlement embodied in this Plan (the settlements embodied herein, the
 “Settlement”) provides mechanisms by which the universe of Tort Claims related directly or
 indirectly to the alleged misconduct of Harvey Weinstein, including, but not limited to the Sexual
 Misconduct Claims, shall be permanently resolved, released, and enjoined. In summary,
 Tort Claims include and are treated as follows:




 3
  A table identifying each Debtor, its chapter 11 bankruptcy case number, and the last four digits
 of its federal tax identification number is provided in Exhibit 2.
 4
     A capitalized term used but not defined herein shall have the meaning ascribed to it in Exhibit 1.



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        (1)     Sexual Misconduct Claims: Sexual Misconduct Claims are Tort Claims that
                relate directly or indirectly to the alleged or actual sexual misconduct of Harvey
                Weinstein and shall be (a) permanently channeled to the Sexual Misconduct
                Claims Fund and administered in accordance with the Sexual Misconduct Claims
                Fund Procedures in full satisfaction and release of any and all such Sexual
                Misconduct Claims, and (b) permanently enjoined and released against the
                Released Parties pursuant to the Bankruptcy Injunctions and Releases set forth in
                the Plan and the Plan Support Agreement; provided, however, that after a Sexual
                Misconduct Claim is Allowed and liquidated in accordance with the Sexual
                Misconduct Claims Fund Procedures, Holders of such Allowed and liquidated
                Sexual Misconduct Claims shall have the option to release Harvey Weinstein or to
                not release Harvey Weinstein and pursue an action against him (but not any
                Released Party) in another court of competent jurisdiction. Holders of Sexual
                Misconduct Claims who do not affirmatively elect to release Harvey Weinstein
                shall receive 25% of the Liquidated Value of their Sexual Misconduct Claims in
                consideration of the release of their potential Sexual Misconduct Claims against the
                Released Parties, and Holders of Sexual Misconduct Claims who affirmatively
                elect to release Harvey Weinstein shall receive the full Liquidated Value of their
                Sexual Misconduct Claims. The Claims review and determination process to
                establish the Liquidated Value of Sexual Misconduct Claims is summarized below
                and fully set forth in the Sexual Misconduct Claims Fund Procedures
                (attached hereto as Exhibit 4).

        (2)     Other Tort Claims: Tort Claims that are not Sexual Misconduct Claims (“Other
                Tort Claims”) shall recover solely, if Allowed, from the Liquidation Trust in full
                satisfaction and release of any and all Other Tort Claims in accordance with the
                Liquidation Trust Agreement, and be permanently enjoined and released against
                the Released Parties pursuant to the Bankruptcy Injunctions and Releases set forth
                in the Plan and the Plan Support Agreement. Other Tort Claims will recover ratably
                with all Allowed Other Tort Claims and Allowed General Unsecured Claims.

         The Released Parties are (i) the Debtors, the Estates, Non-Debtor Affiliates, Non-Debtor
 Additional Affiliates, the Former Representatives and the Insurance Companies; (ii) professionals
 of firms specified in Schedule 1 to the Plan; and (iii) each such persons’ or entities’ current and
 former officers, directors and board representatives, predecessors, successors, assigns, insiders,
 subsidiaries, Affiliates, principals, equity holders, members, trustees, partners, managers,
 employees, agents, members of any boards or similar bodies of such persons, advisory board
 members, insurers, reinsurers, and such persons’ respective heirs, executors, estates, and
 nominees, in each case as applicable and in their capacity as such, with respect to liability for the
 actions or inactions of the Former Representatives, the Debtors, the Estates, Non-Debtor Affiliates,
 Non-Debtor Additional Affiliates, or the Insurance Companies; provided, however, those persons
 or entities who fall within subparagraph (iii) (other than persons or entities specified in
 subparagraphs (i) and (ii)) are not released with respect to their own actions related to Sexual
 Misconduct Claims, regardless of their relationship with the Former Representatives, the Debtors,
 the Estates, Non-Debtor Affiliates, Non-Debtor Additional Affiliates, or the Insurance Companies,
 to the extent such action constitutes aiding, abetting or conspiracy to prevent the disclosure of or



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 to cover up any Sexual Misconduct Claim (each a “Non-Released Party”).5 The definition of
 Released Parties does not include Harvey Weinstein.

        Further, all Holders of Claims or Interests will release the Released Parties pursuant to
 Section 7 of the Plan irrespective of how such Holders vote on the Plan, provided, however, the
 Third-Party Releases shall not apply to Holders of Opt-Out GUCs. Notwithstanding the
 foregoing, the Debtors and the Former Representatives shall retain any and all rights against the
 Insurance Companies with respect to any Claims or Interests that are not permanently released or
 enjoined pursuant to Section Section 5 and Section Section 7 of the Plan.

         To effectuate the foregoing, the Plan provides for, inter alia, the establishment of
 (i) a Sexual Misconduct Claims Fund for the payment and satisfaction of the Sexual Misconduct
 Claims (Class 4) and (ii) a Liquidation Trust for the payment and satisfaction of all Claims (except
 Claims in Class 4). The Plan Proponents will seek to confirm the Plan pursuant to section 105(a)
 and other sections of the Bankruptcy Code to consummate the comprehensive Settlement
 embodied herein, including through the Sexual Misconduct Claims Fund and the Liquidation
 Trust. The Plan Proponents will only seek confirmation of the Plan if the Holders of Sexual
 Misconduct Claims (Class 4) vote to accept the Plan in accordance with section 1126(c) of the
 Bankruptcy Code, and notwithstanding the Plan Proponents’ rights under sections 1129(a) and
 1129(b) of the Bankruptcy Code, the Plan Proponents will not seek confirmation of the Plan if the
 Holders of Sexual Misconduct Claims (Class 4) vote to reject the Plan in accordance with section
 1126(c) of the Bankruptcy Code. Section 105(a) of the Bankruptcy Code and other sections of
 the Bankruptcy Code authorize the Bankruptcy Court to enter a “channeling injunction”
 pursuant to which the Sexual Misconduct Claims are forever channeled to the Sexual
 Misconduct Claims Fund, except that Holders of Sexual Misconduct Claims who do not
 affirmatively elect to release Harvey Weinstein shall be excused from the Channeling Injunction
 solely for the purpose of pursing an action against Harvey Weinstein (but not any Released
 Party) in another court of competent jurisdiction. Following the issuance of the Channeling
 Injunction in accordance with the Confirmation Order, any and all Holders of Sexual
 Misconduct Claims shall be permanently enjoined from seeking satisfaction of their Sexual
 Misconduct Claims against the Debtors or any other Released Party or the property of any such
 Released Party. The contributions of the Released Parties and Harvey Weinstein, directly or
 indirectly, to the Sexual Misconduct Claims Fund are expressly conditioned upon entry of the
 Confirmation Order approving the Channeling Injunction and confirming the Plan.

        Nothing in this Plan shall affect in any way any claims or causes of action, including,
 but not limited to, any claims, rights, or causes of action within the definition of “claim” in
 section 101(5) of the Bankruptcy Code, related in any way to conduct that occurred in whole
 or in part prior to June 30, 2005.




 5
   As specified in Exhibit 1, § 1.55, AIG Europe Limited and AIG Europe SA are not Insurance
 Companies and as such, AIG Europe Limited and AIG Europe SA are not Released Parties.


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 SECTION 1.       PLAN CONSTRUCTION

 1.1. Rules of Interpretation. Unless otherwise specified, all section or exhibit references in
 this Plan are to the respective section in, or exhibit to, this Plan, as the same may be amended,
 supplemented, waived, or modified from time to time. A term used herein that is not defined
 herein or in the exhibits shall have the meaning assigned to that term in the Bankruptcy Code.
 The rules of construction contained in section 102 of the Bankruptcy Code shall apply to this Plan.
 The headings in this Plan are for convenience of reference only and shall not limit or otherwise
 affect the provisions hereof. Unless otherwise provided, any reference in this Plan to an existing
 document, exhibit, or schedule means such document, exhibit, or schedule as it may have been
 amended, restated, revised, supplemented, or otherwise modified. If a time or date is specified for
 any payments or other Distribution under this Plan, it shall mean on or as soon as reasonably
 practicable thereafter.

 1.2. Controlling Document. In the event of any conflict, ambiguity, or inconsistency between
 any term or provision of the Plan and the Disclosure Statement, the term or provision of the Plan
 shall control in all respects. In the event of any conflict, ambiguity, or inconsistency between any
 term or provision of the Plan, the Plan Support Agreement, the Sexual Misconduct Claims Fund
 Procedures or the Liquidation Trust Agreement, the term or provision of the Plan shall control in
 all respects. In the event of any inconsistency or ambiguity between any provision of any of the
 foregoing documents, and any provision of the Confirmation Order, the Confirmation Order shall
 control and take precedence.

 SECTION 2.       PAYMENT OF ADMINISTRATIVE EXPENSES

 2.1. General. Subject to the Bar Date provisions set forth in Section 2.3 of the Plan, unless
 otherwise agreed to by the Liquidation Trustee and the Holder of a particular Administrative
 Expense Claim, each Holder of an Allowed Administrative Expense Claim shall receive Cash
 equal to the unpaid portion of such Allowed Administrative Expense Claim on the later of
 (a) the Effective Date or as soon thereafter as is reasonably practicable, and (b) such other date as
 is mutually agreed upon by the Liquidation Trustee and the Holder of such Claim. All Allowed
 Administrative Expense Claims against the Debtors shall be satisfied solely out of the Liquidation
 Trust, including all Allowed Administrative Expense Claims of Bankruptcy Professionals;
 provided, however, that while the Plan Proponents’ estimates and analyses (as of the date of the
 Plan) reflect that the Liquidation Trust Assets will be sufficient to satisfy all Administrative
 Expense Claims in full in Cash, in the event the Liquidation Trust Assets are insufficient to satisfy
 all Allowed Administrative Expense Claims in full in Cash, the Plan Proponents reserve the right
 to transfer part of the Sexual Misconduct Claims Fund to the Liquidation Trust only in the amount
 necessary for the Liquidation Trust to satisfy all Administrative Expense Claims in full in Cash.

 2.2. Payment of United States Trustee Fees. All fees payable pursuant to 28 U.S.C. § 1930
 shall be paid on the earlier of when due or the Effective Date, or as soon thereafter as practicable.
 From and after the Effective Date, the Liquidation Trust shall be liable for and shall pay the fees
 assessed against the Debtors’ estate under 28 U.S.C. § 1930 until entry of a final decree closing
 the Chapter 11 Cases. In addition, the Liquidation Trustee shall file post-confirmation quarterly
 reports in conformity with the United States Trustee guidelines, until entry of an order closing or
 converting the Chapter 11 Cases.


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 2.3. Bar Date for Administrative Expense Claims. Pursuant to the Order (I) Establishing
 Deadlines for Filing Proofs of Claim, (II) Establishing Deadlines for Filing Requests for Payment
 of Postpetition Administrative Expenses, (III) Approving Form and Notice Thereof, and
 (IV) Granting Related Relief (Dkt. No. 1890) (the “Initial Bar Date Order”), February 15, 2019
 was the deadline for filing Administrative Expense Claims through December 31, 2018
 (the “Initial Administrative Claims Bar Date”). Confirmation of the Plan shall establish, and the
 Confirmation Order shall be the order establishing, a supplemental bar date for Administrative
 Expense Claims in the Chapter 11 Cases incurred after December 31, 2018. The deadline for filing
 additional Administrative Expense Claims shall be the first Business Day that is at least 45 days
 after the Effective Date (the “Supplemental Administrative Claims Bar Date”) unless a later date
 is otherwise approved or such time is extended by the Bankruptcy Court. Objections to timely
 filed requests for allowance of Administrative Expense Claims must be filed and served no later
 than 30 days after the Supplemental Administrative Claims Bar Date.

 SECTION 3.        CLASSIFICATION AND TREATMENT
                   OF CLAIMS AND INTERESTS

 3.1. General Settlement of Claims. Pursuant to section 1123 of the Bankruptcy Code and in
 consideration for the classification, distribution, releases, and other benefits under the Plan, on the
 Effective Date, the provisions of the Plan shall constitute a good faith compromise of all Claims,
 Interests, and controversies resolved pursuant to the Plan.

 3.2. Bar Date for Claims (other than Administrative Expense Claims). Pursuant to the
 Initial Bar Date Order, February 15, 2019 was the deadline for filing a proof of Claim for all Claims
 except (i) Administrative Expense Claims that arose after December 31, 2018, and
 (ii) Tort Claims.6 On September 9, 2020, the Bankruptcy Court entered the Order (I) Establishing
 Deadlines for Filing Proofs of Claim Solely With Respect To Tort Claims, (II) Approving Form
 and Manner of Notice Thereof, and (III) Granting Related Relief (Dkt. No. 2966), which set
 October 31, 2020 as the deadline for filing a proof of claim for Tort Claims (the “Tort Claims Bar
 Date”).

 3.3. General Rules of Classification. The Plan: (i) divides Holders of Administrative Expense
 Claims, Priority Tax Claims, Professional Fee Claims, Other Priority Claims, Secured Tax Claims,
 Sexual Misconduct Claims, Other Tort Claims, General Unsecured Claims, Intercompany Claims
 and Interests into different groups and Classes based on their legal rights and interests, (ii) provides
 for satisfaction of Sexual Misconduct Claims from the Sexual Misconduct Claims Fund, and
 (iii) provides for the satisfaction of Administrative Expense Claims, Priority Tax Claims,
 Professional Fee Claims, Other Priority Claims, Secured Tax Claims, Other Tort Claims and
 General Unsecured Claims from the Liquidation Trust, and (iv) provides for the cancellation and
 termination of Intercompany Claims and Interests.



 6
   Tort Claims as defined herein are defined as Harassment Claims in the Initial Bar Date Order.
 (Dkt. No. 1890 at 6-7), and the definitions of Tort Claims and Harassment Claims are substantively
 the same. The “Tort Claims” nomenclature has been adopted and used in the Plan and the Plan
 Documents.


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 Sections 3.7, 3.8, and 3.9 of the Plan describe the categories of Administrative Expense Claims,
 Professional Fee Claims, and Priority Tax Claims, all of which are not classified. This Section 3
 of the Plan classifies Claims and Interests, for all purposes, including voting, confirmation, and
 distributions under the Plan. A Claim or Interest is classified in a particular Class only to the extent
 the Claim or Interest falls within the Class description. To the extent part of the Claim or Interest
 falls within a different Class description, the Claim or Interest is classified in that different Class.
 A Claim or Interest is in a particular Class only to the extent that such Claim or Interest is Allowed
 in that Class and has not been paid or otherwise settled prior to the Effective Date.

 Pursuant to Section 12.1 below, and for the reasons set forth in the Disclosure Statement, the Plan
 provides for the substantive consolidation of the Estates into a single Estate for all purposes
 associated with confirmation and consummation. As a result of the substantive consolidation of
 the Estates, each Class of Claims and Interests will be treated as against a single consolidated
 Estate without regard to the separate identification of the Debtors, and all Claims filed against
 more than one Debtor either on account of joint and several liability or on account of the same
 debt shall be deemed a single Claim against the consolidated Estates; provided, however, in the
 event the Bankruptcy Court does not approve the substantive consolidation of the Estates, each
 Class of Claims and Interests will be subdivided by Estate and each Estate’s assets will be
 distributed to the Holders of Allowed Claims in accordance with the absolute priority rule as set
 forth in this Plan.

 3.4. Summary of Treatment of Claims and Interests. The following table summarizes the
 classification and treatment of the Classes of Claims and Interests under the Plan.

  CLASS        DESCRIPTION                   IMPAIRED / UNIMPAIRED              ENTITLED TO VOTE


  Class 1      Other Priority Claims         Unimpaired                         No - Deemed to Accept


  Class 2      Secured Tax Claims            Unimpaired                         No – Deemed to Accept


  Class 3      Secured Claims                Unimpaired                         No - Deemed to Accept


  Class 4      Sexual Misconduct Claims      Impaired                           Yes


  Class 5      Other Tort Claims             Impaired                           Yes


  Class 6      General Unsecured Claims      Impaired                           Yes


  Class 7      Intercompany Claims           Impaired                           No – Deemed to Reject


  Class 8      Interests                     Impaired                           No - Deemed to Reject


 3.5. Postpetition Interest on Claims. Except as required by applicable bankruptcy law,
 postpetition interest shall not accrue or be payable on account of any Claim.


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 3.6. Full Satisfaction of Claims. The treatment in the Plan is in full and complete satisfaction
 of all of the legal, contractual, and equitable rights that each Holder of an Allowed Claim or an
 Allowed Interest may have in or against the Debtors or their property. Except as provided in the
 Plan, this treatment supersedes and replaces any agreements or rights those Holders have in or
 against the Debtors or their property.

 EXCEPT AS SPECIFICALLY SET FORTH IN THE PLAN, NO DISTRIBUTIONS WILL
 BE MADE AND NO RIGHTS WILL BE RETAINED ON ACCOUNT OF ANY
 ADMINISTRATIVE EXPENSE CLAIM, PROFESSIONAL FEE CLAIM, OR CLAIM
 THAT IS NOT ALLOWED.

 3.7.   Administrative Expense Claims

         3.7.1.    Treatment. Except as otherwise provided in Section 3.7.2 of the Plan, or to the
 extent that a Holder of an Allowed Administrative Expense Claim agrees to different treatment
 with the Debtors or Liquidation Trustee, each Holder of an Allowed Administrative Expense
 Claim shall receive Cash solely from the Liquidation Trust in an amount equal to the unpaid
 amount of such Allowed Administrative Expense Claim on the later of the Effective Date or the
 date on which such Administrative Expense Claim becomes an Allowed Administrative Expense
 Claim, or as soon thereafter as is reasonably practicable; provided, however, that Allowed
 Administrative Expense Claims representing liabilities incurred in the ordinary course of business
 by the Debtors or liabilities arising under obligations incurred by the Debtors prior to the Effective
 Date, shall be paid by the Debtors, in the ordinary course of business, consistent with past practice
 and in accordance with the terms and subject to the conditions of any agreements governing,
 instruments evidencing, or other documents relating to such transactions, including, but not limited
 to, any applicable orders of the Bankruptcy Court. In addition, Allowed Administrative Expense
 Claims of the United States Trustee for statutory fees under 28 U.S.C. § 1930 incurred prior to the
 Effective Date shall be paid solely from the Liquidation Trust on the Effective Date by the Debtors,
 and thereafter, as such fees may thereafter accrue and be due and payable, by the Liquidation
 Trustee in accordance with the applicable schedule for payment of such fees.

         3.7.2.    Administrative Expense Claims Bar Date. To be eligible to receive Distributions
 under the Plan on account of an Administrative Expense Claim that is not otherwise Allowed by
 the Plan, a request for payment of an Administrative Expense Claim must have been or be filed
 with the Bankruptcy Court on or before the Initial Administrative Expense Claims Bar Date or the
 Supplemental Administrative Expense Claims Bar Date, as applicable, or such other date as may
 be agreed to by the Liquidation Trustee. Any Administrative Expense Claims that are not asserted
 in accordance herewith and with Section 3.7.1 of the Plan shall be deemed disallowed under the
 Plan and shall be forever barred against the Debtors, their Estates, the Liquidation Trust, or any of
 their Assets or property, and the Holder thereof shall be enjoined from commencing or continuing
 any action, employment of process or act to collect, offset, recoup, or recover such Claim.

 3.8. Professional Fee Claims. Each Bankruptcy Professional requesting compensation for
 services rendered and reimbursement for expenses incurred during the period from the Petition
 Date through the Effective Date must (i) file and serve a properly noticed final fee application by
 no later than 45 days after the Effective Date and (ii) be paid solely from the Liquidation Trust
 (a) the full unpaid amount as is Allowed by the Bankruptcy Court within 7 days after the date that


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 such Claim is Allowed by Order of the Bankruptcy Court or (b) upon such other terms as may be
 mutually agreed upon between the Holder of such an Allowed Professional Fee Claim and the
 Liquidation Trustee. Any Professional Fee Claim that is not asserted in accordance with this
 Section 3.8 shall be deemed disallowed under this Plan and shall be forever barred against the
 Debtors, the Estates, the Liquidation Trust, or any of their Assets or property, and the Holder
 thereof shall be enjoined from commencing or continuing any action, employment of process or
 act to collect, offset, recoup, or recover such Claim. Any Holder of a Claim or Interest (or their
 representative, including, but not limited to, the Committee) or the Liquidation Trustee may object
 to the allowance of Professional Fee Claims.

 3.9. Priority Tax Claims. Except to the extent that a Holder of an Allowed Priority Tax Claim
 agrees to a different treatment of such Claim, each Holder of an Allowed Priority Tax Claim, if
 any such Claim exists, shall receive Cash solely from the Liquidation Trust in an amount equal to
 the unpaid portion of such Allowed Priority Tax Claim on, or as soon thereafter as is reasonably
 practicable, the date that is 90 calendar days after the Effective Date.

 3.10. Class 1: Other Priority Claims

         3.10.1. Classification. Class 1 consists of all Allowed Other Priority Claims against any
 of the Debtors that are specified as having priority in section 507(a) of the Bankruptcy Code if any
 such Claims exist as of the Effective Date.

          3.10.2. Treatment. Except to the extent that a Holder of an Allowed Other Priority Claim
 against any of the Debtors has agreed to a different treatment of such Claim, each such Holder
 shall receive, in full and final satisfaction, settlement, and release of each such Allowed Other
 Priority Claim, Cash solely from the Liquidation Trust in an amount equal to such Allowed Other
 Priority Claim, on or as soon as reasonably practicable after the latest of (i) the Effective Date,
 (ii) the date the Other Priority Claim becomes an Allowed Claim, and (iii) the date for payment
 provided by any agreement or arrangement between the applicable Debtor or the Liquidation
 Trustee and the Holder of the Allowed Other Priority Claim against the applicable Debtor.

 3.11. Class 2: Secured Tax Claims

         3.11.1. Classification. Class 2 consists of all Allowed Secured Tax Claims against any
 of the Debtors that, absent the secured status of such Claim, would be entitled to priority in right
 of payment under section 507(a) of the Bankruptcy Code if any such Claims exist as of the
 Effective Date.

          3.11.2. Treatment. Each Holder of an Allowed Secured Tax Claim against any of the
 Debtors shall receive, in full and final satisfaction, settlement, and release of each such Allowed
 Secured Tax Claim, Cash solely from the Liquidation Trust in an amount equal to such Allowed
 Secured Tax Claim, on or as soon as reasonably practicable after the latest of (i) the Effective Date,
 (ii) the date the Secured Tax Claim becomes an Allowed Claim, and (iii) the date for payment
 provided by any agreement or arrangement between the applicable Debtor or the Liquidation
 Trustee and the Holder of the Secured Tax Claim. The applicable Debtor and the Liquidation
 Trustee (after the Effective Date) specifically reserve the right to challenge the validity, nature,




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 and perfection of, and to avoid, pursuant to the provisions of the Bankruptcy Code and other
 applicable law, any purported liens relating to the Secured Tax Claims.

 3.12. Class 3: Secured Claims

       3.12.1. Classification. Class 3 consists of all Allowed Secured Claims, other than
 Allowed Secured Tax Claims.

         3.12.2. Treatment. On the Effective Date, or as soon as reasonably practicable thereafter,
 each Holder of an Allowed Secured Claim will receive, at the election of the Liquidation Trustee,
 one of the following treatments in full satisfaction of its Allowed Secured Claim:

                (1)     The Liquidation Trustee will convey to the Holder of the Allowed Secured
                        Claim the collateral in which such Holder has a security interest;

                (2)     The Liquidation Trustee will pay to the Holder of the Allowed Secured
                        Claim, up to the amount of such Allowed Secured Claim, any net proceeds
                        actually received from the sale or disposition of the collateral in which such
                        Holder has a security interest;

                (3)     Provided there is Distributable Cash on hand, the Liquidation Trustee will
                        pay Cash to the Holder of the Allowed Secured Claim in the amount of such
                        Allowed Secured Claim;

                (4)     Such other distributions or treatment that are necessary to leave the rights
                        of the Holder of the Allowed Secured Claim unimpaired or that are
                        necessary to otherwise satisfy the requirements of Chapter 11 of the
                        Bankruptcy Code; or

                (5)     Such other and less favorable distributions or treatments as may be agreed
                        upon by and between the Holder of the Allowed Secured Claim and the
                        Liquidation Trustee.

          The Liquidation Trustee may, in his or her discretion, select which of these treatments each
 Holder of an Allowed Secured Claim will receive and any Cash payments to such Holders will be
 paid solely from the Liquidation Trust. The Liquidation Trustee shall have until the later of
 (a) the Effective Date and (b) 90 days after a Class 3 Claim has become an Allowed Secured Claim
 to elect which treatment to provide to such Holder of an Allowed Secured Claim. Notwithstanding
 the foregoing, any agreement between a Holder of an Allowed Secured Claim and the Debtors
 approved by the Bankruptcy Court prior to the Effective Date shall remain in full force and effect.




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 3.13. Class 4: Sexual Misconduct Claims

        3.13.1.   Classification. Class 4 consists of the Sexual Misconduct Claims.

          Treatment. On the Effective Date, pursuant to the terms and conditions of the Plan,
 (i) all Sexual Misconduct Claims shall be released as against the Released Parties pursuant to the
 terms and conditions of the Plan; and (ii) the Sexual Misconduct Claims Fund shall be
 administered, processed, settled, resolved, liquidated, satisfied, and distributed in accordance with
 the terms of the Plan, the Plan Support Agreement, and the Sexual Misconduct Claims Fund
 Procedures.

         Under the Sexual Misconduct Claims Fund Procedures, the Sexual Misconduct Claims
 Examiner will review each Sexual Misconduct Claim and the documents and statements offered
 in support of such Claims to determine a Point Award for such Claims. At the conclusion of the
 Claims review and determination process, the Sexual Misconduct Claims Fund will be divided by
 the total of the Point Awards to establish the value of each point (the “Point Value”). The Point
 Value will be multiplied by the Point Award for each Sexual Misconduct Claim to calculate the
 monetary amount (i.e. the Liquidated Value) to be awarded to each Holder of Sexual Misconduct
 Claims.

         After a Sexual Misconduct Claim is Allowed and liquidated in accordance with the Sexual
 Misconduct Claims Fund Procedures and the Liquidated Value is determined, Holders of Allowed
 and liquidated Sexual Misconduct Claims shall have the option to release Harvey Weinstein or to
 not release Harvey Weinstein and pursue an action against him (but not any Released Party) in
 another court of competent jurisdiction. Holders of Sexual Misconduct Claims who do not
 affirmatively elect to release Harvey Weinstein shall receive 25% of the Liquidated Value of their
 Sexual Misconduct Claims in consideration of the release of their potential Sexual Misconduct
 Claims against the Released Parties, and Holders of Sexual Misconduct Claims who affirmatively
 elect to release Harvey Weinstein shall receive the full Liquidated Value of their Sexual
 Misconduct Claims.

         Pursuant to the Channeling Injunction, all Sexual Misconduct Claims shall be permanently
 channeled to the Sexual Misconduct Claims Fund, and such Sexual Misconduct Claims may
 thereafter be asserted exclusively against the Sexual Misconduct Claims Fund and resolved
 (including, determining the recovery amount, if any, of each Sexual Misconduct Claim and the
 timing of the payment thereof) in accordance with the Sexual Misconduct Claims Fund Procedures
 established by Order of the Bankruptcy Court, except that Holders of Sexual Misconduct Claims
 who do not affirmatively elect to release Harvey Weinstein shall be excused from the Channeling
 Injunction solely for the purpose of pursuing an action against Harvey Weinstein (but not any
 Released Party) in another court of competent jurisdiction. In the event a Holder of a Sexual
 Misconduct Claim does not affirmatively elect to release Harvey Weinstein and such Holder
 obtains any judgment against Harvey Weinstein arising out of, related to or connected to their
 Sexual Misconduct Claims, such Holder may seek to enforce, collect or otherwise recover on such
 judgment by any manner or means, whether directly or indirectly, from either Harvey Weinstein
 or the Insurance Companies (as applicable), provided, however, if such Holder seeks to enforce,
 collect or otherwise recover the judgment from the Insurance Companies, Harvey Weinstein shall
 not seek coverage from the Insurance Companies for such judgment; provided further, that


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 (i) with respect to such Holder’s non-released Sexual Misconduct Claims against Harvey
 Weinstein, the Insurance Companies reserve their rights to contest coverage, and (ii) nothing in
 this paragraph shall be read to expand or alter the terms, conditions and provisions of any Insurance
 Policies.

          Pursuant to the terms of this Plan and the Confirmation Order, Holders of all Sexual
 Misconduct Claims are permanently enjoined from filing any future litigation, Claims, or causes
 of action arising out of Sexual Misconduct Claims against any of the Released Parties (or any of
 their respective property), and may not proceed in any manner against any of the Released Parties
 (or any of their respective property) in any forum whatsoever, including, without limitation, any
 state, federal, or foreign court or administrative or arbitral forum, and are required to pursue their
 Sexual Misconduct Claims solely against the Sexual Misconduct Claims Fund pursuant to the
 Sexual Misconduct Claims Fund Procedures.

         Holders of Sexual Misconduct Claims are not entitled to receive distributions or other
 payment of funds from any portion of the Settlement Amount other than the Sexual Misconduct
 Claims Fund on behalf of, related to, or with respect to, such Sexual Misconduct Claims, nor shall
 such Holders receive any other distributions whatsoever under the Plan on behalf of, related to, or
 with respect to their Sexual Misconduct Claims.

        Holders of Sexual Misconduct Claims are Impaired and are entitled to vote on the Plan.

         The female former employees of the Debtors whose interests are covered by the NYOAG
 Lawsuit are (i) Holders of Sexual Misconduct Claims; (ii) permitted to recover from the Sexual
 Misconduct Claims Fund; and (iii) entitled to vote on the Plan as members of Class 4.
 The NYOAG is not a Holder of any Claims or Interests in an individual or institutional capacity,
 and is not entitled to vote on the Plan nor to receive any distributions under the Plan. The NYOAG
 is also not eligible to vote on the Plan on behalf of any female former employees covered by the
 NYOAG Lawsuit, nor is the NYOAG eligible to recover from the Sexual Misconduct Claims Fund
 on behalf of female former employees covered by the NYOAG Lawsuit. On the Effective Date,
 the NYOAG shall release all of the Sexual Misconduct Claims brought in a representative capacity
 and any future Sexual Misconduct Claims against the Released Parties the NYOAG could bring
 in an individual or representative capacity (and such release shall be in a form and substance
 reasonably acceptable to the Former Representatives), provided, however, the NYOAG may in its
 discretion elect to continue with its pending action against Harvey Weinstein (but not any Released
 Party) in a representative capacity on behalf of Holders of Sexual Misconduct Claims who are
 covered by the NYOAG Lawsuit and do not affirmatively elect to release Harvey Weinstein.




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 3.14. Class 5: Other Tort Claims

         3.14.1. Classification. Class 5 consists of all Other Tort Claims. To the extent the Court
 does not approve the substantive consolidation of the Debtors, the treatment described below will
 apply to each Class for each of the Debtors.

         3.14.2. Treatment. Except to the extent that a Holder of Other Tort Claims agrees to
 different treatment, in full and final satisfaction, settlement, and release of the Allowed Other
 Tort Claims against each of the Released Parties, each Holder of Other Tort Claims will receive
 its Pro Rata share of the Distributable Cash from the Liquidation Trust as soon as practicable as
 determined by the Liquidation Trustee in accordance with the Liquidation Trust Agreement;
 provided, however, that each Holder of Other Tort Claims with an Allowed Other Tort Claim
 against more than one Debtor shall be entitled to a single distribution on account of each Claim
 that arises out of the same facts and circumstances regardless of the number of Debtors against
 which the Claim is asserted.

         Pursuant to the terms of this Plan and the Confirmation Order, Holders of all Other Tort
 Claims are permanently enjoined from filing any future litigation, Claims, or causes of action
 arising out of Other Tort Claims against any of the Released Parties (or any of their respective
 property), and may not proceed in any manner against any of the Released Parties (or any of their
 respective property) in any forum whatsoever, including, without limitation, any state, federal, or
 foreign court or administrative or arbitral forum, and are required to pursue their Other Tort Claims
 solely against the Liquidation Trust.

         Holders of Other Tort Claims are not entitled to receive distributions or other payment of
 funds from any portion of the Settlement Amount other than the Liquidation Trust on behalf of,
 related to, or with respect to, such Other Tort Claims, nor shall such Holders receive any other
 distributions whatsoever under the Plan on behalf of, related to, or with respect to their Other Tort
 Claims.

        Holders of Allowed Other Tort Claims are Impaired and are entitled to vote on the Plan.

 3.15. Class 6: General Unsecured Claims

        3.15.1. Classification. Class 6 consists of all General Unsecured Claims. To the extent
 the Court does not approve the substantive consolidation of the Debtors, the treatment described
 below will apply to each Class for each of the Debtors.

         3.15.2. Treatment. Except to the extent that a Holder of Opt-Out GUCs agrees to
 different treatment, in full and final satisfaction, settlement, and release of the Allowed General
 Unsecured Claims against each of the Debtors, each Holder of Opt-Out GUCs will receive its Pro
 Rata share of the Distributable Cash from the Liquidation Trust as soon as practicable as
 determined by the Liquidation Trustee in accordance with the Liquidation Trust Agreement;
 provided, however, that each Holder of Opt-Out GUCs with an Allowed General Unsecured Claim
 against more than one Debtor shall be entitled to a single distribution on account of each Claim
 that arises out of the same facts and circumstances regardless of the number of Debtors against
 which the Claim is asserted.



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         Except to the extent that a Holder of Opt-In GUCs agrees to different treatment, in full and
 final satisfaction, settlement, and release of the Allowed General Unsecured Claims against each
 of the Released Parties, each Holder of Opt-In GUCs shall receive its Pro Rata share of the
 Distributable Cash from the Liquidation Trust as soon as practicable as determined by the
 Liquidation Trustee in accordance with the Liquidation Trust Agreement; provided, however, that
 each Holder of Opt-In GUCs with an Allowed General Unsecured Claim against more than one
 Released Party shall be entitled to a single distribution on account of each Claim that arises out of
 the same facts and circumstances regardless of the number of Released Parties against which the
 Claim is asserted.

        Seyfarth Shaw LLP’s unpaid fees for services rendered to the Debtors prior to the Petition
 Date shall be classified as General Unsecured Claims and Seyfarth Shaw LLP will receive its Pro
 Rata share of Distributable Cash from the Liquidation Trust for the Allowed amount of its General
 Unsecured Claims. The Liquidation Trustee reserves its rights to dispute the validity of any
 General Unsecured Claim, whether or not objected to prior to the Effective Date.

         Holders of Allowed General Unsecured Claims are Impaired and are entitled to vote on the
 Plan.

 3.16. Class 7: Intercompany Claims Against the Debtors. Class 7 consists of all
 Intercompany Claims against the Debtors. On the Effective Date, Intercompany Claims against
 the Debtors shall not be entitled to any Distribution under the Plan and such claims shall be
 cancelled and released on the Effective Date.

         Holders of Intercompany Claims will receive no Distributions under the Plan in respect of
 such Intercompany Claims, are not entitled to vote on the Plan, and are deemed to have rejected
 the Plan.

 3.17. Class 8: Interests in the Debtors. Class 8 consists of all Interests in the Debtors.
 All Interests in the Debtors shall be cancelled and terminated on the Effective Date of the Plan.

         Holders of Interests will receive no Distributions under the Plan in respect of such Interests,
 are not entitled to vote on the Plan, and are deemed to have rejected the Plan.

 SECTION 4.       DISTRIBUTIONS UNDER THE PLAN

 4.1. Timing of Distributions Under The Plan. Any Distribution to be made pursuant to the
 Plan shall be deemed to have been timely made if made within fourteen (14) calendar days of the
 time specified in the Plan.

 4.2. Manner of Payment Under the Plan. Unless the Entity receiving a payment agrees
 otherwise, any payment in Cash to be made under the Plan shall be made by check drawn on a
 domestic bank, or by wire transfer from a domestic bank.

 4.3. Withholding of Taxes. The Liquidation Trustee shall distribute the assets and property of
 the Liquidation Trust in accordance with the terms of the Plan. To the extent required by applicable
 law, the Liquidation Trustee shall withhold from the Liquidation Trust any assets or property
 which must be withheld for foreign, federal, state and local taxes payable with respect thereto or


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 payable by the Entity entitled to such assets to the extent required by applicable law. The Debtors,
 the Estates and the Liquidation Trustee shall not have the authority to or be responsible for any
 withholding of taxes applicable to Distributions other than the Distributions of assets and property
 of the Liquidation Trust.

 4.4. Unclaimed Distributions. Any Cash, assets, and other property to be distributed under
 the Plan that cannot be delivered to the Entity entitled thereto (including by an Entity’s failure to
 negotiate a check issued to such Entity) before the later of (a) one year after the Effective Date,
 (b) if the applicable Entity’s Claim has been objected to, six months after an order allowing such
 Entity’s Claim becomes a Final Order, or (c) six months after the time period for objecting to
 Claims has lapsed and no objection has been lodged, shall become vested in, and shall be
 transferred to, the Liquidation Trust notwithstanding state or other escheat or similar laws to the
 contrary, and in accordance with the Liquidation Trust Agreement, any such Cash, assets or other
 property shall be shared ratably amongst the Holders of Allowed Claims who previously accepted
 distributions from the Liquidation Trust. In such event, such Entity’s Claim shall no longer be
 deemed to be Allowed and such Entity shall be deemed to have waived its rights to such payments
 or Distributions under the Plan pursuant to section 1143 of the Bankruptcy Code, shall have no
 further Claim in respect of such Distribution, and shall not participate in any further Distributions
 under the Plan with respect to such Claim. Nothing in this Section 4.4 shall govern unclaimed
 distributions from the Sexual Misconduct Claims Fund, as the distribution of the Sexual
 Misconduct Claims Fund shall be handled in accordance with the Sexual Misconduct Claims Fund
 Procedures.

 4.5. Transferability of Liquidation Trust Interests. The beneficial interests in the
 Liquidation Trust shall not be transferable or assignable except by will, intestate succession, or
 operation of law.

 4.6. Fractional Cents. Notwithstanding anything to the contrary contained herein, no Cash
 payments of fractions of cents will be made. Fractional cents shall be rounded to the nearest whole
 cent (with ½ cent or less to be rounded down).

 4.7. Delivery of Distributions in General. Distributions to Holders of Administrative
 Expense Claims, Priority Tax Claims, Professional Fee Claims, Other Priority Claims, Other Tort
 Claims and General Unsecured Claims shall be made from the Liquidation Trust in accordance
 with the terms to the Plan. Distributions to Holders of Sexual Misconduct Claims shall be made
 from the Sexual Misconduct Claims Fund in accordance with the terms of the Sexual Misconduct
 Claims Fund Procedures.

         Distributions to Holders of Administrative Expense Claims, Priority Tax Claims,
 Professional Fee Claims, Other Priority Claims, Other Tort Claims, General Unsecured Claims,
 and Sexual Misconduct Claims shall be made to the address of the Holder of such Claim as
 indicated on the records of the Debtors, or if a proof of claim has been filed, to the address on the
 proof of claim, unless the Liquidation Trustee or the Sexual Misconduct Claims Examiner is
 instructed otherwise by a signed writing from the Holder of such Allowed Claim.

 4.8. Minimum Distribution Amount. Notwithstanding anything to the contrary contained
 herein, no Cash payments of $100 or less will be made.


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 4.9. Treatment of Contingent and Disputed Claims. Holders of Contingent and Disputed
 Claims shall be paid from the Liquidation Trust only after such Claims have become fixed and/or
 liquidated. No interest shall be paid on account of Contingent and Disputed Claims except as
 provided in section 506(b) of the Bankruptcy Code. Any Contingent and Disputed Claims that
 have not become fixed or liquidated on or before two years after the Effective Date shall be deemed
 waived, disallowed, and expunged unless the Holder of such Claim has, on or before two years
 following the Effective Date, filed a request with the Bankruptcy Court requesting estimation of
 such Claim for purposes of allowance pursuant to section 502(c) of the Bankruptcy Code.
 After the later of two years following the Effective Date and the entry of Final Orders on any
 timely filed requests for estimation no cash reserves will be held for Contingent and Disputed
 Claims and any funds previously held for such purposes may be distributed to the Holders of
 Allowed Claims.

 4.10. Estimation of Contingent and Disputed Claims. The Debtors or the Committee (before
 the Effective Date) or the Liquidation Trustee (on or after the Effective Date) may, at any time,
 and from time to time, request that the Bankruptcy Court estimate any Contingent Claim or
 Disputed Claim pursuant to section 502(c) of the Bankruptcy Code for any reason, regardless of
 whether an objection was previously filed with the Bankruptcy Court with respect to such Claim,
 or whether the Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court will
 retain jurisdiction to estimate any Claim at any time during litigation concerning any objection to
 any Claim, including, without limitation, during the pendency of any appeal relating to such
 objection. In the event that the Bankruptcy Court estimates any Contingent Claim or Disputed
 Claim, the amount so estimated shall constitute either the Allowed amount of such Claim or a
 maximum limitation on such Claim, as determined by the Bankruptcy Court. If the estimated
 amount constitutes a maximum limitation on the amount of such Claim, the Debtors, the
 Committee, or the Liquidation Trustee may pursue supplementary proceedings to object to the
 allowance of such Claim; provided, however, the Liquidation Trustee may elect not to pursue such
 supplementary proceedings, instead electing to treat such maximum amount as the Allowed
 amount of such Claim.

 4.11. Objections to Claims. The Plan and the Confirmation Order shall be deemed to constitute
 an objection by the Debtors to the allowance of all Claims (other than Professional Fee Claims)
 filed against the Debtors in these Chapter 11 Cases. On and after the Effective Date and in
 accordance with the Liquidation Trust Agreement, the Liquidation Trustee shall have the authority
 to compromise, settle, otherwise resolve or withdraw any objections to the allowance of Claims
 (other than Sexual Misconduct Claims or Professional Fee Claims) against the Debtors filed with
 the Bankruptcy Court after providing notice and receiving an order from the Bankruptcy Court,
 provided, however, no such notice and order shall be required for any objections not filed with the
 Bankruptcy Court. On and after the Effective Date and in accordance with the Sexual Misconduct
 Claims Fund Procedures, the Sexual Misconduct Claims Examiner shall have the authority to
 compromise, settle, otherwise resolve or withdraw any objections to the allowance of Sexual
 Misconduct Claims filed with the Bankruptcy Court without notice to Creditors or order of the
 Bankruptcy Court.

 4.12. Distributions to Holders of Claims. Payments and distributions to each Holder of a Claim
 that is not an Allowed Claim, to the extent that such Claim ultimately becomes an Allowed Claim,
 shall be made in accordance with the Plan, including the provisions governing the Class of Claims


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 in which such Claim is classified. As soon as practicable after the date that any Claim is Allowed,
 in whole or in part, the Liquidation Trustee shall distribute to the Holder of such Claim any Cash
 that would have been distributed to such Holder if such Claim had been an Allowed Claim on the
 Effective Date. No distribution shall be made with respect to all or any portion of any Disputed
 Claim pending the entire resolution thereof. Distribution shall be made as soon as practicable with
 respect to any portion of a Contingent Claim that becomes fixed or liquidated. Nothing in this
 section shall affect the allowance, liquidation, or payment of Sexual Misconduct Claims, which
 shall be governed by Section 3.13 of the Plan and the Sexual Misconduct Claims Fund Procedures.

 4.13. No Postpetition Interest. Unless otherwise specifically provided for in the Plan or the
 Confirmation Order, or required by applicable bankruptcy law, postpetition interest shall not
 accrue or be paid on any Claims, and no Holder of a Claim shall be entitled to interest accruing on
 or after the Petition Date on any Claim. Interest shall not accrue or be paid upon any Claim after
 the Effective Date, including on any Disputed Claim, in respect of the period from the Effective
 Date to the date a Distribution is made thereon if and after such Disputed Claim becomes an
 Allowed Claim.

 SECTION 5.       THE SETTLEMENT EMBODIED IN PLAN

         Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, the Plan
 incorporates a proposed compromise and settlement of numerous inter-Debtor, Debtor-Creditor,
 and inter-Creditor issues designed to achieve an economic settlement of Claims against all of the
 Debtors and fair (under the circumstances) and efficient resolution of the Chapter 11 Cases. At the
 Confirmation Hearing, the Bankruptcy Court will determine whether to approve the Settlement as
 fair and equitable and within the bounds of reasonableness. If the Settlement is approved, the
 Confirmation Order shall constitute an order of the Bankruptcy Court, pursuant to
 section 1123(b)(3) of the Bankruptcy Code and Bankruptcy Rule 9019, approving the
 compromises and settlements contained in the Plan and Plan Support Agreement.

 5.1. Incorporation of Plan Support Agreement. The Plan Support Agreement is incorporated
 into the Plan and will become effective on the Effective Date.

 5.2. Summary of Settlement. Tort Claims have been alleged against certain of the Released
 Parties and Harvey Weinstein. Subject to the entry of the Confirmation Order approving the
 Settlement and the occurrence of the Effective Date, the Settlement provides mechanisms by which
 the universe of Tort Claims related directly or indirectly to the alleged misconduct of
 Harvey Weinstein, including, but not limited to the Sexual Misconduct Claims, shall be
 permanently resolved, released, and enjoined.

        As consideration for the Settlement, the Insurance Companies, on behalf of the Released
 Parties (and Harvey Weinstein, but only with respect to Sexual Misconduct Claims held by Holders
 of Sexual Misconduct who affirmatively elect to release Harvey Weinstein), are paying the
 aggregate amount of $35,214,882.30 (the “Settlement Amount”), which is to be allocated as
 follows. Pursuant to the terms of the Plan Support Agreement, the Insurance Companies shall pay,
 on behalf of the Released Parties (and Harvey Weinstein, but only with respect to Sexual
 Misconduct Claims held by Holders of Sexual Misconduct who affirmatively elect to release
 Harvey Weinstein): (i) the aggregate Cash amount of the Sexual Misconduct Claims Fund


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 ($17,064,525.30); (ii) the aggregate Cash amount to the Estates in the amount of the Liquidation
 Trust Settlement Payment ($8,407,305.00); (iii) the aggregate Cash amount of the Former
 Representatives Defense Costs ($9,743,052.00). The Former Representatives Defense Costs do
 not provide for reimbursement of any defense costs and expenses incurred by Harvey Weinstein.
 In addition, the Insurance Companies, upon the Effective Date, shall be deemed to withdraw
 (or waive with the consent of the Committee) their proofs of claim filed against the Debtors.

         In exchange for the consideration discussed above, all Claims against the Released Parties
 will either be (i) permanently channeled to the Sexual Misconduct Claims Fund pursuant to the
 Channeling Injunction and the Released Parties shall receive the benefit of the Bankruptcy
 Injunctions (which shall include approval of the Channeling Injunction) and Releases; or
 (ii) permanently released and enjoined pursuant to the Plan (and the Plan Support Agreement)
 against all of the Released Parties and all of the Released Parties shall receive the benefit of the
 Bankruptcy Injunctions and Releases set forth herein, provided, however, subparagraph (ii) of this
 paragraph, as it relates to parties other than the Debtors, shall not apply to Holders of Opt-Out
 GUCs.

 5.3. Global Escrow Agent. The Insurance Companies shall pay, on behalf of the Released
 Parties (and Harvey Weinstein, but only with respect to Sexual Misconduct Claims held by Holders
 of Sexual Misconduct who affirmatively elect to release Harvey Weinstein), the Settlement
 Amount to an account controlled by the Global Escrow Agent in immediately available funds not
 later than ten (10) Business Days following occurrence of the Effective Date. Once payment of
 the Settlement Amount has been received by the Global Escrow Agent, the Global Escrow Agent
 shall promptly, and in any case no more than three (3) Business Days following receipt of the
 Settlement Amount, distribute by wire transfer the distributions described in this Section 5.
 Each Insurance Company will fund its applicable portion in respect of the Settlement Amount, as
 specified in Schedule 2 attached to this Plan.

 5.4. Sexual Misconduct Claims Fund. From the Settlement Amount, $17,064,525.30 shall be
 distributed by the Global Escrow Agent to an account controlled by the Sexual Misconduct Claims
 Examiner who shall administer, process, settle, resolve, liquidate, satisfy, and distribute the Sexual
 Misconduct Claims Fund to Holders of Allowed Sexual Misconduct Claims in accordance with
 the Sexual Misconduct Claims Fund Procedures. In exchange for the Sexual Misconduct Claims
 Fund as well as additional consideration provided for in the Plan, such Sexual Misconduct Claims
 shall be (a) permanently channeled to the Sexual Misconduct Claims Fund and administered in
 accordance with the Sexual Misconduct Claims Fund Procedures in full satisfaction and release
 of any and all such Sexual Misconduct Claims, and (b) permanently enjoined and released against
 the Released Parties pursuant to the Channeling Injunction in accordance with the terms of this
 Plan. The Sexual Misconduct Claims Fund will be used to pay: (a) administrative expenses of the
 Sexual Misconduct Claims Fund; (b) taxes on the Sexual Misconduct Claims Fund;
 (c) distributions to Holders of Sexual Misconduct Claims. The Sexual Misconduct Claims Fund
 will not be used to pay any administrative expenses or taxes incurred relating to the Estates.

        As it pertains to the NYOAG, any Claims the NYOAG currently holds arise in its
 representative capacity for the People of the State of New York. The female former employees of
 the Debtors whose interests are covered by the NYOAG Lawsuit are (i) Holders of Sexual
 Misconduct Claims; (ii) permitted to recover from the Sexual Misconduct Claims Fund;


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 and (iii) entitled to vote on the Plan as members of Class 4. The NYOAG is not a Holder of any
 Claims or Interests in an individual or institutional capacity, and is not entitled to vote on the Plan
 nor to receive any distributions under the Plan. The NYOAG is also not eligible to vote on the
 Plan on behalf of any female former employees covered by the NYOAG Lawsuit, nor is the
 NYOAG eligible to recover from the Sexual Misconduct Claims Fund on behalf of female former
 employees covered by the NYOAG Lawsuit. On the Effective Date, the NYOAG shall release all
 of the Sexual Misconduct Claims brought in a representative capacity and any future Sexual
 Misconduct Claims against the Released Parties the NYOAG could bring in an individual or
 representative capacity (and such release shall be in a form and substance reasonably acceptable
 to the Former Representatives), provided, however, the NYOAG may in its discretion elect to
 continue with its pending action against Harvey Weinstein (but not any Released Party) in a
 representative capacity on behalf of Holders of Sexual Misconduct Claims who are covered by the
 NYOAG Lawsuit and do not affirmatively elect to release Harvey Weinstein.

         Under the Sexual Misconduct Claims Fund Procedures, the Sexual Misconduct Claims
 Examiner will review each Sexual Misconduct Claim and the documents and statements offered
 in support of such Claims to determine a Point Award for such Claims. At the conclusion of the
 Claims review and determination process, the Sexual Misconduct Claims Fund will be divided by
 the total of the Point Awards to establish the value of each point (the “Point Value”). The Point
 Value will be multiplied by the Point Award for each Sexual Misconduct Claim to calculate the
 monetary amount (i.e. the Liquidated Value) to be awarded to each Holder of Sexual Misconduct
 Claims.

         After a Sexual Misconduct Claim is Allowed and liquidated in accordance with the Sexual
 Misconduct Claims Fund Procedures and the Liquidated Value is determined, Holders of such
 Allowed and liquidated Sexual Misconduct Claims shall have the option to release
 Harvey Weinstein or to not release Harvey Weinstein and pursue an action against him (but not
 any Released Party) in another court of competent jurisdiction. Holders of Sexual Misconduct
 Claims who do not affirmatively elect to release Harvey Weinstein shall receive 25% of the
 Liquidated Value of their Sexual Misconduct Claims in consideration of the release of their
 potential Sexual Misconduct Claims against the Released Parties, and Holders of Sexual
 Misconduct Claims who affirmatively elect to release Harvey Weinstein shall receive the full
 Liquidated Value of their Sexual Misconduct Claims.

         For each Holder of a Sexual Misconduct Claim who does not affirmatively elect to release
 Harvey Weinstein, 75% of the Liquidated Value of their Sexual Misconduct Claims shall be
 allocated to a reversionary fund for the benefit of the Allianz Insurance Companies and the Chubb
 Insurance Companies. The Sexual Misconduct Claims Examiner shall revert 63% of reversionary
 fund to the Allianz Insurance Companies and 37% of the reversionary fund to the Chubb Insurance
 Companies. Distribution of the reversionary fund to the Allianz Insurance Companies and the
 Chubb Insurance Companies shall occur at the same time and not earlier than the initial
 distributions to Holders of Allowed Sexual Misconduct Claims from the Sexual Misconduct
 Claims Fund.




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 5.5. Non-Released Parties’ Contribution Claims. In the event a Tort Claimant has initiated
 (or initiates in the future) an action against a Non-Released Party related to a Tort Claim,
 any recovery in such action (or a related action) against a Released Party shall be deemed
 completely satisfied based on the Released Party’s (and/or such Released Party’s Insurance
 Companies’) contribution to the Settlement Amount, regardless of the jurisdiction in which the
 Tort Claimant brings the Tort Claim or the applicable law that governs such Tort Claim. On and
 after the Effective Date, all Claims for contribution (including Claims for contribution arising
 from, related to or connected to Tort Claims) held by a Non-Released Party shall be permanently
 enjoined and released against all Released Parties.

 5.6. Liquidation Trust. From the Settlement Amount, $8,407,305.00 shall be distributed by
 the Global Escrow Agent to an account controlled by the Liquidation Trustee who shall manage
 the Liquidation Trust and distributions from the Liquidation Trust in accordance with the
 provisions of this Plan, the Plan Support Agreement and the Liquidation Trust Agreement. In
 consideration for the Liquidation Trust as well as the additional consideration provided for in
 the Plan:
         (i) all Claims (other than the Sexual Misconduct Claims and Opt-Out GUCs)
             against the Released Parties and Harvey Weinstein, shall (a) recover solely, if
             at all, from the Liquidation Trust in full satisfaction and release of such
             Claims, and (b) all such Claims shall be permanently enjoined and released
             against the Released Parties pursuant to the Bankruptcy Injunctions and
             Releases set forth in the Plan and the Plan Support Agreement; and

         (ii) all Opt-Out GUCs shall (a) recover solely, if at all, from the Liquidation Trust,
              in full satisfaction and release of such Claims against the Debtors, and (b) all
              such Claims shall be permanently enjoined and released against the Debtors
              pursuant to the Bankruptcy Injunctions and Releases set forth in the Plan.

 Because Holders of General Unsecured Claims may opt out of the Third Party Releases, the Allianz
 Insurance Companies and the Chubb Insurance Companies, who are two of the Insurance
 Companies contributing funds for the Settlement Amount, may incur litigation costs, defense costs
 and/or damages (including amounts paid in connection with any settlement) pertaining to Opt-Out
 GUCs (the “Opt-Out Costs”). The Liquidation Trust shall contain a reserve in the amount of
 $500,000 to cover Opt-Out Costs incurred by the Allianz Insurance Companies and the Chubb
 Insurance Companies (the “Opt-Out Reserve”). For any Opt-Out Costs incurred prior to or within
 ten (10) Business Days of the Effective Date, the Allianz Insurance Companies and the Chubb
 Insurance Companies shall provide the Plan Proponents with documentation of the Opt-Out Costs
 and their contributions to the Settlement Amount shall be reduced in the amount of their Opt-Out
 Costs; provided, however, the aggregate amount of such reductions shall not exceed the amount of
 the Opt-Out Reserve. For any Opt-Out Costs incurred more than ten (10) Business Days after the
 Effective Date, the Allianz Insurance Companies and the Chubb Insurance Companies shall
 provide the Liquidation Trustee with documentation of the Opt-Out Costs and the Liquidation
 Trustee shall use funds from the Opt-Out Reserve to reimburse the Allianz Insurance Companies
 and the Chubb Insurance Companies (as applicable) for their Opt-Out Costs. To effectuate
 post-Effective Date settlements regarding Opt-Out GUCs, after confirmation of the Plan, Holders
 of Opt-Out GUCs may revise their ballot to opt in to the Third-Party Releases and shall be treated



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 as if such Holder never opted out of the Third-Party Releases. Six months after the Effective Date,
 the remaining amount of the Opt-Out Reserve shall become available to the Liquidation Trustee
 for distribution to Holders of Allowed General Unsecured Claims and costs and expenses of the
 Liquidation Trust.

 5.7. Former Representatives Defense Costs. Pursuant to the terms and conditions of the Plan
 and the Plan Support Agreement, the Former Representatives have agreed, in consideration for the
 releases and injunctions contemplated hereunder and thereunder, to waive, in part, their entitlement
 to reimbursement of all defense costs and expenses as a priority to payment of any liability or
 settlement amount pursuant to the terms of the applicable Insurance Policies. As a result of such
 waiver, the Former Representatives shall be reimbursed $9,743,052.00, an amount which, in the
 aggregate, approximates fifty percent (50%) of the fees and expenses incurred by the Former
 Representatives as of April 25, 2019 and for any other defense costs or expenses incurred by the
 Former Representatives after such date, the Former Representatives will be reimbursed zero
 percent (0%) of their fees and expenses. The Global Escrow Agent shall distribute the Former
 Representatives Defense Costs to an account controlled by a representative selected by the Former
 Representatives, this representative shall distribute the funds to satisfy the defense costs incurred
 by the Former Representatives in connection with the defense of the applicable cases, and such
 distributions shall be made in accordance with the payment schedule held by Jed Melnick of
 Melnick ADR, LLC. The Former Representatives Defense Costs do not provide for
 reimbursement of any defense costs and expenses incurred by Harvey Weinstein.

 5.8. Channeling Injunction. From and after the Effective Date: (i) all Sexual Misconduct
 Claims against the Released Parties will be subject to the Channeling Injunction pursuant to
 section 105(a) of the Bankruptcy Code and the provisions of the Plan and the Confirmation Order,
 except that Holders of Sexual Misconduct Claims who do not affirmatively elect to release Harvey
 Weinstein shall be excused from the Channeling Injunction solely for the purpose of pursuing an
 action against Harvey Weinstein (but not any Released Party) in another court of competent
 jurisdiction; (ii) upon the funding of the Sexual Misconduct Claims Fund by the Insurance
 Companies on behalf of the Released Parties (and Harvey Weinstein, but only with respect to
 Sexual Misconduct Claims held by Holders of Sexual Misconduct who affirmatively elect to
 release Harvey Weinstein), the Released Parties shall have no obligation to pay any liability of any
 nature or description arising out of, relating to, or in connection with the Sexual Misconduct
 Claims; (iii) if a Holder of a Sexual Misconduct Claim affirmatively elects to release Harvey
 Weinstein, Harvey Weinstein shall have no obligation to pay any liability of any nature or
 description arising out of, relating to, or in connection with such Holder’s Sexual Misconduct
 Claims, provided, however, that nothing in the Plan shall preclude any action by the Settlement
 Parties to enforce the Plan, and nothing shall preclude any Holder of a Sexual Misconduct Claim
 who does not affirmatively elect to release Harvey Weinstein from pursuing an action against him
 in another court of competent jurisdiction. Further, nothing in this Section 5.8 or the Channeling
 Injunction shall constitute or be deemed a waiver of any claim, right or Cause of Action connected
 to any Sexual Misconduct Claim by any Settlement Party against any Entity that is not a Released
 Party. The Plan Proponents will only seek confirmation of the Plan if the Holders of Sexual
 Misconduct Claims (Class 4) vote to accept the Plan in accordance with section 1126(c) of the
 Bankruptcy Code. Accordingly, the Channeling Injunction shall be binding upon, and enforceable
 by its terms against, all Holders of Sexual Misconduct Claims, irrespective of whether any such
 Holder (i) has voted to accept the Plan or (ii) has agreed to be bound by the Channeling Injunction,


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 in both cases, only because the Class consisting of the Holders of Sexual Misconduct Claims (Class
 4) has voted to approve the Plan in accordance with section 1126(c) of the Bankruptcy Code. In
 order to supplement the injunctive effect of the Bankruptcy Injunctions, and pursuant to
 sections 105(a) of the Bankruptcy Code, the Confirmation Order shall provide for the following
 permanent injunction to take effect as of the Effective Date:

         5.8.1.   Channeling Injunction Terms. In order to (i) preserve and promote the
 Settlement and the Plan and (ii) supplement, where necessary, the effect of the injunctions and the
 releases described in Sections 7.2 and 7.3 of the Plan, and pursuant to the exercise of the equitable
 jurisdiction and power of the Bankruptcy Court under section 105(a) of the Bankruptcy Code, all
 Persons and Entities that (a) have held or asserted, or that hold or assert, or that may hold or assert
 in the future, any Sexual Misconduct Claims against the Released Parties, or any of them or
 (b) have affirmatively elected to release Harvey Weinstein, each shall have recourse solely to the
 Sexual Misconduct Claims Fund and each shall be permanently stayed, restrained and enjoined
 from taking any action for the purpose of directly or indirectly collecting, recovering, or receiving
 payments, satisfaction, or recovery from any Released Party or Harvey Weinstein with respect to
 any Sexual Misconduct Claims, including, but not limited to:

                (1)     commencing or continuing, in any manner, whether directly or indirectly,
                        any suit, actions or other proceedings of any kind with respect to any Sexual
                        Misconduct Claim against any of the Released Parties or Harvey Weinstein
                        or against the property of any of the Released Parties or Harvey Weinstein;

                (2)     enforcing, levying, attaching, collecting or otherwise recovering, by any
                        manner or means, whether directly or indirectly, from any of the Released
                        Parties or Harvey Weinstein, or the property of the Released Parties or
                        Harvey Weinstein, any judgment, award, decree or other order with respect
                        to any such Sexual Misconduct Claim against any of the Released Parties,
                        Harvey Weinstein or any other person;

                (3)     creating, perfecting, or enforcing in any manner, whether directly or
                        indirectly, any Lien of any kind relating to any Sexual Misconduct Claim
                        against any of the Released Parties or Harvey Weinstein, or the property of
                        any of the Released Parties or Harvey Weinstein;

                (4)     asserting, implementing or accomplishing any setoff, right of subrogation,
                        indemnity, contribution or recoupment of any Sexual Misconduct Claim of
                        any kind, whether directly or indirectly, against (i) any obligation due to
                        any of the Released Parties or Harvey Weinstein, (ii) any of the Released
                        Parties or Harvey Weinstein; or (iii) the property of any of the Released
                        Parties or Harvey Weinstein; and

                (5)     taking any act, in any manner, in any place whatsoever, that does not
                        conform to, or comply with, the provisions of the Plan Documents, with
                        respect to any such Sexual Misconduct Claim.




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         5.8.2.    Reservations. Notwithstanding anything to the contrary in Section 5.8.1 of the
 Plan, this Channeling Injunction shall not enjoin or affect the rights of any persons or Entities to
 the treatment afforded to them under the Plan, including the right of Holders of Sexual Misconduct
 Claims to assert such Claims in accordance with the Plan and the Sexual Misconduct Claims Fund
 Procedures.

         5.8.3.   Modifications. Notwithstanding an order by the Bankruptcy Court modifying
 this Channeling Injunction to comply with the Bankruptcy Code, the scope of this Channeling
 Injunction may not be amended, modified, or limited in any material respect without the prior
 consent of the Settlement Parties.

         5.8.4.   Authorization for Recognition and Enforcement of Channeling Injunction.
 The Settlement Parties (and each of them) are authorized to take all necessary or appropriate
 actions, in accordance with the terms of this Plan and the agreements incorporated herein,
 to enforce, or otherwise have recognized, the Confirmation Order, the Plan, the Channeling
 Injunction, or any other related document, in any jurisdiction worldwide and without limitation,
 provided, however, the cost of such actions shall be borne by the party seeking enforcement or
 recognition unless otherwise provided in the Plan or the applicable Plan Document.

 5.9. Additional Documentation; Non-Material Modifications. From and after the Effective
 Date, the Sexual Misconduct Claims Examiner, Liquidation Trustee, and the Settlement Parties
 shall be authorized to enter into, execute, adopt, deliver and/or implement all contracts, leases,
 instruments, releases, and other agreements or documents necessary to effectuate or memorialize
 the Settlement contained in this Section 5 without further Order of the Bankruptcy Court.
 Additionally, the Sexual Misconduct Claims Examiner, Liquidation Trustee, and the Settlement
 Parties may make technical and/or immaterial alterations, amendments, modifications or
 supplements to the terms of any settlement contained in this Section 5, subject to Bankruptcy Court
 approval, provided, however, any such changes must be consistent with the terms of the Plan
 Support Agreement and the Plan, and the amendment or modification does not materially and
 adversely change the treatment of any Holder of an Allowed Claim without the prior written
 agreement of such Holder. A Class of Claims that has accepted the Plan shall be deemed to have
 accepted the Plan, as altered, amended, modified or supplemented under this Section 5.9, if the
 proposed alteration, amendment, modification or supplement does not materially and adversely
 change the treatment of the Claims within such Class. An Order of the Bankruptcy Court
 approving any amendment or modification made pursuant to this Section 5.9 shall constitute an
 Order in aid of consummation of the Plan and shall not require the re-solicitation of votes on the
 Plan.

 SECTION 6.       LIQUIDATION TRUST

 6.1. Liquidation Trust. The Liquidation Trust Agreement is incorporated into and made a part
 of the Plan.

 6.2. Establishment and Purpose of the Liquidation Trust. On or before the Effective Date,
 the Debtors and the Liquidation Trustee shall execute the Liquidation Trust Agreement and shall
 have established the Liquidation Trust pursuant to the Plan. The Liquidation Trust shall be
 established for the primary purpose of Liquidation and distributing the assets transferred to it, in


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 accordance with Treas. Reg. § 301.7701-4(d), with no objective to continue or engage in the
 conduct of a trade or business, except to the extent reasonably necessary to, and consistent with,
 the Liquidation purpose of the Liquidation Trust.

 6.3. Authority and Role of the Liquidation Trustee. The authority and role of the
 Liquidation Trustee shall be in accordance with the provisions of the Liquidation Trust Agreement
 and the Plan. In furtherance of and consistent with the purpose of the Liquidation Trust Agreement
 and the Plan, solely for the purpose of carrying out the Plan and discharging the duties in the
 Liquidation Trust Agreement, the Liquidation Trustee shall be, pursuant to section 1123(b)(3)(B)
 of the Bankruptcy Code and applicable State corporate law, appointed as the successor-in-interest
 to, and the representative of, the Estates for the retention, enforcement, settlement, or adjustment
 of all claims and rights, known and unknown, and all interests belonging to the Debtors or their
 Estates, which arose prior to the Effective Date, except in connection with any proceeding
 involving, relating to, or arising out of, in whole or in part, the Sexual Misconduct Claims, as set
 forth in Section 4.12 of the Plan.

 6.4. Appointment of the Liquidation Trustee. The identity of the Liquidation Trustee is set
 forth in the Liquidation Trust Agreement. The appointment of the Liquidation Trustee shall be
 approved in the Confirmation Order, and such appointment shall be as of the Effective Date.
 In accordance with the Liquidation Trust Agreement, the Liquidation Trustee shall serve in such
 capacity through the earlier of (i) the date that the Liquidation Trust is dissolved in accordance
 with the Liquidation Trust Agreement or (ii) the date such Liquidation Trustee resigns,
 is terminated, or is otherwise unable to serve; provided, however, that, in the event that the
 Liquidation Trustee resigns, is terminated, or is unable to serve, then the Court, upon the motion
 of any party-in-interest, including, but not limited to, counsel to the Liquidation Trust, shall
 approve a successor to serve as the Liquidation Trustee, and such successor Liquidation Trustee
 shall serve in such capacity until the Liquidation Trust is dissolved.

 6.5. Liquidation Trust Assets. On the Effective Date, the Debtors shall transfer the
 Liquidation Trust Assets to the Liquidation Trust. Notwithstanding any prohibition on
 assignability under applicable non-bankruptcy law, on the Effective Date, the Debtors shall be
 deemed to have automatically transferred to the Liquidation Trust all of their right, title, and
 interest in and to all of the Liquidation Trust Assets, and in accordance with section 1141 of the
 Bankruptcy Code, all such assets shall automatically vest in the Liquidation Trust free and clear
 of all Claims and Liens, subject only to the Allowed Claims of the Liquidation Trust Beneficiaries
 and the expenses of the Liquidation Trust. Subsequent to the Effective Date, the Debtors shall
 have no interest in or with respect to the Liquidation Trust Assets or the Liquidation Trust.

 6.6. Treatment of Liquidation Trust for Federal Income Tax Purposes; No Successor-in-
 Interest. In accordance with Treas. Reg. § 301.7701-4(d), the Liquidation Trustee shall, in an
 expeditious but orderly manner, liquidate and convert to Cash the Liquidation Trust Assets, make
 timely distributions to the Liquidation Trust Beneficiaries, and not unduly prolong its duration.
 The Liquidation Trust shall not be deemed a successor-in-interest of the Debtors for any purpose
 other than as specifically set forth herein or in the Liquidation Trust Agreement.

        6.6.1.  Liquidation Trust as a “Grantor Trust.” The Liquidation Trust is intended to
 qualify as a “grantor trust” for federal income tax purposes with the Liquidation Trust


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 Beneficiaries treated as grantors and owners of the Liquidation Trust. For all federal income tax
 purposes, all parties (including, without limitation, the Debtors, the Liquidation Trustee, and the
 Liquidation Trust Beneficiaries) shall treat the transfer of the Liquidation Trust Assets by the
 Debtors to the Liquidation Trust, as set forth in the Liquidation Trust Agreement, as a transfer of
 such assets by the Debtors to the Holders of Allowed Claims of Liquidation Trust Beneficiaries
 entitled to distributions from the Liquidation Trust Assets, followed by a transfer by such Holders
 to the Liquidation Trust. Thus, the Liquidation Trust Beneficiaries shall be treated as the grantors
 and owners of a grantor trust for federal income tax purposes.

        6.6.2.    Valuation of Liquidation Trust Assets. As soon as reasonably practicable after
 the Effective Date, the Liquidation Trustee (to the extent that the Liquidation Trustee deems it
 necessary or appropriate in his or her absolute sole discretion) shall value the Liquidation Trust
 Assets based on the good faith determination of the value of such Liquidation Trust Assets.
 The valuation shall be used consistently by the Liquidation Trustee and the Liquidation Trust
 Beneficiaries for all federal income tax purposes. The Bankruptcy Court shall resolve any dispute
 regarding the valuation of the Liquidation Trust Assets.

         6.6.3.    Liquidation Trustee’s Right and Power to Invest. The right and power of the
 Liquidation Trustee to invest the Liquidation Trust Assets transferred to the Liquidation Trust, the
 proceeds thereof, or any income earned by the Liquidation Trust, shall be limited to the right and
 power to invest such Liquidation Trust Assets (pending distributions in accordance with the Plan)
 in Permissible Investments; provided, however, that the scope of any such Permissible Investments
 shall be limited to include only those investments that a “liquidation trust,” within the meaning of
 Treas. Reg. § 301.7701-4(d), may be permitted to hold, pursuant to the Treasury Regulations, or
 any modification in the IRS guidelines, whether set forth in IRS rulings, other IRS
 pronouncements, or otherwise.

 6.7. Responsibilities of the Liquidation Trustee. The responsibilities of the Liquidation
 Trustee shall include, but shall not be limited to:

                (1)     the making of Distributions as contemplated herein;

                (2)     establishing and maintaining the Cash Reserves in accordance with the
                        terms of the Plan;

                (3)     conducting an analysis of Administrative Expense Claims, Priority Claims,
                        Secured Claims, and General Unsecured Claims, and prosecuting objections
                        thereto or settling or otherwise compromising such Claims if necessary and
                        appropriate;

                (4)     preparing and filing post-Effective Date operating reports for the Debtors;

                (5)     filing appropriate tax returns with respect to the Liquidation Trust and
                        paying taxes properly payable by the Liquidation Trust, if any, in the
                        exercise of its fiduciary obligations; provided however, that for the
                        avoidance of doubt, neither the Liquidation Trust or the Liquidation Trustee
                        shall have any authority or duty to file any tax returns for any of the Debtors;



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                (6)     taking such actions as are necessary to wind down and dissolve the Debtors
                        under applicable law;

                (7)     retaining such professionals as are necessary and appropriate in furtherance
                        of its fiduciary obligations;

                (8)     taking such actions as are necessary and reasonable to carry out the purposes
                        of the Liquidation Trust;

                (9)     protecting and enforcing the rights to the Liquidation Trust Assets vested in
                        the Liquidation Trustee by any method reasonably determined to be
                        appropriate, including, without limitation, by judicial proceedings or
                        pursuant to any applicable bankruptcy, insolvency, moratorium or similar
                        law and general principles of equity; and

                (10)    terminating the Liquidation Trust and seeking to close the Chapter 11 Cases
                        pursuant to section 350(a) of the Bankruptcy Code.

 6.8. Expenses of the Liquidation Trustee. Fees and expenses incurred by the Liquidation
 Trustee shall be paid from the Liquidation Trust Expense Reserve.

 6.9. Bonding of the Liquidation Trustee. The Liquidation Trustee shall not be obligated to
 obtain a bond but may do so, in his or her sole discretion, in which case the expense incurred by
 such bonding shall be paid from the Liquidation Trust.

 6.10. Fiduciary Duties of the Liquidation Trustee. Pursuant to the Plan and the Liquidation
 Trust Agreement, the Liquidation Trustee shall act in a fiduciary capacity on behalf of the interests
 of all Holders of Claims against the Debtors (other than those Holders of Sexual Misconduct
 Claims) that will receive Distributions pursuant to the terms of the Plan.

 6.11. Transfer of Books and Records. On the Effective Date, the Debtors will transfer and
 assign, or cause to be transferred and assigned, to the Liquidation Trust, all of the books and
 records of the Debtors.

 6.12. Dissolution of the Liquidation Trust. The Liquidation Trust shall be dissolved no later
 than five years from the Effective Date unless the Bankruptcy Court, upon a motion filed prior to
 the fourth anniversary or the end of any extension period approved by the Bankruptcy Court
 (the filing of which shall automatically extend the term of the Liquidation Trust pending the entry
 of an order by the Bankruptcy Court granting or denying the motion), determines that a fixed
 period extension is necessary to facilitate or complete the recovery and liquidation of the
 Liquidation Trust Assets. The Liquidation Trust Agreement shall require that each extension be
 approved by the Bankruptcy Court within six months prior to the conclusion of the extended term.
 After (a) the final Distribution of the Contingent Claims Cash Reserve and the Disputed Claims
 Cash Reserve and the balance of the assets or proceeds of the Liquidation Trust pursuant to the
 Plan, (b) the filing by or on behalf of the Liquidation Trust of a certification of dissolution with
 the Bankruptcy Court in accordance with the Plan, and (c) any other action deemed appropriate by
 the Liquidation Trustee, the Liquidation Trust shall be deemed dissolved for all purposes without
 the necessity for any other or further actions.


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 6.13. Full and Final Satisfaction against Liquidation Trust. On and after the Effective Date,
 the Liquidation Trust shall have no liability on account of any Claims or Interests except as set
 forth in the Plan and in the Liquidation Trust Agreement. All payments and all Distributions made
 by the Liquidation Trustee under the Plan shall be in full and final satisfaction, settlement, and
 release of and in exchange for all Claims or Interests against the Liquidation Trust and the Released
 Parties, as applicable.

 SECTION 7.       INJUNCTIONS AND RELEASES

 7.1.   Term of Certain Bankruptcy Injunctions and Automatic Stay.

         7.1.1.    All of the injunctions (which do not include the Bankruptcy Injunctions, as
 defined in the Plan) and/or automatic stays provided for in or with respect to these Chapter 11
 Cases, whether pursuant to section 105, section 362 or any other provision of the Bankruptcy Code
 or other applicable law, in existence immediately prior to the Confirmation Date shall remain in
 full force and effect until the Bankruptcy Injunctions (as defined in the Plan) provided for by the
 Plan become effective. In addition, on and after the Confirmation Date, the Plan Proponents, with
 the consent of all the Settlement Parties, may seek such further orders as they deem necessary to
 preserve the status quo during the time between the Confirmation Date and the Effective Date.

         7.1.2.    Each of the Bankruptcy Injunctions shall become effective on the Effective Date
 and shall continue to be effective at all times thereafter. Notwithstanding anything to the contrary
 contained in the Plan, all actions in the nature of those to be enjoined by the Bankruptcy Injunctions
 shall be enjoined or stayed during the period between the Confirmation Date and the Effective
 Date.

         7.1.3.    On and after the Confirmation Date but prior to the Effective Date, all Entities
 are permanently enjoined from commencing or continuing in any manner any action or proceeding
 (whether directly, indirectly, derivatively or otherwise) on account of or respecting any Claim,
 debt, right or cause of action of the Debtors which the Debtors retain sole and exclusive authority
 to pursue in accordance with Section 12.2.4 of the Plan.

 7.2.   Releases.

         7.2.1.     Releases by Debtors and Estate. Except as otherwise set forth in Section 7.2 of
 this Plan and the Plan Support Agreement, for good and valuable consideration, including without
 limitation, all payments under the Plan to Holders of Claims, payment of which is critical to the
 Debtors’ ability to obtain confirmation of the Plan and to effectuate distributions to Holders of
 Claims, as of the Effective Date, each of the Debtors, on behalf of themselves and their respective
 Estates and their current respective Affiliates, members, officers, directors, and any person
 claiming by or through them, shall be deemed to conclusively, absolutely, unconditionally,
 irrevocably, and forever release, waive, and disclaim the Released Parties, Harvey Weinstein and
 their respective property to the maximum extent permitted by law from any and all Claims,
 interests, obligations, rights, suits, damages, causes of action, remedies, and liabilities whatsoever,
 including any direct or derivative claims asserted or assertable by or on behalf of any of the
 Debtors, any Claims or causes of action asserted by or on behalf of any of the Debtors or any
 Interest that any such Debtor would have been legally entitled to assert in their own right, whether



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 individually or collectively, whether known or unknown, foreseen or unforeseen, existing or
 hereinafter arising, in law or in equity, based on any matter, cause, thing, conduct, or omission
 occurring prior to the Effective Date and in any way related to the Debtors, their businesses,
 operations, activities, or these Chapter 11 Cases.

         7.2.2.     Releases by the Committee and Holders of Claims and Interests. Except as
 otherwise set forth in Section 7.2 of this Plan and the Plan Support Agreement, for good and
 valuable consideration, including, without limitation, all payments under the Plan to Holders of
 Claims, payment of which is critical to the Debtors’ ability to obtain Confirmation of the Plan and
 to effectuate distributions to Holders of Claims, as of the Effective Date, (i) the Committee, on
 behalf of itself and its members (solely in their capacities as members of the Committee) and
 (ii) each present and former Holder of a Claim or Interest, will be deemed to unconditionally,
 completely, and forever release, waive, and disclaim the Released Parties of and from any and all
 Claims, interests, obligations, rights, suits, damages, causes of action, remedies, and liabilities
 whatsoever, including any direct or derivative claims asserted or assertable by or on behalf of any
 member of the Committee or any Holder of a Claim or Interest, any Claims or causes of action
 asserted by or on behalf of any member of the Committee or any Holder of a Claim or Interest or
 that any such member of the Committee or any Holder of a Claim or Interest would have been
 legally entitled to assert in their own right, whether individually or collectively, whether known or
 unknown, matured or unmatured, accrued or not accrued, foreseen or unforeseen, existing or
 hereinafter arising, in law or equity, based on any matter, cause, thing, conduct, or omission
 occurring prior to the Effective Date and in any way related to the Debtors, their businesses,
 operations, activities, or these Chapter 11 Cases, provided, however, subparagraph (ii) of this
 Section 7.2.2, as it relates to parties other than the Debtors, shall not apply to Holders of Opt-Out
 GUCs.

         7.2.3.    Releases of Harvey Weinstein by Holders of Sexual Misconduct Claims. Except
 as otherwise set forth in Section 7.2 of this Plan and the Plan Support Agreement, for good and
 valuable consideration, including, without limitation, all payments under the Plan to Holders of
 Claims, payment of which is critical to the Debtors’ ability to obtain Confirmation of the Plan and
 to effectuate distributions to Holders of Claims, after a Sexual Misconduct Claim is Allowed and
 liquidated in accordance with the Sexual Misconduct Claims Fund Procedures, Holders of such
 Allowed and liquidated Sexual Misconduct Claims shall have the option to release Harvey
 Weinstein or not release Harvey Weinstein and pursue an action against him (but not any Released
 Party) in another court of competent jurisdiction. If a Holder of a Sexual Misconduct Claim
 affirmatively elects to release Harvey Weinstein, such Holder will be deemed to unconditionally,
 completely, and forever release, waive, and disclaim Harvey Weinstein and the Insurance
 Companies of and from any and all Sexual Misconduct Claims, interests, obligations, rights, suits,
 damages, causes of action, remedies, and liabilities whatsoever, including any direct or derivative
 claims asserted or assertable by or on behalf of any Holder of a Sexual Misconduct Claim, any
 Sexual Misconduct Claims or causes of action asserted by or on behalf of any Holder of a Sexual
 Misconduct Claim or that any Holder of a Sexual Misconduct Claim would have been legally
 entitled to assert in their own right, whether individually or collectively, whether known or
 unknown, matured or unmatured, accrued or not accrued, foreseen or unforeseen, existing or
 hereinafter arising, in law or equity, based on any matter, cause, thing, conduct, or omission
 occurring prior to the Effective Date.



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        7.2.4.     Additional Settlement Releases. In addition to the general releases in
 Sections 7.2.1, 7.2.2 and 7.2.3 of this Plan (the “Plan Releases”), the Plan Support Agreement
 contains certain general and specific releases (the “Settlement Releases”) by the Releasing Parties
 and Harvey Weinstein. Notwithstanding anything herein to the contrary, nothing herein shall be
 construed to limit or lessen the scope of the Settlement Releases and the rights reserved thereunder
 in any way. The Settlement Releases consist of the following:

                (1)     General Release.

                               (a)     Except as otherwise set forth in Sections 7.2.4(2) and 7.2.5
                                       herein, as of the Effective Date, each of the Settlement
                                       Parties that is a signatory to the Plan Support Agreement
                                       releases (and each entity so released shall be deemed
                                       released by the Settlement Parties) each of the Released
                                       Parties that is a signatory hereto and its respective property
                                       from any and all Claims, interests, obligations, rights, suits,
                                       damages, causes of action, remedies, and liabilities
                                       whatsoever, including any direct or derivative claims
                                       asserted or assertable by or on behalf of any of the Settlement
                                       Parties, any Claims or causes of action asserted by or on
                                       behalf of any of the Settlement Parties, or that any
                                       Settlement Party would have been legally entitled to assert
                                       in their own right, whether individually or collectively,
                                       whether known or unknown, foreseen or unforeseen,
                                       existing or hereinafter arising, in law or in equity, based on
                                       any matter, cause, thing, conduct or omission occurring prior
                                       to the Effective Date and in any way related to the Debtors,
                                       their businesses, operations, activities or the Chapter 11
                                       Cases (including, but not limited to, Tort Claims).

                (2)     Additional Releases.

                               (a)     the Debtors and the Former Representatives release the
                                       Insurance Companies from any and all past, present or future
                                       claims, demands, obligations, actions, causes of action,
                                       rights, damages, costs, losses of services, expenses and
                                       compensation of any nature whatsoever (including, without
                                       limitation, reimbursement of fees and costs of defense) in
                                       any way arising out of or related to the Tort Claims, whether
                                       in law, in equity or otherwise, and whether under contract,
                                       warranty, tort or otherwise, including but not limited to any
                                       claims for bad faith or breach of the implied covenant of
                                       good faith and fair dealing; provided, however, this release
                                       shall not include any (i) Claims that are not Tort Claims;
                                       (ii) Tort Claims that are not permanently released and
                                       enjoined pursuant to the Bankruptcy Injunctions; and
                                       (iii) direct and indirect fees, costs and expenses incurred by


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                              the Debtors or the Former Representatives in excess of
                              $25,000 per Claim in connection with (a) the enforcement of
                              the Bankruptcy Injunctions and/or (b) any Claim or action
                              by or against a Non-Released Party or by a Holder of a
                              Sexual Misconduct Claim who does not affirmatively elect
                              to release Harvey Weinstein (except as otherwise provided
                              in Section 7.2.4(2)(c) below); provided further that with
                              respect to the Claims specified in subparagraphs (i)-(iii)
                              above, the Debtors and the Former Representatives reserve
                              their rights to seek insurance coverage from the Insurance
                              Companies and the Insurance Companies reserve their rights
                              to contest such coverage;

                        (b)   the Former Representatives and the Debtors who are
                              currently or were previously named parties in the Contract
                              and Commercial Cases waive all challenges to coverage
                              positions taken by the Insurance Companies for each of the
                              Contract and Commercial Cases due to the failure of such
                              Former Representatives and Debtors to issue timely
                              coverage dispute letters to the Insurance Companies, and
                              such Former Representatives and the Debtors shall not seek
                              coverage from the Insurance Companies for any cost or
                              expense incurred in connection with any Contract or
                              Commercial Case for which a coverage position has been
                              waived;

                        (c)   Harvey Weinstein releases the Insurance Companies for all
                              Claims arising in the Judd Case and the McGowan Case;

                        (d)   in the event a Holder of a Sexual Misconduct Claim
                              affirmatively elects to release Harvey Weinstein, then
                              (i) Harvey Weinstein shall be deemed to release the
                              Insurance Companies from any Claims in any way arising
                              out of, related to or connected to such Sexual Misconduct
                              Claims; and (ii) the Insurance Companies shall be deemed to
                              release Harvey Weinstein from any Claims in any way
                              arising out of, related to or connected to such Sexual
                              Misconduct Claims;

                        (e)   the Debtors, the Estates, the Committee and the Non-Debtor
                              Affiliates release the Former Representatives for all of the
                              Estates’ Claims and Causes of Action against any Former
                              Representative;

                        (f)   the Former Representatives and Harvey Weinstein release
                              the Debtors with respect to any and all Claims, including:
                              (i) all general unsecured, priority and/or administrative


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                              expense claims that have been asserted or could be asserted
                              against the Debtors (except as set forth in the Plan); (ii) any
                              and all claims for substantial contribution pursuant to
                              Section 503(b)(3) of the Bankruptcy Code (provided that
                              such substantial contribution claims shall only be available
                              as consideration for any releases granted pursuant to the Plan
                              and the approval of the Channeling Injunction and shall not
                              support the request for payments from the Estates); and
                              (iii) any and all contribution and indemnity Claims against
                              the Debtors and/or their respective bankruptcy Estates,
                              except to the extent that any of the Debtors are nominally
                              defendants in any insurance coverage litigation; upon
                              occurrence of the Effective Date and distribution and receipt
                              of the Settlement Amount in accordance with this
                              Agreement and the Plan, all proofs of claim filed by the
                              Former Representatives and Harvey Weinstein shall be
                              deemed disallowed and any amounts owed to the Former
                              Representatives and Harvey Weinstein as reflected on the
                              Debtors’ schedules of assets and liabilities shall be deemed
                              released;

                        (g)   the Debtors, the Former Representatives and Harvey
                              Weinstein (as applicable) release all Holders of Sexual
                              Misconduct Claims, including current or former TWC
                              employees and/or contractors, from any confidentiality,
                              non-disclosure or non-disparagement agreements (if any),
                              arising from or relating to any Sexual Misconduct Claim;

                        (h)   Notwithstanding the foregoing, and in exchange for the
                              consideration herein, the Debtors, the Former
                              Representatives and Harvey Weinstein: (i) fully release and
                              forever relinquish any and all rights for coverage for defense
                              costs or indemnification or otherwise under Policy
                              No. G27085969 005 issued by Westchester Fire Insurance
                              Company to the named insured The Weinstein Company
                              Holdings. The Debtors, the Former Representatives and
                              Harvey Weinstein agree that any duties or obligations of
                              Westchester Fire Insurance Company under Policy
                              No. G27085969 005 are fully and finally extinguished and
                              terminated. By this release, the Debtors, the Former
                              Representatives and Harvey Weinstein reserve no rights or
                              benefits whatsoever under or in connection with Policy
                              No. G27085969 005 with respect to any past, present or
                              future claims whatsoever; and (ii) fully release National
                              Union Fire Insurance Company of Pittsburgh, PA
                              (“National Union”) from any obligations, duties,
                              responsibilities, claims, liabilities and damages under Policy


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                              No. 01 824-40-28 issued to the named insured
                              The Weinstein Company Holdings.             The Debtors,
                              the Former Representatives and Harvey Weinstein agree that
                              National Union’s contribution of the remaining unexhausted
                              amount of Policy No. 01-824-40-28 towards the Settlement
                              Amount exhausts the $10 million limit of liability of Policy
                              No. 01-824-40-28. By this release, the Debtors, the Former
                              Representatives and Harvey Weinstein reserve no rights or
                              benefits whatsoever under or in connection with
                              Policy No. 01 824 40-28 with respect to any past, present or
                              future claims whatsoever;

                        (i)   each Insurance Company releases each and every other
                              Insurance Company for Claims or causes of action, whether
                              in law, in equity, or otherwise, and whether under contract,
                              warranty, tort or otherwise, solely with respect to any claim
                              for recovery of each Insurance Company’s respective
                              contribution to the Settlement Amount and any defense costs
                              paid by any Insurance Company prior to the execution of this
                              Agreement for the Claims and any criminal proceedings
                              arising out of the Sexual Misconduct Claims from any other
                              Insurance Company (unless otherwise agreed upon by and
                              between any of the Insurance Companies), provided,
                              however, (i) these releases shall not apply to any Insurance
                              Company’s obligations under any contract of reinsurance;
                              and (ii) in the event any Insured seeks coverage for any
                              matters or claims not released herein, each Insurance
                              Company reserves the right to challenge the exhaustion of
                              any applicable policy except Policy No. 01 824 40 28 issued
                              by National Union;

                        (j)   except as provided in Section 7.2.4 above, the Insurance
                              Companies (on behalf of themselves and their subsidiaries,
                              Affiliates, parents, predecessors, or successors (except AIG
                              Europe Limited and AIG Europe SA)) release the other
                              Released Parties from any and all past, present or future
                              claims, demands, obligations, actions, causes of action,
                              rights, damages, costs, losses of services, expenses and
                              compensation of any nature whatsoever (including, without
                              limitation, reimbursement of fees and costs of defense) in
                              any way arising out of or related to the Claims, whether in
                              law, in equity or otherwise, and whether under contract,
                              warranty, tort or otherwise, including but not limited to any
                              claims for bad faith or breach of the implied covenant of
                              good faith and fair dealing; the Insurance Companies shall
                              not seek recovery of the Settlement Amount or any portion
                              thereof paid by such Insurance Company from any other


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                                       Released Party for any reason; provided, however, the
                                       Insurance Companies do not release any rights, defenses or
                                       Claims against The Walt Disney Company, Disney
                                       Enterprises, Inc., Buena Vista International, Inc., Miramax,
                                       LLC, Miramax Film Corporation and/or Miramax Film NY,
                                       LLC.

         7.2.5.    Exceptions to Releases. The Releases set forth in Sections 7.2.1-
                                                                                   -7.2.4 of the Plan
                                                                              7.2.1-7.2.4
 and the Bankruptcy Injunctions set forth in Sections 5.8 and 14.7 of the Plan shall not apply to
 (i) any Claims in the Plan Support Agreement that are specifically excluded from the releases set
 forth in the Plan Support Agreement and (ii) any of the following:

                (1)     any Former Representatives’ Claims and/or their respective affiliates’ or
                        representatives’ Claims (other than Claims released in the Plan Support
                        Agreement), including any claim for indemnification, against any Released
                        Party other than the Debtors, the Estates and the Former Representatives;

                (2)     Robert Weinstein’s and Harvey Weinstein’s Claims for indemnification
                        against the Non-Debtor Entities that arise from, relate to or connect to
                        Sexual Misconduct Claims;

                (3)     in the event a Holder of a Sexual Misconduct Claim does not affirmatively
                        elect to release Harvey Weinstein; (i) Harvey Weinstein shall not be
                        required to release the Insurance Companies from any Claims in any way
                        arising out of, related to or connected to such Holder’s Sexual Misconduct
                        Claims other than as set forth in Section 7.2.4(2)(c); and (ii) the Insurance
                        Companies shall not be required to release Harvey Weinstein from any
                        Claims in any way arising out of, related to or connected to Sexual
                        Misconduct Claims that are not released in accordance with subparagraph
                        (i) of this Section 7.2.5(3);

                (4)     the Debtors’, Harvey Weinstein’s, Robert Weinstein’s, Frank Gil’s and
                        David Glasser’s claims and counterclaims against the Debtors, Harvey
                        Weinstein, Robert Weinstein, Frank Gil and David Glasser, arising out of
                        the action entitled Frank Gil v. Weinstein Live Entertainment LLC, et. al.,
                        Supreme Court of the State of New York, County of New York, Case
                        No. 653555/2019;

                (5)     the claims of Sartraco, Inc., Aldamisa International, LLC, Aldamisa
                        Entertainment, LLC, Sergei Bespalov, Marina Bespalov, Harvey Weinstein,
                        Robert Weinstein, and David Glasser (the “Sartraco-Weinstein Parties”)
                        and the respective counter-claims of the Sartraco-Weinstein Parties against
                        each other arising out of the action entitled Sartraco et. al. v. Robert
                        Weinstein, et. al., Superior Court for the State of California, County of Los
                        Angeles, Case No. 19-VECV-00448;

                (6)     any Claims to enforce the terms of the Plan and the Plan Documents;



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                 (7)     any Allowed Professional Fee Claim.

         7.2.6.    Bankruptcy Court Approval of Releases. Entry of the Confirmation Order shall
 constitute the Bankruptcy Court’s approval, pursuant to Bankruptcy Rule 9019, of the foregoing
 Releases by Holders of Claims and Interests and the Settlement Releases subsumed thereunder,
 which includes by reference each of the related provisions and definitions contained in this Plan
 and the Plan Support Agreement, and further, shall constitute the Bankruptcy Court’s finding that
 the Third-Party Releases are: (1) in exchange for the good and valuable consideration provided
 by the Released Parties; (2) a good-faith settlement and compromise of claims released by the
 Third-Party Releases; (3) in the best interests of the Debtors, the Estates and all Holders of Claims
 and Interests; (4) fair, equitable, and reasonable; (5) given and made after due notice and
 opportunity for hearing; and (6) a bar to any of the Releasing Parties asserting any Claim,
 counterclaims, actions, causes of action, lawsuits, proceedings, adjustments, offsets, contracts,
 obligations, liabilities, controversies, costs, expenses, attorneys’ fees and losses whatsoever,
 whether in law, in admiralty, in bankruptcy, or in equity, and whether based on any federal law,
 state law, foreign law, common law or otherwise, foreseen or unforeseen, matured or unmatured,
 known or unknown, accrued or not accrued based upon any acts, omissions, conduct or other
 matters in any way related to the Debtors, their businesses, operations, activities, their Chapter 11
 Cases, against any of the Released Parties or their property.

 7.3. Plan Injunction. Except as otherwise provided in the Plan and/or the Plan Documents
 (including, specifically, the Plan Support Agreement), on and after the Effective Date, all Persons
 and Entities who have held, hold, or may hold Claims or Interests whether or not such Persons or
 Entities have voted to accept or reject the Plan (except, solely as it relates to parties other than the
 Debtors, Holders of Opt-Out GUCs), and other parties in interest, along with their respective
 present or former employers, agents, officers, directors, or principals, shall be and are permanently
 enjoined from and restrained against taking any of the following actions on account of any such
 Claims or Interests:

                (1)     taking any actions to interfere with the implementation or consummation of
                        the Plan, taking any actions to interfere with the implementation or
                        consummation of the Plan, or otherwise acting or proceeding in any manner,
                        in any place whatsoever, that does not conform to or comply with the
                        provisions of the Plan;

                (2)     commencing, conducting, or continuing in any manner, directly or
                        indirectly, in any court, proceeding, or other tribunal of any kind, any suit,
                        action, or other proceeding of any kind (including, without limitation, any
                        proceeding in a judicial, arbitral, administrative, or other forum), or
                        otherwise asserting any Claim or Interest, which has been released pursuant
                        to Section 7.2 of the Plan or from seeking to hold any Released Party or
                        Harvey Weinstein (as applicable) liable in any such suit, action or
                        proceeding or for any such Claim, or Interest that has been released pursuant
                        to Section 7.2 of the Plan;

                 (3)     enforcing, levying, attaching (including, without limitation, any
                         prejudgment attachment), collecting or otherwise recovering by any manner


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                        or means, whether directly or indirectly, any judgment, award, decree or
                        order against the Debtors, their Estates, their assets, the Released Parties
                        and/or the property of the Released Parties, the Liquidation Trust Assets,
                        and/or the Sexual Misconduct Claims Fund;

                (4)     creating, perfecting or otherwise enforcing in any manner, directly or
                        indirectly, any encumbrance against the Debtors’ assets, their Estates’
                        assets, the Released Parties’ assets, the Liquidation Trust Assets, and/or the
                        Sexual Misconduct Claims Fund; and

                (5)     asserting, implementing or effectuating any setoff, right of subrogation,
                        indemnity, contribution or recoupment of any kind against any obligation
                        due any Released Party or against the property of any Released Party with
                        respect to any such claim, demand, or cause of action.

          The Releases pursuant to Section 7 of the Plan shall act as a permanent injunction against
 any party from commencing or continuing any action, employment of process, or act to collect,
 offset, or recover any Claim released under this Plan to the fullest extent authorized by applicable
 law. Notwithstanding anything to the contrary contained herein, the Releases and Bankruptcy
 Injunctions granted in favor of Insurance Companies do not include any insurance policies issued
 to The Walt Disney Company, Disney Enterprises, Inc., Buena Vista International, Inc., Miramax,
 LLC, Miramax Film Corporation and Miramax Film NY, LLC, and each of their respective
 affiliates and successors.

 SECTION 8.       EXECUTORY CONTRACTS AND UNEXPIRED LEASES

 8.1. Executory Contracts and Unexpired Leases Deemed Rejected. Except as otherwise
 provided for herein, and except for executory contracts and unexpired leases which the Debtors
 either have assumed, have rejected or have filed a motion to assume or reject prior to the
 Confirmation Date and which remains pending as of the Confirmation Date, all executory contracts
 and unexpired leases for goods, services, or premises used in connection with Debtors’ business
 operations shall be deemed rejected by the Debtors on the Effective Date, and the Plan shall
 constitute a motion to reject such executory contracts and unexpired leases. Subject to the
 occurrence of the Effective Date, entry of the Confirmation Order by the Bankruptcy Court shall
 constitute approval of such rejections pursuant to section 365(a) of the Bankruptcy Code and a
 finding by the Bankruptcy Court that each such rejection is in the best interests of the Debtors,
 their Estates, and all parties in interest in these Chapter 11 Cases.

                    Notwithstanding the foregoing, or anything else in the Plan or Confirmation
 Order to the contrary, nothing shall be deemed to be a rejection of any Insurance Policy of the
 Debtors, and the Debtors, jointly and severally, shall assume all such Insurance Policies in their
 entireties pursuant to sections 105 and 365 of the Bankruptcy Code, and such Insurance Policies
 shall vest, unaltered, in the Liquidation Trust except that on and after the Effective Date, the
 Liquidation Trust shall become and remain liable for all of the Debtors’ obligations under the
 Insurance Policies regardless of when such obligations arise.




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 8.2. Bar Date for Claims Arising from Rejection or Termination. Claims created by the
 rejection of executory contracts or unexpired leases pursuant to the Plan must be filed with the
 Bankruptcy Court and served on the Liquidation Trustee, no later than thirty (30) days after the
 Effective Date. Any Claims for rejection of executory contracts or unexpired leases pursuant to
 the Plan for which a proof of claim is not filed and served within such time will be forever barred
 and shall not be enforceable against the Debtors or their Estates, assets, properties, or interests in
 property, or against the Liquidation Trust. Unless otherwise ordered by the Bankruptcy Court, all
 such Claims that are timely filed as provided herein shall be treated as General Unsecured Claims
 under the Plan. Nothing in the Plan shall extend any deadline for the filing of any Claims
 established in a previously entered order of the Bankruptcy Court.

 SECTION 9.       ACCEPTANCE OR REJECTION OF THE PLAN

 9.1. Impaired Classes to Vote. Each Holder of a Claim or Interest that is classified in an
 Impaired Class and is eligible to receive a Distribution pursuant to the Plan shall be entitled to vote
 to accept or reject the Plan.

 9.2. Acceptance by Impaired Class of Claims. Pursuant to section 1126(c) of the Bankruptcy
 Code, an Impaired Class of Claims shall have accepted the Plan if, after excluding any Claims
 designated pursuant to section 1126(e) of the Bankruptcy Code, (a) the Holders of at least
 two-thirds in dollar amount of the Allowed Claims actually voting in such Class have voted to
 accept such Plan and (b) more than one-half in number of such Allowed Claims actually voting in
 such Class have voted to accept the Plan. All Sexual Misconduct Claims filed prior to the Tort
 Claims Bar Date shall be temporarily Allowed and valued at one dollar solely for the purpose of
 voting.

         Except for Holders of Claims in Classes that are deemed or presumed to have accepted or
 rejected the Plan pursuant to the terms of the Plan, if Holders of Claims in a particular Impaired
 Class of Claims were given the opportunity to vote to accept or reject the Plan and notified that a
 failure of any Holders of Claims in such Impaired Class of Claims to vote to accept or reject the
 Plan would result in such Impaired Class of Claims being deemed to have accepted the Plan, then
 such Class of Claims shall be deemed to have accepted the Plan.

 9.3. Presumed Acceptances by Unimpaired Classes. Classes of Claims or Interests
 designated as Unimpaired are conclusively presumed to have voted to accept the Plan pursuant to
 section 1126(f) of the Bankruptcy Code, and the votes of the Holders of such Claims or Interests
 will not be solicited.

 9.4. Presumed Rejection of the Plan. Impaired Classes of Claims or Interests that do not
 receive or retain property under the Plan are conclusively presumed to have voted to reject the
 Plan pursuant to 1126(g) of the Bankruptcy Code, and the votes of such Claims or Interests will
 not be solicited.

 9.5. Nonconsensual Confirmation. In the event that any Impaired Class of Claims shall fail
 to accept the Plan in accordance with section 1129(a) of the Bankruptcy Code, the Plan Proponents
 reserve the right to (a) request that the Bankruptcy Court confirm the Plan in accordance with
 section 1129(b) of the Bankruptcy Code with respect to such non-accepting class, in which case



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 the Plan shall constitute a motion for such relief, or (b) modify the Plan in accordance with
 Section 10.1 of the Plan to the extent, if any, that Confirmation pursuant to section 1129(b) of the
 Bankruptcy Code requires modification, provided, however, the Plan Proponents will only seek
 confirmation of the Plan if the Holders of Sexual Misconduct Claims (Class 4) vote to accept the
 Plan in accordance with section 1126(c) of the Bankruptcy Code, and notwithstanding the Plan
 Proponents’ rights under sections 1129(a) and 1129(b) of the Bankruptcy Code, the Plan
 Proponents will not seek confirmation of the Plan if the Holders of Sexual Misconduct Claims
 (Class 4) vote to reject the Plan in accordance with section 1126(c) of the Bankruptcy Code.

 SECTION 10. MODIFICATION, REVOCATION OR
             WITHDRAWAL OF THE PLAN

 10.1. Modification of the Plan. The Plan Proponents, unless otherwise provided in the Plan or
 the Plan Documents, may alter, amend, or modify the Plan and the Plan Documents under
 section 1127(a) of the Bankruptcy Code at any time prior to the Confirmation Date so long as the
 Plan and the Plan Documents, as modified, meet the requirements of sections 1122 and 1123 of
 the Bankruptcy Code and incorporates, or are consistent with, the terms of the Plan Support
 Agreement in a form and substance reasonably satisfactory to the Settlement Parties. After the
 Confirmation Date, and prior to the Effective Date, unless otherwise provided in the Plan or the
 Plan Documents, Plan Proponents may alter, amend, or modify the Plan and the Plan Documents
 in accordance with section 1127(b) of the Bankruptcy Code so long as the Plan, as modified:
 (i) incorporates, or is consistent with, the terms of the Plan Support Agreement in a form and
 substance reasonably satisfactory to the Settlement Parties; and (ii) the Plan Proponents file notice
 of material modifications with the Bankruptcy Court and the Bankruptcy Court approves such
 modifications. From and after the Effective Date, the Plan Documents may be modified in
 accordance with their respective terms, provided, however, that (i) any modification to any Plan
 Document must be consistent with the Plan and the Confirmation Order; and (ii) the Plan
 Proponents file notice of material modifications with the Bankruptcy Court and the Bankruptcy
 Court approves such modifications. In the event that any modifications to any Plan Document are
 not consistent with the Plan and Confirmation Order, Section 1.2 of the Plan shall govern such
 inconsistencies.

 10.2. Revocation or Withdrawal.

         10.2.1. Right to Revoke. The Debtors may revoke or withdraw the Plan at any time prior
 to the Effective Date.

          10.2.2. Effect of Withdrawal or Revocation. If the Plan Proponents revoke or withdraw
 the Plan, then the Plan and the settlements contemplated thereby, including, without limitation the
 Settlement shall be deemed null and void and nothing in the Settlement shall be admissible as
 evidence in any case or proceeding for any purpose, it being the intent of the Settlement Parties
 that in such circumstance all discussions and negotiations related to the Settlement will be treated
 as inadmissible settlement discussions protected under Federal Rule of Evidence 408 and its state
 law equivalents. Further, in such event of revocation or withdrawal, nothing contained herein or
 in any of the Exhibits hereto, shall be deemed to (i) constitute an admission of liability by the Plan
 Proponents, any Released Party or any other Entity, (ii) constitute a waiver or release of any Claims



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 by the Plan Proponents, any Released Party or any other Entity, or (ii) prejudice in any manner the
 rights of the Debtors, any Released Party or any Entity in any future case or proceeding.

 SECTION 11. CONDITIONS PRECEDENT TO CONFIRMATION AND THE
             EFFECTIVE DATE

 11.1. Conditions Precedent to Confirmation. Each of the following is a condition precedent
 to the Confirmation of the Plan, which must be satisfied or waived by each of the Settlement Parties
 in their sole and absolute discretion in accordance with Section 11.5 of the Plan:

                (1)     The Bankruptcy Court shall have ruled that the settlements embodied in the
                        Plan and the Channeling Injunction set forth in Section 5.8 of the Plan and
                        the Plan Injunction set forth in Section 7.3 of the Plan are binding upon, and
                        enforceable by their terms against, all Holders of Claims and Interests.

                (2)     The Bankruptcy Court shall have entered an order approving the Disclosure
                        Statement as containing adequate information within the meaning of
                        section 1125 of the Bankruptcy Code.

                (3)     The Bankruptcy Court shall have entered the Confirmation Order, in a form
                        and substance reasonably satisfactory to all of the Settlement Parties,
                        approving, among other things, the Channeling Injunction, the Plan
                        Injunction and the Releases, the Plan Support Agreement, and such
                        Confirmation Order shall not in any way impair, diminish or detract from
                        the terms of the Settlement.

                (4)     All documents, instruments, and agreements provided under, or necessary
                        to implement, the Plan, shall have been executed and delivered by the
                        applicable parties.

                (5)     The Debtors and the Liquidation Trustee shall have executed the
                        Liquidation Trust Agreement and shall have established the Liquidation
                        Trust pursuant to the Plan that shall be in a form and substance acceptable
                        to the Plan Proponents.

                (6)     The Debtors and the Sexual Misconduct Claims Examiner shall have
                        finalized the Sexual Misconduct Claims Fund Procedures and shall have
                        established the Sexual Misconduct Claims Fund pursuant to the Plan that
                        shall be in a form and substance acceptable to the Plan Proponents.

                (7)     The substantive consolidation of the Debtors shall have been approved by
                        the Bankruptcy Court.

 11.2. Conditions Precedent to the Effective Date. The “substantial consummation,” as defined
 in section 1101 of the Bankruptcy Code, shall not occur, and the Plan shall be of no force and
 effect, until the Effective Date. The occurrence of the Effective Date is subject to satisfaction of
 each of the following conditions precedent, each of which may be waived by all of the Settlement
 Parties (as applicable) in their sole and absolute discretion:


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                (1)     There is no stay in effect with respect to the Confirmation Order, and the
                        Confirmation Order, including the Channeling Injunction, the Plan
                        Injunction and the Releases, shall be in full force and effect.

                (2)     The Sexual Misconduct Claims Fund shall have been funded as provided in
                        the Plan and the Plan Support Agreement.

                (3)     The Liquidation Trust shall have been funded in accordance with the terms
                        of this Plan.

                (4)     The Former Representatives Defense Costs shall have been funded as
                        provided in the Plan.

                (5)     The Debtors shall have sufficient funds to satisfy all Allowed
                        Administrative Expense Claims in full, in Cash.

                (6)     The Plan Documents necessary or appropriate to implement the Plan, shall
                        have been executed and shall be in full force and effect.

                (7)     All authorizations, consents, and regulatory approvals required, if any, in
                        connection with the consummation of the Plan shall have been obtained.

                (8)     All other actions, documents, and agreements necessary to implement the
                        Plan shall have been effected or executed.

 11.3. Simultaneous Actions. Except as otherwise specified to occur in a specific order, all
 actions required to be taken on the Effective Date of the Plan, to the extent such actions have
 actually been taken, shall be deemed to have occurred simultaneously. In no event shall any action
 be deemed to have occurred unless the action in fact occurred.

 11.4. Effect of Failure of Conditions. In the event that one or more of the conditions specified
 in Sections 11.1 or 11.2 of the Plan cannot be satisfied after a reasonable amount of time and the
 occurrence of such condition is not waived by all the Settlement Parties (as applicable) in their
 sole and absolute discretion, then the Plan Proponents, with the consent of all the Settlement Parties
 (not to be unreasonably withheld or delayed), shall file a notice of the failure of the Effective Date
 with the Bankruptcy Court, at which time the Plan and the Confirmation Order, if the conditions
 precedent to the Confirmation Date have been satisfied, shall be deemed null and void. If the
 Effective Date does not occur, then (a) the Confirmation Order, if the conditions precedent to
 Confirmation Date have been satisfied, shall be vacated, (b) no Distributions under the Plan shall
 be made, (c) the Debtors and all Holders of Claims and Interests shall be restored to the status quo
 ante as of the day immediately preceding the Confirmation Date and if the conditions precedent to
 Confirmation Date shall have been met, as though the Confirmation Order had never been entered
 and the Confirmation Date never occurred, including being subject to any injunctions and
 automatic stays issued in these Chapter 11 Cases, and (d) the Debtors’ obligations with respect to
 all of the Claims and Interests shall remain unchanged, and nothing contained herein shall
 constitute or be deemed a waiver or release of any Claims or Interests by or against the Debtors or
 any other Entity or to prejudice in any manner the rights of the Debtors or any Entity in any future
 case or proceeding involving the Debtors.


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 11.5. Waiver of Conditions Precedent. Subject to the consent of all of the Settlement Parties
 (not to be unreasonably withheld or delayed), the Plan Proponents may waive the occurrence of
 any of the foregoing conditions specified in Sections 11.1 or 11.2 of the Plan or modify any such
 conditions precedent. Except as otherwise set forth herein, any such waiver of a condition
 precedent may be effected at any time, without notice, without leave or order of the Bankruptcy
 Court, and without formal action other than the filing of a stipulation executed by each of the
 Settlement Parties.

 SECTION 12. MEANS FOR IMPLEMENTATION OF THE PLAN

 12.1. Substantive Consolidation. The Plan Proponents seek entry, pursuant to section 105 of
 the Bankruptcy Code, of a Bankruptcy Court order that, effective upon the Effective Date,
 substantively consolidates the Estates into a single consolidated Estate and consolidates all of the
 debts of all of the Debtors, for all purposes associated with Confirmation and substantial
 consummation. See Disclosure Statement at §§ V(A)(7) and (XI)(B)(2)-(3). On and after the
 Effective Date, all Assets and liabilities of the Debtors shall be treated as though they were merged
 into the Estate of The Weinstein Company Holdings LLC (Case No. 18-10601) for all purposes
 associated with Confirmation and substantial consummation, and all guarantees by any Debtor of
 the obligations of any other Debtor shall be eliminated so that any Claim and any guarantee thereof
 by any other Debtor, as well as any joint and several liability of any Debtor with respect to any
 other Debtor shall be treated as one collective obligation of the Debtors, subject to all rights,
 claims, defenses, and arguments available to the Debtors or the Liquidation Trust.

          Substantive consolidation will not (i) alter the state of incorporation or state of formation
 of any Debtor for purposes of determining the applicable law for any of the Causes of Action,
 (ii) alter or impair the legal and equitable rights of the Liquidation Trustee to prosecute any of the
 Causes of Action, or (iii) otherwise impair, release, extinguish, or affect any of the Causes of
 Action or issues raised as a part thereof.

         Notwithstanding anything in the Plan or in the Confirmation Order to the contrary, the
 entry of the Confirmation Order ordering substantive consolidation of the Estates shall not have
 any effect upon the separate and distinct legal entities as they existed at the time of any prepetition
 transaction that is the subject of any litigation; provided, however, that the foregoing provision
 shall not serve to prejudice or compromise whatever rights, if any, the Debtors or the Liquidation
 Trustee, as applicable, may have to contend in any pending or future adversary proceeding or other
 lawsuit that the Debtors or the Liquidation Trustee, as applicable, may prosecute claims for
 fraudulent conveyance or fraudulent transfer arising from transfers made by one or more of the
 Debtors based on any theory or doctrine, including any federal, state, or common law alter-ego,
 veil-piercing, or any other theory or doctrine that would permit or require the disregard of corporate
 separateness or facts as they existed at the time of the transaction in question. Moreover,
 substantive consolidation shall not affect the obligation of each Debtor or the Liquidation Trustee
 to pay quarterly fees to the Office of the United States Trustee pursuant to 28 U.S.C. § 1930 until
 the earlier of the time that a particular Case has been closed, dismissed, or converted.

        Notwithstanding anything to the contrary herein, on the Effective Date, all Claims by a
 Debtor against any other Debtor will be extinguished without any distributions being made on
 account of such Claims.


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 12.2. Vesting of Assets.

         12.2.1. Intercompany Claims. Except as otherwise may be provided in the Plan, on the
 Effective Date, all Intercompany Claims of any Debtor against any other Debtor are waived and
 cancelled.

         12.2.2. Interests in the Debtors. Except as otherwise may be provided in the Plan, on
 the Effective Date, the Interests in the Debtors shall be cancelled.

         12.2.3. Title to Assets. Except as otherwise may be provided in the Plan and Plan
 Documents, on the Effective Date, title to all assets and properties and interests in property of the
 Debtors dealt with by the Plan shall vest in the Liquidation Trust, free and clear of all Claims,
 Liens, and Interests.

        12.2.4. Preservation and Assignment of Rights and Causes of Action. Except for any
 Claims that are released pursuant to the Plan, all rights and causes of action accruing to the Debtors
 pursuant to the Bankruptcy Code or any other statute or any legal theory, and any rights for
 recovery, existing as of the Effective Date, are hereby expressly assigned to the Liquidation Trust,
 and on the Effective Date, shall be transferred and assigned to the Liquidation Trust. All of the
 Debtors’ right, title and interest, if any, in and to Claims of contribution and indemnification are
 hereby preserved to the extent those Claims have not been settled pursuant to the Plan and Plan
 Support Agreement, or any other settlement agreement between the Debtors and any other Entities.

 12.3. Setoffs. Subject to the limitations provided in section 553 of the Bankruptcy Code, the
 Liquidation Trust may, but shall not be required to, setoff against any Claim and the payments or
 Distributions to be made pursuant to the Plan in respect of such Claim, any claims, rights, causes
 of action and liabilities of any nature that the Liquidation Trust may hold against the Holder of
 such Claim; provided, however, that neither the failure to effect such a setoff nor the Allowance
 of any Claim hereunder shall constitute a waiver or release by the Liquidation Trust of any of such
 claims, rights, causes of action and liabilities that the Liquidation Trust has or may have against
 the Holder of such Claim.

 12.4. Corporate Authority. The entry of the Confirmation Order shall constitute direction and
 authorization to and of the Debtors to take or cause to be taken any corporate action necessary or
 appropriate to consummate the provisions of the Plan, including without limitation taking all action
 to implement the Settlement, and all such actions taken or caused to be taken shall be deemed
 authorized and approved in all respects without any further action by the members, stockholders,
 officers and/or directors of the Debtors.

 12.5. Corporate Action.

        12.5.1. By the Debtors. Upon the Effective Date, the terms of all directors, officers, and
 managers of each Debtor shall be deemed to have expired, all such directors, officers, and
 managers shall be released of their duties and all actions in furtherance of the Plan shall be deemed
 authorized, approved, and, to the extent taken prior to the Effective Date, ratified without any
 requirement for further action by the Debtors, Holders of Claims or Interests, directors, officers,
 or managers of the Debtors, or any other Entity, including the transfer of assets of the Debtors to
 the Liquidation Trust. The directors, officers, and managers of the Debtors, and the Liquidation


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 Trustee shall be authorized to execute, deliver, file, or record such contracts, instruments, release,
 and other agreements or documents and take such other actions as they may deem, in their sole
 discretion, necessary or appropriate to effectuate and implement the provisions of the Plan and
 Plan Documents. The authorizations and approvals contemplated by this section of the Plan shall
 be effective notwithstanding any requirements under non-bankruptcy law.

         12.5.2. Effectuating Documents and Further Transactions. The Liquidation Trust shall
 be authorized to execute, deliver, file or record such contracts, instruments, releases and other
 agreements or documents and take or direct such actions as may be necessary or appropriate to
 effectuate and further evidence the terms and conditions of the Plan and Plan Documents.

 12.6. Incorporation of Plan Documents. All Plan Documents attached as exhibits to the Plan
 and/or filed with the Plan Supplement are hereby incorporated into and made a part of the Plan.

 SECTION 13. RETENTION OF JURISDICTION

 13.1. General Jurisdiction.

         13.1.1. The Bankruptcy Court shall retain the fullest and most extensive jurisdiction
 permissible and necessary to ensure that the purposes and intent of the Plan are carried out. Except
 as otherwise provided in the Plan and Plan Documents, the Bankruptcy Court shall retain
 jurisdiction to hear and determine all Claims against the Debtors, and to adjudicate and enforce all
 of the Debtors’ causes of action. Nothing contained herein shall prevent the Liquidation Trustee
 or the Sexual Misconduct Claims Examiner (as applicable) from taking such action as may be
 necessary in the enforcement of any cause of action which the Debtors have or may have and
 which may not have been enforced or prosecuted by the Debtors, which cause of action shall
 survive confirmation of the Plan and shall not be affected hereto except as specifically provided
 herein.

         13.1.2. Following the entry of the Confirmation Order, the administration of the
 Chapter 11 Cases will continue at least until the completion of the transfers contemplated to be
 accomplished on the Effective Date. The Bankruptcy Court shall retain jurisdiction for the purpose
 of classification of any Claim and the re-examination of Claims that have been Allowed
 temporarily for purposes of voting, and the determination of such objections as may be filed with
 the Bankruptcy Court with respect to any Claim. The failure by the Plan Proponents to object to,
 or examine, any Claim for the purposes of voting, shall not be deemed a waiver of the right of the
 Released Parties, the Liquidation Trustee, or the Sexual Misconduct Claims Examiner to object to
 or re-examine such Claim in whole or part for any other purpose.

 13.2. Specific Jurisdiction. In addition to the foregoing, the Bankruptcy Court shall retain
 exclusive jurisdiction for the following specific purposes after the Confirmation Date:

                (1)     to approve modification of the Plan after the Confirmation Date, pursuant
                        to the provisions of the Bankruptcy Code, the Bankruptcy Rules and the
                        terms and conditions of the Plan and the Plan Support Agreement;

                (2)     to correct any defect, cure any omission, reconcile any inconsistency, or
                        make any other necessary changes or modifications in or to the Plan, the


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                   Plan Documents or the Confirmation Order as may be necessary to carry
                   out the purposes and intent of the Plan and the Plan Support Agreement,
                   including the adjustment of the date(s) of performance under the Plan
                   Documents in the event that the Effective Date does not occur as provided
                   herein so that the intended effect of the Plan may be substantially realized
                   thereby;

            (3)    to hear, determine, and resolve controversies related to the Liquidation
                   Trust and the Sexual Misconduct Claims Fund;

            (4)    to assure the performance by the Debtors, the Liquidation Trustee, and the
                   Sexual Misconduct Claims Examiner of their respective obligations to make
                   Distributions under the Plan;

            (5)    to enforce and interpret the terms and conditions of the Plan Documents and
                   any documents issued or executed with respect to the Plan;

            (6)    to enter such orders or judgments, including, but not limited to, the Releases
                   and Bankruptcy Injunctions (i) as are necessary to enforce the title, rights,
                   and powers of the Debtors, the Liquidation Trustee, the Sexual Misconduct
                   Claims Examiner, and/or the Released Parties, and (ii) as are necessary to
                   enable Holders of Claims to pursue their rights against any Entity that may
                   be liable therefore pursuant to applicable law or otherwise, including but
                   not limited to, Bankruptcy Court orders;

            (7)    to hear and determine any motions or contested matters involving taxes, tax
                   refunds, tax attributes, tax benefits, and similar or related matters with
                   respect to the Debtors, the Liquidation Trust, and the Sexual Misconduct
                   Claims Fund, arising on or prior to the Effective Date, arising on account of
                   transactions contemplated by the Plan Documents, or based upon the period
                   of administration of the Chapter 11 Cases;

            (8)    to hear and determine all applications for compensation of professionals and
                   reimbursement of expenses under sections 330, 331, or 503(b) of the
                   Bankruptcy Code;

            (9)    to hear and determine any causes of action by, against or involving the
                   Debtors arising during the period from the Petition Date through the
                   Effective Date;

            (10)   to hear and determine any causes of action by, against or involving the
                   Debtors, the Liquidation Trust, or the Sexual Misconduct Claims Fund,
                   arising during the period from the Effective Date to the date of the order
                   entering a final decree in the Chapter 11 Cases;

            (11)   to hear and determine any cause of action regarding the enforcement of Plan
                   Documents or the transactions contemplated thereby;



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            (12)   to determine any and all applications or motions pending on the Effective
                   Date for the rejection or assumption of executory contracts or unexpired
                   leases, and if need be, liquidate any and all Claims arising therefrom;

            (13)   to hear and determine such other matters as may be provided in the
                   Confirmation Order;

            (14)   to consider and act on the compromise and settlement of any Claim against
                   or Interest in the Debtors or their Estates including, without limitation, any
                   disputes with respect to the Bar Dates;

            (15)   to hear and determine all questions and disputes regarding title to the assets
                   of the Debtors and their Estates, the Liquidation Trust, or the Sexual
                   Misconduct Claims Fund;

            (16)   to hear and determine all matters, questions, and disputes with respect to
                   any direct causes of action brought by the Debtors and their Estates, the
                   Liquidation Trust, or the Sexual Misconduct Claims Fund;

            (17)   to hear and determine any other matters related hereto, including the
                   implementation and enforcement of all orders entered by the Bankruptcy
                   Court in the Chapter 11 Cases;

            (18)   to interpret, enforce, and administer the terms of the Settlement and the Plan
                   Support Agreement, only to the extent such Plan Support Agreement does
                   not provide for an alternate forum for resolution;

            (19)   to hear and determine any proceeding that involves the validity, application,
                   construction, interpretation, enforceability or enforcement of the
                   Channeling Injunction or the application of section 105(a) of the
                   Bankruptcy Code to the Channeling Injunction. Notwithstanding the
                   foregoing, nothing herein shall constitute a waiver by any Released Party of
                   the protections granted to them under the Channeling Injunction or consent
                   to the Bankruptcy Court’s consideration of any matter;

            (20)   to hear and determine matters concerning state, local, and federal taxes,
                   fines, penalties, or additions to taxes for which a Debtor may be liable,
                   directly or indirectly, in accordance with sections 346, 505, and 1146 of the
                   Bankruptcy Code;

            (21)   to enjoin any actions in violation of the Bankruptcy Injunctions on behalf
                   of the Released Parties;

            (22)   To hear and determine all adversary proceedings, applications, motions, and
                   contested or litigated matters that may be pending on the Effective Date or
                   that, pursuant to the Plan, may be instituted by the Liquidation Trust or the
                   Sexual Misconduct Claims Fund after the Effective Date, including, without



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                        express or implied limitation, any claims to recover assets for the benefit of
                        the Estates;

                (23)    To enter an order or final decree closing the Chapter 11 Cases; and

                (24)    To hear and determine all questions, matters, and disputes with respect to
                        the Plan.

 13.3. District Court Jurisdiction. To the extent that the Bankruptcy Court is not permitted
 under applicable law to preside over any of the foregoing matters in Section 13.2, the reference to
 the Bankruptcy Court in Section 13.2 shall be deemed to be replaced by the United States District
 Court for the District of Delaware.

 13.4. Bankruptcy Court Does Not Exercise Jurisdiction. If the Bankruptcy Court abstains
 from exercising or declines to exercise jurisdiction, or is otherwise without jurisdiction, over any
 matter arising under, arising in or related to these Chapter 11 Cases, including with respect to any
 of the matters set forth in Section 13 of the Plan, nothing herein shall prohibit or limit the exercise
 of jurisdiction by any other tribunal that has competent jurisdiction with respect to any such subject
 matter.

 13.5. Non-Released Claims Jurisdiction. All obligations, rights or duties arising under the
 Insurance Policies with regard to coverage for any Non-Released Claims shall be determined in
 an appropriate non-bankruptcy forum pursuant to applicable non-bankruptcy law as if the Chapter
 11 Cases had never been filed, except with regard to credit for any payments received under the
 Plan by a Holder of a Non-Released Claim and/or exhaustion of limits under any Insurance Policies
 by payment of the Settlement Amount.

 SECTION 14. MISCELLANEOUS PROVISIONS

 14.1. Binding Effect of Plan. The provisions of the Plan shall be binding upon all parties and
 inure to the benefit of the Debtors, their Estates, and their respective predecessors, successors,
 assigns, and Representatives. The terms of the Plan shall be enforceable against the Debtors, their
 Creditors, Holders of Interests in the Debtors, the Liquidation Trust, the Settlement Parties, and all
 parties-in-interest.

 14.2. Reservation of Rights. Except as expressly set forth in the Plan and/or the Plan
 Documents, nothing contained in the Plan shall constitute a waiver of any right, claim, or cause of
 action of the Debtors or the Liquidation Trust. Except as set forth in the Plan and/or the Plan
 Documents, any rights, claims, or causes of action accruing to the Debtors pursuant to the
 Bankruptcy Code or pursuant to any statute or legal theory, including, without limitation, any
 Avoidance Actions, shall be transferred to the Liquidation Trust; provided, however, that the
 Debtors and the Estates shall not retain and/or transfer any such Avoidance Actions against the
 Former Representatives. Pursuant to sections 1123(a)(5) and 1123(b)(3)(B) of the Bankruptcy
 Code and consistent with Section 6.3 of the Plan, the Liquidation Trustee shall retain and shall be
 the appointed representative with exclusive authority to pursue, litigate, enforce, adjust and
 compromise and settle any such rights, claims, or causes of action, as appropriate, in accordance
 with what is in the best interests of and for the benefit of the Creditors who will receive
 Distributions from the Liquidation Trust. Notwithstanding any other provision of the Plan to the


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 contrary, the Releases and the Bankruptcy Injunctions set forth in Sections 5.8 and 7.1 shall not be
 deemed or construed to satisfy, release or enjoin Claims by any Entity against the Sexual
 Misconduct Claims Fund for payment of the Sexual Misconduct Claims in accordance with the
 Sexual Misconduct Claims Fund Procedures. Nothing contained in the Plan shall be deemed or
 construed to constitute a waiver of any right or claim of a Released Party to enforce or assert any
 defense under any Plan Document.

 14.3. No Admission of Liability. The provisions of this Plan and the Plan Support Agreement
 shall not constitute an admissions that any Released Party or Harvey Weinstein is admitting any
 wrongdoing, liability, fault or violation of law and no Insurance Company is admitting coverage
 under any policy of insurance.

         Notwithstanding anything in the Plan or Confirmation Order to the contrary, no provision
 of the Plan or the Plan Documents, including without limitation any exhibits and attachments
 thereto, or of any order, opinion, finding, statement or ruling in these Chapter 11 Cases, including
 without limitation any provision that purports to be preemptory or supervening, shall impair,
 release, waive, enlarge or in any way affect any obligations, rights, duties, claims or defenses of
 the Insurance Companies, the Debtors, the Former Representatives or any other person or entity
 claiming rights to coverage under any Insurance Policies, with regard to any Non-Released Claims.

         Further, the Sexual Misconduct Claims Examiner’s determination and information or
 documents related thereto with respect to a Sexual Misconduct Claim (i) shall not be offered,
 introduced, admitted, referenced, discussed or otherwise disclosed to the judge, jury (any
 mediator(s) or arbitrator(s)) or any other finder of fact in any non-bankruptcy lawsuit or proceeding
 concerning any Non-Released Claim for any reason, except by a Released Party if necessary to
 prove entitlement to a credit against any amounts owed in connection with a judgment, award,
 decree or other order with respect to any such Non-Released Claim against any of the Released
 Parties, (ii) shall not have, and shall not be argued by a Holder of Non-Released Claims to have,
 preclusive, binding, res judicata, estoppel, or preemptive effect of any kind whatsoever with
 respect to the amount of any such Holder’s Non-Released Claims, and (iii) shall not constitute an
 adjudication, judgment, trial, hearing on the merits, settlement, resolution of or otherwise establish
 any parties’ liability or obligation for any Non-Released Claims.

         Rather, the Debtors, the Former Representatives and Harvey Weinstein deny all allegations
 and Claims asserted against them; this Plan and the Plan Support Agreement are without prejudice
 to any coverage position taken or that may be taken by any Insurance Company, any Former
 Representative, or Harvey Weinstein; and this Plan and the Settlement embodied herein is put forth
 to avoid the risk, burden, and expense of litigation.

 14.4. Dissolution of the Committee. On the Effective Date, the Committee shall thereupon be
 released of and from all further authority, duties, responsibilities, and obligations arising from and
 based upon the Chapter 11 Cases, and the Committee shall be deemed dissolved; provided,
 however, that (a) in the event that the Effective Date occurs prior to the Confirmation Order
 becoming a Final Order, the Committee may, at its option, continue to serve and function for the
 purpose of participating in any appeal of the Confirmation Order until such time as the
 Confirmation Order becomes a Final Order, and (b) if the Effective Date occurs prior to the
 conclusion of any outstanding litigation or adversary proceedings in the Chapter 11 Cases or prior


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 to the entry of a Final Order with respect to final fee applications of Bankruptcy Professionals, the
 Committee may, at its option, continue to serve until a Final Order is entered with respect to such
 proceedings and/or applications.

 14.5. Exculpation and Release. The Exculpated Parties shall not have or incur, and are hereby
 released from, any claim, obligation, cause of action, and/or liability, in each case that arise from
 facts or circumstances that took place in whole or in part between the Petition Date and the
 Effective Date, to any Holder of a Claim, Interest, or any other Entity or any of their respective
 successors, assigns or Representatives for any act or omission with respect to or arising out of the
 Chapter 11 Cases, the pursuit of confirmation of the Plan, the consummation of the Plan, or the
 administration of the Plan or the property to be distributed under the Plan, except for gross
 negligence, fraud or willful misconduct or any obligations that they have under or in connection
 with the Plan, the Plan Documents, or any transactions contemplated thereby, and in all respects
 shall be entitled to rely upon the advice of counsel with respect to their duties and responsibilities
 under the Plan.

 14.6. Governing Law. Unless a rule of law or procedure is governed by federal law (including
 the Bankruptcy Code and Bankruptcy Rules), the laws of the State of Delaware, without giving
 effect to the conflicts of laws principles thereof, shall govern the construction of the Plan and the
 Plan Documents, except as otherwise expressly provided in the Plan Documents.

 14.7. Notice. Any notices, requests and demands required or permitted to be provided under the
 Plan, in order to be effective, shall be in writing, and unless otherwise expressly provided herein,
 shall be deemed to have been duly given and made when served by (i) certified mail, return receipt
 request or (ii) by overnight delivery service, and (iii) confirmed by email service, to be addressed
 as follows:

                To Debtors:

                Mark D. Collins (No. 2981)
                Paul N. Heath (No. 3704)
                Zachary I. Shapiro (No. 5103)
                RICHARDS, LAYTON & FINGER, P.A.
                920 N. King Street
                Wilmington, Delaware 19801
                Phone: (302) 651-7700
                Facsimile: (302) 651-7701

                and




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                Paul H. Zumbro (admitted pro hac vice)
                Lauren A. Moskowitz (admitted pro hac vice)
                Salah M. Hawkins (admitted pro hac vice)
                CRAVATH, SWAINE & MOORE LLP
                Worldwide Plaza
                825 Eighth Avenue
                New York, NY 10019
                Telephone: (212) 474-1000
                Facsimile: (212) 474-3700

                To Committee:

                James I. Stang (CA Bar No. 94435)
                Robert J. Feinstein (NY Bar No. 1767805)
                Debra I. Grassgreen (CA Bar No. 169978)
                Colin R. Robinson (DE Bar No. 5524)
                PACHULSKI STANG ZIEHL & JONES LLP
                919 North Market Street, 17th Floor
                P.O. Box 8705
                Wilmington, DE 19899 (Courier 19801)
                Telephone: 302-652-4100
                Facsimile: 302-652-4400

 14.8. Exemption from Taxes. Pursuant to section 1146(a) of the Bankruptcy Code, the
 issuance, transfer, or exchange of any equity security under the Plan, the creation of any mortgage,
 deed of trust, or other security interest, the making or assignment of any lease or sublease, or the
 making or delivery of any deed or other instrument of transfer under, in furtherance of, or with
 respect to, the Plan shall be exempt from all transfer and recordation taxes, stamp taxes or similar
 taxes.

 14.9. Plan Supplement. Any Plan Supplement (and amendments thereto) filed by the Plan
 Proponents shall be deemed an integral part of the Plan and shall be incorporated by reference as
 if fully set forth herein. Any and all exhibits, lists or schedules referred to herein or in the
 Disclosure Statement but not filed with the Plan shall be contained in the Plan Supplement and
 filed with the Clerk of the Bankruptcy Court at least five (5) Business Days prior to the deadline
 established by the Bankruptcy Court for filing and service of objections to the Plan.

 14.10. Severability. If, prior to the Confirmation Date, any term or provision of this Plan is
 determined by the Bankruptcy Court to be invalid, void, or unenforceable under applicable law,
 the Bankruptcy Court will have the power to alter and interpret such term or provision to make it
 valid or enforceable to the maximum extent permitted by applicable law, consistent with the
 original purpose of the term or provision held to be invalid, void, or unenforceable, and such term
 or provision will then be applicable as altered or interpreted, provided, however, that any such
 altered form must be consistent with the Plan Support Agreement. Notwithstanding any such
 holding, alteration or interpretation, the remainder of the terms and provisions of this Plan will
 remain in full force and effect and will in no way be affected, impaired, or invalidated by such
 holding, alteration, or interpretation. The Confirmation Order will constitute a judicial


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 determination and will provide that each term and provision of this Plan, as it may have been
 altered or interpreted in accordance with the foregoing, is valid and enforceable pursuant to its
 terms.

 14.11. Standing of Released Parties. Each of the Released Parties shall have standing to seek
 relief from the Bankruptcy Court or any court of competent jurisdiction for purposes of
 enforcement of the Channeling Injunction or other Injunction or releases under the Plan and the
 Plan Support Agreement to the extent that any act occurs or is taken that is contrary to the
 provisions of, or would interfere with, restrict, defeat, nullify, violate or otherwise limit the
 protections afforded the Released Party through the Channeling Injunction or other Injunction or
 releases under the Plan and the Plan Support Agreement.

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   Dated: -DQXDU\, 202

                                      Respectfully submitted,

                                      For the Debtors


                                      By:__________________________
                                           _________________
                                      Name: Ivona Smith
                                      Title: Director, The Weinstein Company
                                             Holdings, LLC


                                      The Weinstein Company Holdings LLC,
                                      a Delaware Limited Liability Company

                                      The Weinstein Company LLC,
                                      a Delaware Limited Liability Company

                                      Avenging Eagle SPV, LLC,
                                      a Delaware Limited Liability Company

                                      Branded Partners LLC,
                                      a Delaware Limited Liability Company

                                      Check Hook LLC,
                                      a Delaware Limited Liability Company

                                      CTHD 2 LLC,
                                      a Delaware Limited Liability Company

                                      Cues TWC (ASCAP), LLC,
                                      a Delaware Limited Liability Company

                                      Current War SPV, LLC,
                                      a Delaware Limited Liability Company

                                      DRT Films, LLC,
                                      a Delaware Limited Liability Company

                                      DRT Rights Management LLC,
                                      a Delaware Limited Liability Company

                                      FFPAD, LLC,
                                      a Delaware Limited Liability Company




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                                      HRK Films, LLC,
                                      a Delaware Limited Liability Company

                                      InDirections LLC,
                                      a Delaware Limited Liability Company

                                      InteliPartners LLC,
                                      a Delaware Limited Liability Company

                                      ISED, LLC,
                                      a Delaware Limited Liability Company

                                      MarcoTwo, LLC,
                                      a Delaware Limited Liability Company

                                      One Chance LLC,
                                      a Delaware Limited Liability Company

                                      PA Entity 2017, LLC,
                                      a Delaware Limited Liability Company

                                      Paddington 2, LLC,
                                      a Delaware Limited Liability Company

                                      PS Post LLC,
                                      a Delaware Limited Liability Company

                                      Scream 2 TC Borrower, LLC,
                                      a Delaware Limited Liability Company

                                      Small Screen Productions LLC,
                                      a Delaware Limited Liability Company

                                      Small Screen Trades LLC,
                                      a Delaware Limited Liability Company

                                      Spy Kids TV Borrower, LLC,
                                      a Delaware Limited Liability Company

                                      Team Players LLC,
                                      a Delaware Limited Liability Company

                                      The Actors Group LLC,
                                      a Delaware Limited Liability Company




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                                      The Giver SPV, LLC,
                                      a Delaware Limited Liability Company

                                      Tulip Fever LLC,
                                      a Delaware Limited Liability Company

                                      TWC Borrower 2016, LLC,
                                      a Delaware Limited Liability Company

                                      TWC Domestic LLC,
                                      a Delaware Limited Liability Company

                                      TWC Fearless Borrower, LLC,
                                      a Delaware Limited Liability Company

                                      TWC Library Songs (BMI), LLC,
                                      a Delaware Limited Liability Company

                                      TWC Loop LLC,
                                      a Delaware Limited Liability Company

                                      TWC Mist, LLC,
                                      a Delaware Limited Liability Company

                                      TWC Polaroid SPV, LLC,
                                      a Delaware Limited Liability Company

                                      TWC Production-Acquisition Borrower
                                      2016, LLC,
                                      a Delaware Limited Liability Company

                                      TWC Production, LLC,
                                      a Delaware Limited Liability Company

                                      TWC Replenish Borrower, LLC,
                                      a Delaware Limited Liability Company

                                      TWC Short Films, LLC,
                                      a Delaware Limited Liability Company

                                      TWC Untouchable SPV, LLC,
                                      a Delaware Limited Liability Company

                                      TWC Waco SPV, LLC,
                                      a Delaware Limited Liability Company




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                                      Twenty O Five Holdings, LLC,
                                      a Delaware Limited Liability Company

                                      W Acquisition Company LLC,
                                      a Delaware Limited Liability Company

                                      WC Film Completions, LLC,
                                      a Delaware Limited Liability Company

                                      Weinstein Books, LLC,
                                      a Delaware Limited Liability Company

                                      Weinstein Development LLC,
                                      a Delaware Limited Liability Company

                                      Weinstein Global Funding Corp.,
                                      a Delaware Corporation

                                      Weinstein Global Film Corp.,
                                      a Delaware Corporation

                                      Weinstein Productions LLC,
                                      a Delaware Limited Liability Company

                                      Weinstein Television LLC,
                                      a Delaware Limited Liability Company

                                      WTV Guantanamo SPV, LLC,
                                      a Delaware Limited Liability Company

                                      WTV JCP Borrower 2017, LLC,
                                      a Delaware Limited Liability Company

                                      WTV Kalief Browder Borrower, LLC,
                                      a Delaware Limited Liability Company

                                      WTV Scream 3 SPV, LLC,
                                      a Delaware Limited Liability Company

                                      WTV Yellowstone SPV, LLC,
                                      a Delaware Limited Liability Company




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   Counsel to the Debtors

    By: ________________________________
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   Paul H. Zumbro (admitted pro hac vice) 
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   Facsimile: (212) 474-3700
           DQG

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   Paul N. Heath (No. 3704)
   Zachary I. Shapiro (No. 5103)
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   Facsimile: (302) 651-7701




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                                       EXHIBITS

      Exhibit 1:    Definitions

      Exhibit 2:    List of Debtors

      Exhibit 3:    Plan Support Agreement

      Exhibit 4:    Sexual Misconduct Claims Fund Procedures


                                      SCHEDULES

      Schedule 1:   Released Professionals

      Schedule 2:   Insurance Companies’ Funding Amounts




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                                              EXHIBIT 1

                                            DEFINITIONS

        In addition to other words and terms defined elsewhere in the Plan Documents, the terms
 below shall have the respective meanings specified below:

         1.1      Additional Insured: To the extent permissible by law: (i) the Debtors’
 predecessors, all of each Debtor’s past and present subsidiaries and the predecessors and
 successors of such subsidiaries, their past and present affiliates and joint ventures and their
 predecessors and successors, and all of their past, present and future assigns; (ii) any other current
 or former affiliate of the Debtors, including any corporations that have been acquired by, merged
 into or combined with the Debtors, their predecessors, or past and present subsidiaries, affiliates
 successors and assigns; and (iii) any and all entities named as insureds or other insureds whether
 specifically listed or listed under a special endorsement, or that are otherwise named or claimed to
 be insured under the Insurance Policies, and those entities’ directors, officers, agents and
 employees.

         1.2     Administrative Expense Claim: Any (i) cost or expense of administration of the
 Chapter 11 Cases under section 503(b) of the Bankruptcy Code including, but not limited to:
 (a) any actual and necessary postpetition cost or expense of preserving the Estates or operating the
 businesses of the Debtors; (b) any payment to be made under the Plan, as the case may be, to cure
 a default on an assumed executory contract or unexpired lease; (c) any postpetition cost,
 indebtedness or contractual obligation duly and validly incurred or assumed by one or more of the
 Debtors in the ordinary course of business; (d) any valid and allowed reclamation claims in
 accordance with section 546(c) of the Bankruptcy Code; (e) compensation or reimbursement of
 expenses of professionals to the extent allowed by the Bankruptcy Court under sections 328,
 330(a) or 331 of the Bankruptcy Code; (f) any Claim for compensation or reimbursement of
 expenses relating to services rendered in making a substantial contribution in the Chapter 11 Cases
 under sections 503(b)(3), (4) or (5) of the Bankruptcy Code; (g) all Claims for adequate protection
 payments authorized in connection with any debtor-in-possession credit facility; and
 (h) Section 503(b)(9) Claims; and (ii) any United States Trustee fee or charge assessed against any
 of the Estates under 28 U.S.C. § 1930.

         1.3     Affiliate: As to any specified Entity: (i) any other Entity that, directly or indirectly
 through one or more intermediaries or otherwise, controls, is controlled by, or is under common
 control with, the specified Entity, and (ii) any Entity that is an “affiliate” (within the meaning of
 Bankruptcy Code § 101(2)) of the specified Entity. As used in clause (i) of this definition,
 “control” shall include the possession, directly or indirectly, of the power to direct or cause the
 direction of the management or policies of an Entity (whether through ownership of equity of that
 Entity, by contract, or otherwise).

        1.4    Allianz Insurance Companies: The American Insurance Company and Fireman’s
 Fund Insurance Company and each of their respective affiliates and successors.




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          1.5    Allowed: With respect to any Claim other than an Administrative Expense Claim,
 a Disputed Claim or a Sexual Misconduct Claim, (i) any Claim that is specifically designated as
 Allowed under the Plan, (ii) any Claim proof of which was timely filed with the Bankruptcy Court
 or its duly appointed claims agent, or, in compliance with any order of the Bankruptcy Court
 regarding the filing of a proof of claim, with respect to which either no objection to the allowance
 thereof has been filed within the applicable period of limitation fixed by either the Plan or
 Bankruptcy Code, the Bankruptcy Rules or the Bankruptcy Court, or the Claim has been allowed
 by a Final Order (but only to the extent so allowed), or (iii) any Claim that has been, or hereafter
 is, listed in the schedules as liquidated in amount and not disputed or contingent; provided,
 however, that notwithstanding the foregoing, with respect to a Sexual Misconduct Claim, the
 Sexual Misconduct Claims Fund Procedures shall govern the determination as to whether or not
 such Claims constitute Allowed Claims for purposes of Distribution under the Plan, but not for
 purposes of voting on the Plan. Allowed Claims shall not, for purposes of Distribution under the
 Plan, include: (a) for any Claim arising prior to the Petition Date, interest on such Claim accruing
 from or after the Petition Date; or (b) any Non-Compensatory Damages.

         With respect to any Claim that is asserted to constitute an Administrative Expense Claim,
 (i) a Claim that represents an actual and necessary expense of preserving the Estate or operating
 the business of the Debtors, to the extent such Claim is determined by the Debtors to constitute an
 Administrative Expense Claim; (ii) other than with respect to a Claim of a Bankruptcy
 Professional, a Claim that has been Allowed in whole or in part by a Final Order of the Bankruptcy
 Court and only to the extent that such allowed portion is determined pursuant to a Final Order to
 constitute a cost or expense of administration under sections 503(b) and 507(a)(1) of the
 Bankruptcy Code; or (iii) that represents a Claim of a Bankruptcy Professional, to the extent such
 Claim is allowed by a Final Order of the Bankruptcy Court under section 330 of the Bankruptcy
 Code.

          1.6    Assets: (i) All real or personal property of the Debtors (including as debtors in
 possession) of any nature, including, without limitation, any Cash, real property, leases, subleases,
 licenses, goods, materials, supplies, furniture, fixtures, equipment, works in process, accounts
 receivable, tax refunds, chattel paper, deposit accounts, reserves, deposits, contractual rights,
 intellectual property rights, claims, Causes of Action (including Avoidance Actions), and any other
 general intangibles of any nature whatsoever, including, without limitation, “property of the estate”
 pursuant to section 541 of the Bankruptcy Code; and (ii) proceeds, products, rents and profits of
 all of the foregoing.

         1.7     Avoidance Actions: Any and all pending or possible actions, proceedings,
 accounts, controversies, agreements, promises, claims and rights of each Debtor and its Estate to
 (i) avoid or recover a transfer of property of any of the Debtors’ Estates or an interest of any of the
 Debtors in property or (ii) subordinate any Claim against or Interest in any of the Debtors,
 including, without limitation, actions arising under sections 502(d), 510, 542, 543, 544, 545, 547,
 548, 549, 550, 551 and 553 of the Bankruptcy Code, or under related state or federal statutes and
 common law, whether or not litigation has been commenced with respect to such cause of action
 as of the Effective Date.

         1.8     Ballot: A ballot approved by the Bankruptcy Court in the Chapter 11 Cases to be
 distributed to Holders of impaired Claims, for acceptance or rejection of the Plan.


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        1.9     Bankruptcy Code: Title 11 of the United States Code.

         1.10 Bankruptcy Court: The United States Bankruptcy Court for the District of
 Delaware, or any other court having jurisdiction over these Chapter 11 Cases or any proceeding
 within, or appeal of an order entered in, these Chapter 11 Cases.

        1.11 Bankruptcy Injunctions: The Plan Injunction provided for in Section 7.3 of the
 Plan and the Channeling Injunction provided for in Section 5.8 of the Plan.

        1.12 Bankruptcy Professional: Any Entity (i) employed pursuant to an order of the
 Bankruptcy Court in accordance with sections 327 or 1103 of the Bankruptcy Code and to be
 compensated for services pursuant to sections 327, 328, 329, 330 and/or 331 of the Bankruptcy
 Code, or (ii) who wishes to apply to the Bankruptcy Court for compensation and reimbursement
 of expenses pursuant to section 503(b)(4) of the Bankruptcy Code.

        1.13 Bankruptcy Rules: The Federal Rules of Bankruptcy Procedure, as amended, as
 applicable to the Chapter 11 Cases, including the local rules of the Bankruptcy Court.

         1.14 Bar Date(s): The date(s) fixed by order(s) of the Bankruptcy Court by which
 Entities required by such order to file a proof of claim must file a proof of claim or be forever
 barred from asserting such Claim against the Debtors or their property and from voting on the Plan
 and/or sharing in distributions hereunder.

         1.15 Business Day: Any day other than Saturday, Sunday, or a “legal holiday,” as such
 term is defined in Bankruptcy Rule 9006(a).

         1.16 Cash: United States currency, a check drawn on a U.S. domestic bank, or a wire
 transfer of funds.

       1.17 Cash Reserves: The Contingent Claims Cash Reserve and the Disputed Claims
 Cash Reserve.

         1.18 Causes of Action: Any claim (other than the Claims against the Debtors), cause
 of action, controversy, demand, agreement, right (including to legal or equitable remedies), action,
 lien, indemnity, guaranty, suit, obligation, liability, damage, judgment, account, defense, offset,
 power, privilege, license, and/or franchise of any kind or character whatsoever, known, unknown,
 contingent or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or
 unliquidated, disputed or undisputed, secured or unsecured, assertable directly or derivatively,
 whether arising before, on, or after the Petition Date, in contract or in tort, in law or in equity, or
 pursuant to any other theory of law. A Cause of Action also includes without limitation: (a) any
 right of setoff, counterclaim, or recoupment and/or any claim on contracts or for breaches of duties
 imposed by law or in equity; (b) the right to object to Claims or Interests; (c) any claim pursuant
 to section 362 or chapter 5 of the Bankruptcy Code; (d) any claim or defense including fraud,
 mistake, duress, and usury, and any other defenses set forth in section 558 of the Bankruptcy Code;
 and (e) any Avoidance Action.




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        1.19 Channeling Injunction: The permanent injunction provided for in Section 5.8 of
 the Plan and to be issued pursuant to the Confirmation Order with respect to Sexual Misconduct
 Claims.

        1.20 Chapter 11 Cases: The jointly administered cases under the Bankruptcy Code,
 presently pending in the Bankruptcy Court and captioned In re Weinstein Company Holdings,
 LLC, Case No. 18-10601.

        1.21 Chubb Insurance Companies: Federal Insurance Company; Great Northern
 Insurance Company; Westchester Fire Insurance Company; Pacific Indemnity Company; Chubb
 Indemnity Insurance Company; Executive Risk Indemnity Inc.; Chubb National Insurance
 Company; and ACE American Insurance Company and each of their respective affiliates and
 successors.

         1.22 Claim: Shall include, without limitation, any and all past, present or future claims,
 cross-claims, counterclaims, third-party claims, contribution claims, indemnification claims,
 rights, causes of action, orders, liabilities, notices of liability or potential liability, arbitrations,
 actions, suits, damages, demands, disputes, obligations, judgments, duties, defenses, liens,
 administrative proceedings, costs, expenses, attorneys’ (and other) fees, matters, requests or
 proceedings of any kind or nature whatsoever and any claim within the definition of “claim” in
 section 101(5) of the Bankruptcy Code, in each case that arise from facts or circumstances that
 took place in whole or in part on or after June 30, 2005, regardless of where arising or where
 brought, whether at law, equity, contract, statute, or otherwise direct, indirect, or derivative, known
 or unknown, actual or alleged, asserted or not asserted, suspected or unsuspected, anticipated or
 unanticipated, fixed or contingent, liquidated or unliquidated, matured or unmatured, disputed or
 undisputed, domestic or foreign, disclosed or undisclosed, accrued or unaccrued, apparent or
 unapparent, existing under any federal, state, local, foreign, tribal, common law, ordinance, statute
 or regulation, which has been, could have been, or may be asserted by or on behalf of any person
 or entity against the Debtors, their predecessors, successors, assigns, or any current or former
 Affiliate of any of the foregoing, or any other Released Party or Harvey Weinstein, whether
 seeking damages (including compensatory, punitive or exemplary damages and all other potential
 elements of recovery or relief) or equitable, mandatory, injunctive, or any other type of relief,
 irrespective of the expiration of any applicable statute of limitations.

        1.23 Class: A category of Claims or Interests pursuant to a Plan, as such term is used
 and described in section 1122 of the Bankruptcy Code.

         1.24 Class . . . Claim / Interest: The specific Class into which Claims or Interests are
                       --
 classified pursuant to the Plan.

       1.25 Committee: The Official Committee of Unsecured Creditors appointed in the
 Chapter 11 Cases.

         1.26 Confirmation: Approval of the Plan by the Bankruptcy Court, pursuant to
 section 1129 of the Bankruptcy Code.

        1.27 Confirmation Date: The date on which the clerk of the Bankruptcy Court enters
 the Confirmation Order on the docket.


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        1.28 Confirmation Hearing: The hearing to be held before the Bankruptcy Court by
 which the Plan Proponents will seek Confirmation of the Plan.

         1.29 Confirmation Order: The order entered by the Bankruptcy Court confirming the
 Plan in accordance with the provisions of chapter 11 of the Bankruptcy Code, which will contain
 the Channeling Injunction and Releases.

        1.30 Contingent Claims: A Claim that is a contingent and/or unliquidated Claim.
 Contingent Claims shall not include Sexual Misconduct Claims.

         1.31 Contingent Claims Cash Reserve: The Cash deposited by the Liquidation
 Trustee in one or more segregated accounts on the Effective Date, which amount shall be the good
 faith estimate of the total Distributions to be made on account of all Contingent Claims against the
 Debtors as of such date. The Debtors or the TWC Liquidation Trustee, as applicable, shall seek
 Bankruptcy Court approval of such Contingent Claims Cash Reserve on the Effective Date or as
 soon thereafter as practicable.

         1.32 Contract and Commercial Cases: Includes, without limitation, (i) Donald P.
 Borchers v. The Weinstein Company, LLC, et al., Case No. 2: 17-cv-6263 (C.D. Cal.); (ii) Lesia
 Anson v. Harvey Weinstein et al., Case No. 2: 17-cv-08360 (C.D. Cal.); (iii) Terence Williams v.
 Bob Weinstein, et al., Case No. 2: 18-cv-10776 (E.D. Mich.); (iv) Tensor Law P.C. v. Harvey
 Weinstein et al., Case No. SC128650 (L.A. Super. Ct.); (v) EMJAG Productions, Inc., et al. v. The
 Weinstein Company LLC, Case No. BC 685511 (L.A. Super. Ct.); (vi) AI International Holdings
 (BVI), Limited v. Harvey Weinstein et al., Case No. 656864-2017E (N.Y. Sup. Ct.);
 (vii) Entertainment One Films Canada, Inc. v. Weinstein Global Film Corp. et al., Case No.
 BC692352 (L.A. Super. Ct.); (viii) Brad Weston et al. v. The Weinstein Company, Case No.
 BC679011 (L.A. Super. Ct.); (ix) Frank Gil v. Weinstein Live Entertainment LLC, et al., Case No.
 653555/2019 (N.Y. Sup. Ct.); and (x) Sartraco et al v. Robert Weinstein, et al., Case No. 19
 cv- 00448 (Cal. Super. Ct.).

         1.33 Contract and Commercial Claim(s): Any Claim arising from, connected to or
 related to the Contract and Commercial Cases.

        1.34    Creditor: A “creditor,” as defined in section 101(10) of the Bankruptcy Code.

         1.35 Debtors: The Weinstein Company Holdings LLC and fifty-four (54) affiliated
 companies. A table identifying each Debtor, its chapter 11 bankruptcy case number, and the last
 four digits of its federal tax identification number is provided in Exhibit 2 of the Plan.

        1.36 Disclosure Statement: The Disclosure Statement dated November 17, 2020, filed
 under section 1125 of the Bankruptcy Code in the Chapter 11 Cases with respect to the Plan, as it
 may be amended, modified, or supplemented from time to time.

          1.37 Disputed Claim: A Claim which has been (i) “scheduled” as disputed or
 (ii) subject to an objection filed within the applicable period of limitation fixed by either the Plan
 or the Bankruptcy Code, the Bankruptcy Rules or the Bankruptcy Court; provided, however,
 regardless of whether an objection has been filed to such Claims, all Sexual Misconduct Claims
 shall be excluded from the definition of Disputed Claim.


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         1.38 Disputed Claims Cash Reserve: The Cash deposited by the Liquidation Trustee
 or in one or more segregated accounts on the Effective Date which amount shall be the good faith
 estimate of the total Distributions to be made on account of all Disputed Claims, determined by
 the Liquidation Trustee.

        1.39 Distributable Cash: All Liquidation Trust Assets reduced to Cash net of all
 expenses and costs of operating or effectuating the duties of the Liquidating Trust and establishing
 any reserves as the Liquidation Trustee may determine is necessary pursuant to the terms of this
 Plan and the Liquidation Trust Agreement.

        1.40 Distribution(s): The payment or distribution under the Plan of property or interests
 in property of the Debtors to the Holders of Allowed Claims, to the Liquidation Trust, and to the
 Sexual Misconduct Claims Fund, as applicable.

        1.41 Effective Date: The first Business Day after the date on which all of the conditions
 precedent to the effectiveness of the Plan have been satisfied or waived in accordance with the
 terms of the Plan, or, if a stay of the Confirmation Order is in effect on such date, the first Business
 Day after the expiration, dissolution, or lifting of such stay.

        1.42 Entity: Any person, individual, corporation, partnership, firm, limited liability
 company, association, joint stock company, joint venture, estate, trust, business trust,
 unincorporated organization, government or any political subdivision thereof, the United States
 Trustee, or other person or entity.

        1.43 Estate: As to each Debtor, the estate created for such Debtor under section 541 of
 the Bankruptcy Code upon the commencement of its Chapter 11 Case.

         1.44 Exculpated Parties: Each of (i) the Debtors, and any of their respective successors
 or assigns, and any of their Representatives; and (ii) the Committee, its members and any of their
 respective Representatives.

       1.45 File, Filed, or Filing: Shall mean, respectively, file, filed, or filing with the
 Bankruptcy Court or its authorized designee in these Chapter 11 Cases.

         1.46 Final Order: An order of a court: (i) as to which the time to appeal, petition for
 writ of certiorari, or otherwise seek appellate review or to move for reargument, rehearing or
 reconsideration has expired and as to which no appeal, petition for writ of certiorari, or other
 appellate review, or proceedings for reargument, rehearing or reconsideration shall then be
 pending; or (ii) in the event that an appeal, writ of certiorari, or other appellate review or
 reargument, rehearing or reconsideration thereof has been sought, such order shall have been
 affirmed by the highest court to which such order was appealed from which writ of certiorari or
 other appellate review or reargument, rehearing or reconsideration was sought, and the time to take
 any further appeal, to petition for writ of certiorari, to otherwise seek appellate review, and to move
 for reargument, rehearing or reconsideration shall have expired or such appeal has been withdrawn
 with prejudice; provided, however, that the possibility that a motion under Rule 59 or Rule 60 of
 the Federal Rules of Civil Procedure, or any analogous rule under the Bankruptcy Rules or
 applicable state court rules of civil procedure, may be Filed with respect to such order shall not
 cause such order not to be a Final Order.


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         1.47 Foreign Court Approval Orders: Those orders of any courts of the United
 Kingdom, Ireland and Canada necessary to aid the implementation of the Channeling Injunction
 in the United Kingdom, Canada and Ireland (to the extent determined by certain of the Settlement
 Parties that such orders are necessary), which orders shall be Final Orders that are reasonably
 satisfactory to the Settlement Parties seeking such orders.

       1.48 Former Representatives: Robert Weinstein, Tarak Ben Ammar, James Dolan,
 Frank Gil, David Glasser, Richard Koenigsberg, Marc Lasry, Lance Maerov, Jeff Sackman,
 Tim Sarnoff, Barbara Schneeweiss, Paul Tudor Jones, and Dirk Ziff. The definition of Former
 Representatives does not include Harvey Weinstein.

        1.49 Former Representatives Defense Costs: The $9,743,052.00 to be paid by the
 Insurance Companies for the Former Representatives costs in connection with the defense of the
 applicable cases.

         1.50 General Unsecured Claim: An unsecured Claim against any Debtor and any
 claims in connection with the rejection or termination of executory contracts and unexpired leases,
 but excluding any Administrative Expense Claims, Priority Claims, Secured Claims, Sexual
 Misconduct Claims, Other Tort Claims, Intercompany Claims, and Interests.

         1.51 Global Escrow Agent: Epiq Class Action & Claims Solutions, Inc. in its role
 distributing the Settlement Amount in accordance with the terms of the Plan.

        1.52    Holder: The holder of a Claim against the Debtors or the Holder of an Interest in
 the Debtors.

        1.53 Impaired: When used in reference to a Claim or Interest, a Claim or Interest that
 is impaired within the meaning of section 1124 of the Bankruptcy Code.

       1.54 Initial Administrative Claims Bar Date: February 15, 2019, the filing deadline
 for Administrative Expense Claims that existed from the Petition Date through December 31,
 2018.

        1.55 Initial Bar Date Order: Order (I) Establishing Deadlines for Filing Proofs of
 Claim, (II) Establishing Deadlines for Filing Requests for Payment of Postpetition Administrative
 Expenses, (III) Approving Form and Notice Thereof, and (IV) Granting Related Relief of the
 Bankruptcy Court entered on December 27, 2018 (Dkt. No. 1890).

         1.56 Insurance Companies: Shall mean National Union Fire Insurance Company of
 Pittsburgh, Pa.; The American Insurance Company; Fireman’s Fund Insurance Company; Federal
 Insurance Company; Great Northern Insurance Company; Westchester Fire Insurance Company;
 Pacific Indemnity Company; Chubb Indemnity Insurance Company; Executive Risk Indemnity
 Inc.; Chubb National Insurance Company; ACE American Insurance Company, on behalf of
 themselves and their subsidiaries, Affiliates, parents, predecessors, or successors and (ii) any other
 insurance company, reinsurer, insurance broker or syndicate insurance broker, guaranty
 association, liquidator, or any other Entity with actual or potential obligation or liability to the
 Debtors based on any insurance policy issued to the Debtors; provided, however, Insurance
 Companies shall not include AIG Europe Limited and AIG Europe SA.


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        1.57    Insurance Policies: Any insurance policy issued by an Insurance Company.

        1.58    Intercompany Claim: Any Claim by a Debtor against another Debtor.

         1.59 Interest: The interest, as that term is defined in section 101(17) of the Bankruptcy
 Code, of any Entity who holds an equity security in the Debtors no matter how held, including,
 but not limited to, issued and outstanding shares of common stock, preferred stock, stock options,
 warrants, membership interests, or other evidence of interests in securities of the Debtors.

        1.60 Internal Revenue Code: The Internal Revenue Code of 1986, as amended, and
 any applicable rulings, regulations (including temporary and proposed regulations) promulgated
 thereunder, judicial decisions, and notices, announcements, and other releases of the United States
 Treasury Department or the IRS.

        1.61    IRS: The United States of America’s Internal Revenue Service.

        1.62 Judd Case: The case commenced by Ashley Judd in the Central District of
 California, captioned Ashley Judd v. Harvey Weinstein, Case No. 2:18-cv-05724.

        1.63    Lien: A “lien” as defined in section 101(37) of the Bankruptcy Code.

       1.64 Liquidated Value: The dollar value of the Point Award for an Allowed Sexual
 Misconduct Claim as determined in accordance with the Sexual Misconduct Claims Fund
 Procedures.

        1.65 Liquidation Trust: The Liquidation trust established by Section 6 of the Plan
 pursuant to section 105(a) of the Bankruptcy Code and the Liquidation Trust Agreement.

         1.66 Liquidation Trust Agreement: The trust agreement establishing and delineating
 the terms and conditions of the Liquidation Trust.

        1.67 Liquidation Trust Assets: The Liquidation Trust Settlement Payment and all
 other Assets of the Estates.

        1.68 Liquidation Trust Beneficiaries: The Holders of Allowed Claims against the
 Debtors under the Plan, but not including the Holders of Sexual Misconduct Claims.

         1.69 Liquidation Trust Documents: The Liquidation Trust Agreement and all
 documents, attachments and exhibits thereto, and any amendments thereto made in accordance
 with the Bankruptcy Code, and which aid in effectuating the Liquidation Trust, which documents,
 attachments, and exhibits shall be filed with the Bankruptcy Court.

         1.70 Liquidation Trust Expense Reserve: The reserve established pursuant to the Plan
 by the Liquidation Trustee to hold funds as are reasonably necessary for the Liquidation Trust to
 satisfy the expenses of administering the Liquidation Trust, including, without limitation, the
 winding down and closing of the Debtors’ Chapter 11 Cases, the Liquidation Trustee’s reasonable
 professional fees and expenses in respect of the claims reconciliation process, the liquidation of



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 Liquidation Trust Assets, the prosecution, negotiation and settlement of any causes of action with
 respect thereto, and the making of Distributions by the Liquidation Trustee under the Plan.

         1.71 Liquidation Trust Settlement Payment: The sum of $8,407,305.00 to be paid by
 the Insurance Companies to the Liquidation Trust in accordance with the terms of the Plan.

        1.72 Liquidation Trustee: The individual initially selected by the trade claimant
 members of the Committee to act as trustee of the Liquidation Trust pursuant to the terms of the
 Liquidation Trust Documents to administer the Liquidation Trust, and any successors thereto.

        1.73 McGowan Case: The case commenced by Rose McGowan in the Central District
 of California captioned Rose McGowan v. Harvey Weinstein et. al., Case No.
 2:19-cv-09105-ODW-GJS.

        1.74 Non-Compensatory Damages: Any and all damages awarded by a court of
 competent jurisdiction that are penal or exemplary in nature, including, without limitation, any
 fine, penalty, forfeiture, attorneys’ fees (to the extent such attorneys’ fees are punitive or
 exemplary in nature), or multiple, punitive, exemplary, vindictive, imaginary, or presumptive
 damages based upon, arising from, or relating to any cause of action whatsoever (including,
 without limitation, violation of law, personal injury, or wrongful death, whether secured or
 unsecured, liquidated or unliquidated, fixed or contingent, matured or unmatured, known or
 unknown, foresee or unforeseen, then existing or thereafter arising in law, equity or otherwise).

        1.75 Non-Debtor Additional Affiliates: The Debtors’ former non-debtor affiliates,
 including Scary Movie 4 LLC; Derailed SPV, LLC; Mrs. Henderson Presents SPV, LLC; The
 Matador SPV, LLC; Breaking and Entering SPV, LLC; Come Drink With Me SPV, LLC; SPV
 Film Distribution LLC; Butler Films LLC; Kristy Films LLC; and TWC Gold SPV, LLC.

       1.76 Non-Debtor Affiliates: The Debtors’ non-debtor affiliates, including The
 Weinstein Company (UK) Ltd.; Tulip Fever Films Limited; Current Films UK Limited; and
 MarcoThree, LLC.

         1.77 Non-Debtor Entities: All companies (other than the Debtors) that Harvey
 Weinstein was employed by, worked for, or held a position as an officer or director of between
 January 1, 1979 and October 1, 2017, as well as each of their parents, subsidiaries and Affiliates
 (including, without limitation, The Walt Disney Company, Disney Enterprises, Inc., Buena Vista
 International, Inc., Miramax, LLC, Miramax Film Corporation and Miramax Film NY, LLC), or
 any of their respective equity holders or members, any of their Affiliates or any other independent
 contractor, current or former members of the board of representatives of the Non-Debtor Entities;
 provided, however, that Non-Debtor Entities shall not include (a) the Four Seasons Hotel Limited
 and Burton Way Hotels LLC, defendants in Paz De La Huerta v. Harvey Weinstein et. al., Case
 No. 19-cv-02183 (C.D. Cal.)) or (b) the Four Seasons Hotel Limited, Burton Way Hotels LLC and
 Burton Way Hotels Ltd., defendants in Paz De La Huerta v. Harvey Weinstein et. al., Case No.
 18SCTV04723 (L.A. Sup. Ct.).

         1.78 Non-Released Claim: A Claim against a Non-Released Party for which a full
 release is not given to such Non-Released Party under the terms of the Plan, including Sexual



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 Misconduct Claims against Harvey Weinstein held by Holders of Sexual Misconduct Claims who
 do not affirmatively elect to release Harvey Weinstein.

        1.79    Non-Released Party: See Section 1.99 below.

        1.80    NYOAG: The Office of the New York Attorney General.

         1.81 NYOAG Lawsuit: The lawsuit filed by the NYOAG in the Supreme Court of the
 State of New York, County of New York on behalf of the People of the State of New York in Case
 No. 0450293/2018 (N.Y. Sup. Ct.).

         1.82 Opt-In GUCs: General Unsecured Claims held by Holders of such Claims who
 vote in favor of the Plan and do not affirmatively opt out of the Third-Party Releases.

         1.83 Opt-Out GUCs: General Unsecured Claims held by Holders of such Claims who
 (i) vote in favor of the Plan, but affirmatively opt out of the Third-Party Releases; (ii) vote against
 the Plan; or (iii) fail to return a ballot.

        1.84    Other Priority Claim: A Priority Claim other than a Priority Tax Claim.

        1.85    Other Tort Claim: A Tort Claim that is not a Sexual Misconduct Claim.

        1.86 Permissible Investments: (a) short-term direct obligations of, or obligations
 guaranteed by, the United States of America, (b) short-term obligations of any agency or
 corporation which is or may hereafter be created by or pursuant to an act of the Congress of the
 United States as an agency or instrumentality thereof, (c) demand deposits or certificates of deposit
 at any bank or trust company, which has, at the time of the deposit, a capital stock and surplus
 aggregating at least $1,000,000,000, or (d) such other investments as the Bankruptcy Court may
 approve from time to time.

       1.87 Petition Date: March 19, 2018, the date on which the Debtors commenced their
 Chapter 11 Cases in the Bankruptcy Court.

         1.88 Plan Documents: The Plan, including all exhibits annexed thereto and made a part
 hereof, the Disclosure Statement, the Plan Supplement, and all documents, attachments and
 exhibits thereto, including, but not limited to, the Plan Support Agreement, the Liquidation Trust
 Documents, the Sexual Misconduct Claims Fund Procedures and any amendments thereto made
 in accordance with the Bankruptcy Code, and which aid in effectuating the Plan, which documents,
 attachments, and exhibits shall be filed with the Bankruptcy Court.

        1.89    Plan Injunction: The injunction issued pursuant to Section 7.3 of the Plan.

        1.90    Plan Proponents: The Debtors and the Committee.

        1.91    Plan Releases: The releases specified in Section 7.2 of the Plan.




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         1.92 Plan Supplement: The compilation of documents or forms of documents specified
 in the Plan, including, without limitation, any exhibits to the Plan not included herewith, each in
 form and substance acceptable to the Debtors.

       1.93 Plan Support Agreement: The agreement executed by the Settlement Parties on
 October 19, 2020 and attached hereto as Exhibit 3.

        1.94 Point Award: The number of points awarded pursuant to the Sexual Misconduct
 Claims Fund Procedures to a Holder of a Sexual Misconduct Claim on account of an Allowed
 Sexual Misconduct Claim.

         1.95 Priority Claim: Any Claim against a Debtor to the extent such claim is entitled to
 priority in right of payment under section 507(a) of the Bankruptcy Code, other than an
 Administrative Expense Claim.

        1.96 Priority Tax Claim: A Claim against the Estates entitled to priority under section
 507(a)(8) of the Bankruptcy Code.

         1.97 Pro Rata: The proportion that the Allowed Claim or Interest in a particular Class
 bears to the aggregate amount of (a) Allowed Claims or Allowed Interests in such Class as of the
 date of determination, plus (b) Disputed Claims or Disputed Interests in such Class as of the date
 of determination, in their aggregate face amounts or such other amount: (i) as calculated by the
 Debtors, the Liquidation Trustee, or the Sexual Misconduct Claims Examiner (as applicable) on
 or before the date of any such Distribution, (ii) as determined by an Order of the Bankruptcy Court
 estimating such Disputed Claim, or (iii) as directed by a Final Order of the Bankruptcy Court.

        1.98 Professional Fee Claim: A claim under sections 326, 327, 328, 330, 331, 503(b),
 1103, or 1104 of the Bankruptcy Code for compensation for services rendered or reimbursement
 for expenses incurred by any of the Bankruptcy Professionals.

         1.99 Released Party(ies): (i) the Debtors, the Estates, Non-Debtor Affiliates, Non-
 Debtor Additional Affiliates, the Former Representatives and the Insurance Companies; (ii)
 professionals of firms specified in Schedule 1 to the Plan; and (iii) each such persons’ or entities’
 current and former officers, directors and board representatives, predecessors, successors, assigns,
 insiders, subsidiaries, Affiliates, principals, equity holders, members, trustees, partners, managers,
 employees, agents, members of any boards or similar bodies of such persons, advisory board
 members, insurers, reinsurers, and such persons’ respective heirs, executors, estates, and
 nominees, in each case as applicable and in their capacity as such, with respect to liability for the
 actions or inactions of the Former Representatives, the Debtors, the Estates, Non-Debtor Affiliates,
 Non-Debtor Additional Affiliates, or the Insurance Companies; provided, however, those persons
 or entities who fall within subparagraph (iii) (other than persons or entities specified in
 subparagraphs (i) and (ii)) are not released with respect to their own actions related to Sexual
 Misconduct Claims, regardless of their relationship with the Former Representatives, the Debtors,
 the Estates, Non-Debtor Affiliates, Non-Debtor Additional Affiliates, or the Insurance Companies,




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 to the extent such action constitutes aiding, abetting or conspiracy to prevent the disclosure of or
 to cover up any Sexual Misconduct Claim (each a “Non-Released Party”).1

         1.100 Releasing Party(ies): The Debtors, the Estates, the Non-Debtor Affiliates, the
 Former Representatives, the UCC, the Insurance Companies, and all Holders of Claims and
 Interests (except, solely as it relates to parties other than the Debtors, Holders of Opt-Out GUCs).

        1.101 Releases: The releases provided for in Section 7.2 of the Plan, including its
 subparagraphs.

         1.102 Representative: With respect to any Entity, the present and former directors,
 officers, members, managers, employees, trustees, accountants (including independent certified
 public accountants), advisors, attorneys, consultants, experts or other agents of that Entity, or any
 other professionals of that Entity, in each case in their capacity as such.

        1.103 Section 503(b)(9) Claims: Claims arising under section 503(b)(9) of the
 Bankruptcy Code for the value of any goods received by Debtors within twenty (20) days before
 the commencement of the Chapter 11 Cases in which the goods have been sold to Debtors in the
 ordinary course of Debtors’ business.

         1.104 Secured Claim: Pursuant to section 506 of the Bankruptcy Code, that portion of
 a Claim that is secured by a Lien against property in which an Estate has an interest or that is
 subject to setoff under section 553 of the Bankruptcy Code. A Claim is a Secured Claim only to
 the extent of the value of the claimholder’s interest in the collateral securing the Claim or to the
 extent of the amount subject to setoff, whichever is applicable, and as determined under section
 506(a) of the Bankruptcy Code.

        1.105 Secured Tax Claim: A Priority Tax Claim that, absent the secured status of such
 Claim, would be entitled to priority in right of payment under section 507(a) of the Bankruptcy
 Code if any such Claims exist as of the Effective Date.

        1.106 Settlement: The comprehensive global settlement embodied in this Plan.

         1.107 Settlement Amount: The sum of $35,214,882.30 to be paid by the Insurance
 Companies on behalf of the Former Representatives and Harvey Weinstein, which shall be
 allocated as described in Section 5 of the Plan.

         1.108 Settlement Party(ies): All parties who are signatories to the Plan Support
 Agreement, and each such persons’ predecessors, successors, assigns, insiders, subsidiaries,
 Affiliates, current and former officers, directors and board representatives, principals, equity
 holders, members, trustees, partners, managers, employees, agents, members of any boards or
 similar bodies of such persons, advisory board members, financial advisors, attorneys, insurers,
 reinsurers, accountants, investment bankers, consultants, representatives, and other professionals,


 1
  As specified above, AIG Europe Limited and AIG Europe SA are not Insurance Companies and
 as such, AIG Europe Limited and AIG Europe SA are not Released Parties.


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 and such persons’ respective heirs, executors, estates, and nominees, in each case, in their capacity
 as such.

         1.109 Settlement Releases: The certain general and specific releases contained within
 this Plan and the Plan Support Agreement.

         1.110 Sexual Misconduct Claims: Shall mean all Tort Claims that arise out of, connect
 to or relate in any way to any actual or alleged sexual conduct of Harvey Weinstein.

        1.111 Sexual Misconduct Claims Fund: The sum of $17,064,525.30 to be paid by the
 Insurance Companies to the Global Escrow Account in accordance with the terms of the Plan.

       1.112 Sexual Misconduct Claims Examiner: Jed Melnick and Simone Lelchuk of
 Melnick ADR, LLP and any of their Representatives.

         1.113 Sexual Misconduct Claims Fund Procedures: Shall mean the procedures for
 distribution of the Sexual Misconduct Claims Fund to Holders of Sexual Misconduct Claims by
 the Sexual Misconduct Claims Examiner, attached hereto as Exhibit 4.

          1.114 Supplemental Administrative Claims Bar Date: The first Business Day that is
 at least 45 days after the Effective Date.

        1.115 Third-Party Releases: The third-party releases described in Section 7 of the Plan.

          1.116 Tort Claim: Any Claim (including any Claim asserted against any Released Party
 by any Non-Released Party) that arises out of or connects or relates in any way to, any actual or
 alleged conduct of Harvey Weinstein, which shall include, without limitation: (i) actual or alleged
 sexual misconduct, nonconsensual interactions, harassment (including sexual harassment),
 uninvited or unwelcome conduct, predatory conduct, inappropriate conduct, degrading conduct,
 coercive or intimidating behavior, humiliation, tort, hostile work environment, sexual assault, rape,
 intentional infliction of emotional distress, negligence, negligent infliction of emotional distress,
 battery, assault, gender violence, false imprisonment, false arrest or detention, sexual abuse, sex
 trafficking or discrimination based on sex or gender or any similar or related actions, or
 (ii) defamation, witness tampering, mail fraud, wire fraud, negligent hiring, negligent supervision,
 negligent retention, negligence, failure to prevent harassment or ratification, whether based on
 direct or vicarious liability, whether domestic or foreign, whether based on breach of fiduciary (or
 other) duty or intentional or negligent conduct, including but not limited to allegations of failure
 to prevent or remedy, failure to disclose, aiding and abetting or efforts or conspiracy to prevent the
 disclosure, or cover up, of any of the preceding, against the Released Parties.

        1.117 Tort Claimant: Any Holder of a Tort Claim.

          1.118 Unimpaired: When used in reference to a Claim or Interest, any Claim or Interest
 that is not impaired within the meaning of section 1124 of the Bankruptcy Code.

        1.119 United States Trustee: The Office of the United States Trustee for Region 3.




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                                          EXHIBIT 2

                                      LIST OF DEBTORS1


                DEBTOR                CASE NO.              DEBTOR               CASE NO.

     Avenging Eagle SPV, LLC          18-10602    WTV Guantanamo SPV, LLC         18-10629
     TWC Waco SPV, LLC                18-10603    TWC Fearless Borrower, LLC      18-10630
     Small Screen Productions LLC     18-10604    DRT Rights Management LLC       18-10631
     Small Screen Trades LLC          18-10605    WTV JCP Borrower 2017, LLC      18-10632
     Twenty O Five Holdings, LLC      18-10606    TWC Library Songs (BMI), LLC    18-10633
     Branded Partners LLC             18-10607    FFPAD, LLC                      18-10634
     W Acquisition Company LLC        18-10608    WTV Kalief Browder Borrower,    18-10635
                                                  LLC
     Spy Kids TV Borrower, LLC        18-10609    TWC Loop LLC                    18-10636
     Check Hook LLC                   18-10610    WTV Scream 3 SPV, LLC           18-10637
     WC Film Completions, LLC         18-10611    TWC Mist, LLC                   18-10638
     Team Players LLC                 18-10612    HRK Films, LLC                  18-10639
     Weinstein Books, LLC             18-10613    WTV Yellowstone SPV, LLC        18-10640
     The Actors Group LLC             18-10614    TWC Polaroid SPV, LLC           18-10641
     CTHD 2 LLC                       18-10615    InDirections LLC                18-10642
     Weinstein Development LLC        18-10616    TWC Production-Acquisition      18-10643
                                                  Borrower 2016, LLC
     The Giver SPV, LLC               18-10617    InteliPartners LLC              18-10644
     Weinstein Global Funding Corp.   18-10618    ISED, LLC                       18-10645
     Cues TWC (ASCAP), LLC            18-10619    TWC Production, LLC             18-10646
     The Weinstein Company LLC        18-10620    MarcoTwo, LLC                   18-10647
     Weinstein Global Film Corp.      18-10621    TWC Replenish Borrower, LLC     18-10648
     Tulip Fever LLC                  18-10622    TWC Short Films, LLC            18-10649
     Current War SPV, LLC             18-10623    One Chance LLC                  18-10650
     Weinstein Productions LLC        18-10624    TWC Untouchable SPV, LLC        18-10651
     TWC Borrower 2016, LLC           18-10625    PA Entity 2017, LLC             18-10652
     Weinstein Television LLC         18-10626    Paddington 2, LLC               18-10653
     DRT Films, LLC                   18-10627    PS Post LLC                     18-10654
     TWC Domestic LLC                 18-10628    Scream 2 TC Borrower, LLC       18-10655




 1
   Each Debtor’s federal tax identification number may be obtained on the website of the Debtors’
 claims and noticing agent at http: //dm.epiq11.com/twc.



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                                  EXHIBIT 3

                        PLAN SUPPORT AGREEMENT




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                                PLAN SUPPORT AGREEMENT

                This PLAN SUPPORT AGREEMENT (as amended, supplemented, or otherwise
 modified from time to time in accordance with the terms hereof, this “Agreement”), dated as of
 October 19, 2020, is entered into by and among The Weinstein Company Holdings, LLC
 (“Holdings”) and The Weinstein Company LLC (“TWC”), each a debtor and debtor in possession
 in the Chapter 11 Cases, each affiliate of Holdings or TWC that is a debtor in the Chapter 11 Cases
 as identified on the signature pages hereto (Holdings, TWC and such affiliates, collectively, the
 “Debtors”), the Non-Debtor Affiliates, the Committee, the Former Representatives, Harvey
 Weinstein and the Insurance Companies (each a “Party” and collectively, the “Parties”). Each
 capitalized term used herein but not otherwise defined shall have the meaning ascribed to it in the
 Debtors’ and the Committee’s Second Amended Joint Chapter 11 Plan of Liquidation, filed with
 the Bankruptcy Court on October 1, 2020 and attached hereto as Exhibit C (as it may be further
 amended, modified, or supplemented from time to time, the “Plan”).

                                            RECITALS

                 WHEREAS, multiple individuals filed lawsuits, claims or class actions in federal
 courts, state courts and foreign tribunals alleging, inter alia, that Harvey Weinstein engaged in
 sexual harassment and abuse in violation of federal, foreign and state law, and that certain
 companies (including the Debtors) and the Former Representatives should also be held responsible
 for such harassment and abuse;

                WHEREAS, on March 19, 2018 (the “Petition Date”), the Debtors commenced the
 Chapter 11 Cases by filing voluntary petitions for relief under chapter 11 of the Bankruptcy Code
 in the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”);

                   WHEREAS, on the terms and subject to the conditions set forth herein and in the
 Plan, and subject to the approval of this Agreement and the Plan by the Bankruptcy Court, the
 Parties wish to settle all actual and potential claims, disputes and controversies relating to,
 connected to or arising out of the allegations against the Debtors, the Former Representatives and
 (to the extent holders of Sexual Misconduct Claims affirmatively elect) Harvey Weinstein, and it
 is their intent to avoid the risk, expense and burden of litigation, and permanently to settle and
 resolve all such disputes, matters, claims, controversies, issues, assertions and causes of action
 among them, whether known or unknown, actual or alleged, asserted or not asserted, suspected or
 not suspected, anticipated or unanticipated, accrued or not accrued, fixed or contingent, liquidated
 or unliquidated, matured or unmatured, disputed or undisputed, domestic or foreign, which have
 been or could have been alleged or asserted, by and between the Parties, without any admission of
 fault, liability or wrongdoing on the part of any Party (the “Settlement”);

              WHEREAS, the Parties have agreed to implement the Settlement through the Plan
 in a manner consistent in all material respects with the terms and conditions set forth in this
 Agreement;

              WHEREAS, the Parties desire to express to each other their mutual support of and
 commitment to the Plan and this Agreement;



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                NOW, THEREFORE, in consideration of the premises and the mutual covenants
 and agreements set forth herein, and for other good and valuable consideration, the receipt and
 sufficiency of which are hereby acknowledged, the Parties, intending to be legally bound, agree as
 follows:

 1.     Settlement Amount.

                The Insurance Companies, on behalf of the Released Parties (and Harvey
 Weinstein, only with respect to Sexual Misconduct Claims held by holders of Sexual Misconduct
 Claims who affirmatively elect to release Harvey Weinstein in accordance with the Plan) shall pay
 the Settlement Amount of $35,214,882.30 to an account controlled by the Global Escrow Agent
 in immediately available funds not later than ten (10) Business Days following occurrence of the
 Effective Date. Each Insurance Company will fund its applicable portion in respect of the
 Settlement Amount, as specified in Schedule 2 attached to the Plan, which shall collectively total
 the Settlement Amount. The Global Escrow Agent shall further distribute the Settlement Amount
 in accordance with Section 5 of the Plan.

 2.     Releases.

                In consideration of and conditioned upon payment, distribution, allocation and
 receipt of the Settlement Amount set forth in Section 1 of this Agreement and the other
 contributions of the Parties, the Settlement Parties conclusively, absolutely, unconditionally,
 irrevocably, and forever release, waive, disclaim and discharge the Released Parties and their
 respective property to the maximum extent permitted by law, as further set forth below.

        A.         General Release.

              i.          Except as otherwise set forth in Sections 2.B and 2.C herein, as of the
                          Effective Date, each of the Settlement Parties that is a signatory hereto
                          releases (and each entity so discharged and released shall be deemed
                          discharged and released by the Settlement Parties) each of the Released
                          Parties that is a signatory hereto and its respective property from any and
                          all Claims, interests, obligations, rights, suits, damages, causes of action,
                          remedies, and liabilities whatsoever, including any direct or derivative
                          claims asserted or assertable by or on behalf of any of the Settlement Parties,
                          any Claims or causes of action asserted by or on behalf of any of the
                          Settlement Parties, or that any Settlement Party would have been legally
                          entitled to assert in their own right, whether individually or collectively,
                          whether known or unknown, foreseen or unforeseen, existing or hereinafter
                          arising, in law or in equity, based on any matter, cause, thing, conduct or
                          omission occurring prior to the Effective Date and in any way related to the
                          Debtors, their businesses, operations, activities or the Chapter 11 Cases
                          (including, but not limited to, Tort Claims).




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       B.    Additional Releases.

            i.      Additional Releases include the following:

                    (1)    the Debtors and the Former Representatives release the Insurance
                           Companies from any and all past, present or future claims, demands,
                           obligations, actions, causes of action, rights, damages, costs, losses
                           of services, expenses and compensation of any nature whatsoever
                           (including, without limitation, reimbursement of fees and costs of
                           defense) in any way arising out of or related to the Tort Claims,
                           whether in law, in equity or otherwise, and whether under contract,
                           warranty, tort or otherwise, including but not limited to any claims
                           for bad faith or breach of the implied covenant of good faith and fair
                           dealing; provided, however, this release shall not include any
                           (i) Claims that are not Tort Claims; (ii) Tort Claims that are not
                           permanently released, discharged and enjoined pursuant to the
                           Bankruptcy Injunctions; and (iii) direct and indirect fees, costs and
                           expenses incurred by the Debtors or the Former Representatives in
                           excess of $25,000 per Claim in connection with (a) the enforcement
                           of the Bankruptcy Injunctions and/or (b) any Claim or action by or
                           against a Non-Released Party or by a holder of a Sexual Misconduct
                           Claim who does not affirmatively elect to release Harvey Weinstein
                           (except as otherwise provided in Section 2.B.i(3) below); provided
                           further that with respect to the Claims specified in subparagraphs
                           (i)-(iii) above, the Debtors and the Former Representatives reserve
                           their rights to seek insurance coverage from the Insurance
                           Companies and the Insurance Companies reserve their rights to
                           contest such coverage;

                    (2)    the Former Representatives and the Debtors who are currently or
                           were previously named parties in the Contract and Commercial
                           Cases waive all challenges to coverage positions taken by the
                           Insurance Companies for each of the Contract and Commercial
                           Cases due to the failure of such Former Representatives and Debtors
                           to issue timely coverage dispute letters to the Insurance Companies,
                           and such Former Representatives and the Debtors shall not seek
                           coverage from the Insurance Companies for any cost or expense
                           incurred in connection with any Contract or Commercial Case for
                           which a coverage position has been waived;

                    (3)    Harvey Weinstein releases the Insurance Companies for all Claims
                           arising in the Judd Case and the McGowan Case;

                    (4)    in the event a holder of a Sexual Misconduct Claim affirmatively
                           elects to release Harvey Weinstein, then (i) Harvey Weinstein shall
                           be deemed to release the Insurance Companies from any Claims in
                           any way arising out of, related to or connected to such Sexual


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                                    Misconduct Claims; and (ii) the Insurance Companies shall be
                                    deemed to release Harvey Weinstein from any Claims in any way
                                    arising out of, related to or connected to such Sexual Misconduct
                                    Claims;

                           (5)      the Debtors, the Estates, the Committee and the Non-Debtor
                                    Affiliates release the Former Representatives for all of the Estates’
                                    Claims and Causes of Action against any Former Representative;

                           (6)      the Former Representatives and Harvey Weinstein release the
                                    Debtors with respect to any and all Claims, including: (i) all general
                                    unsecured, priority and/or administrative expense claims that have
                                    been asserted or could be asserted against the Debtors (except as set
                                    forth in the Plan); (ii) any and all claims for substantial contribution
                                    pursuant to Section 503(b)(3) of the Bankruptcy Code (provided
                                    that such substantial contribution claims shall only be available as
                                    consideration for any releases granted pursuant to the Plan and the
                                    approval of the Channeling Injunction and shall not support the
                                    request for payments from the Estates); and (iii) any and all
                                    contribution and indemnity Claims against the Debtors and/or their
                                    respective bankruptcy Estates, except to the extent that any of the
                                    Debtors are nominally defendants in any insurance coverage
                                    litigation; upon occurrence of the Effective Date and distribution
                                    and receipt of the Settlement Amount in accordance with this
                                    Agreement and the Plan, all proofs of claim filed by the Former
                                    Representatives and Harvey Weinstein shall be deemed disallowed
                                    and any amounts owed to the Former Representatives and Harvey
                                    Weinstein as reflected on the Debtors’ schedules of assets and
                                    liabilities shall be deemed released and discharged;

                           (7)      the Debtors, the Former Representatives and Harvey Weinstein (as
                                    applicable) release all holders of Sexual Misconduct Claims,
                                    including current or former TWC employees and/or contractors,
                                    from any confidentiality, non-disclosure or non-disparagement
                                    agreements (if any), arising from or relating to any Sexual
                                    Misconduct Claim; 1

                           (8)      notwithstanding the foregoing, and in exchange for the
                                    consideration herein, the Debtors, the Former Representatives and
                                    Harvey Weinstein: (i) fully release and forever relinquish any and
                                    all rights for coverage for defense costs or indemnification or
                                    otherwise under Policy No. G27085969 005 issued by Westchester
                                    Fire Insurance Company to the named insured The Weinstein
                                    Company Holdings. The Debtors, the Former Representatives and

 1
   On or about the Petition Date, the Debtors publicly announced such release as provided in the press release
 attached hereto as Exhibit A and the Debtors hereby reaffirm such release.

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                         Harvey Weinstein agree that any duties or obligations of
                         Westchester Fire Insurance Company under Policy No. G27085969
                         005 are fully and finally extinguished and terminated. By this
                         release, the Debtors, the Former Representatives and Harvey
                         Weinstein reserve no rights or benefits whatsoever under or in
                         connection with Policy No. G27085969 005 with respect to any past,
                         present or future claims whatsoever; and (ii) fully release and
                         forever discharge National Union Fire Insurance Company of
                         Pittsburgh, PA (“National Union”) from any obligations, duties,
                         responsibilities, claims, liabilities and damages under Policy
                         No. 01-824-40-28 issued to the named insured The Weinstein
                         Company Holdings. The Debtors, the Former Representatives and
                         Harvey Weinstein agree that National Union’s contribution of the
                         remaining unexhausted amount of Policy No. 01-824-40-28 towards
                         the Settlement Amount exhausts the $10 million limit of liability of
                         Policy No. 01-824-40-28. By this release, the Debtors, the Former
                         Representatives and Harvey Weinstein reserve no rights or benefits
                         whatsoever under or in connection with Policy No. 01-824-40-28
                         with respect to any past, present or future claims whatsoever;

                  (9)    each Insurance Company releases each and every other Insurance
                         Company for Claims or causes of action, whether in law, in equity,
                         or otherwise, and whether under contract, warranty, tort or
                         otherwise, solely with respect to any claim for recovery of each
                         Insurance Company’s respective contribution to the Settlement
                         Amount and any defense costs paid by any Insurance Company prior
                         to the execution of this Agreement for the Claims and any criminal
                         proceedings arising out of the Sexual Misconduct Claims from any
                         other Insurance Company (unless otherwise agreed upon by and
                         between any of the Insurance Companies), provided, however,
                         (i) these releases shall not apply to any Insurance Company’s
                         obligations under any contract of reinsurance; and (ii) in the event
                         any Insured seeks coverage for any matters or claims not released
                         herein, each Insurance Company reserves the right to challenge the
                         exhaustion of any applicable policy except Policy No. 01-824-40-28
                         issued by National Union;

                  (10)   except as provided in Section 2 above, the Insurance Companies (on
                         behalf of themselves and their subsidiaries, Affiliates, parents,
                         predecessors, or successors (except AIG Europe Limited and AIG
                         Europe SA)) release the other Released Parties from any and all past,
                         present or future claims, demands, obligations, actions, causes of
                         action, rights, damages, costs, losses of services, expenses and
                         compensation of any nature whatsoever (including, without
                         limitation, reimbursement of fees and costs of defense) in any way
                         arising out of or related to the Claims, whether in law, in equity or
                         otherwise, and whether under contract, warranty, tort or otherwise,

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                                including but not limited to any claims for bad faith or breach of the
                                implied covenant of good faith and fair dealing; the Insurance
                                Companies shall not seek recovery of the Settlement Amount or any
                                portion thereof paid by such Insurance Company from any other
                                Released Party for any reason; provided, however the Insurance
                                Companies do not release any rights, defenses or Claims against The
                                Walt Disney Company, Disney Enterprises, Inc., Buena Vista
                                International, Inc., Miramax, LLC, Miramax Film Corporation
                                and/or Miramax Film NY, LLC.

       C.         Certain Plan Releases.

             i.          On the Effective Date, all Claims for contribution (including Claims for
                         contribution arising from, related to or connected to Tort Claims) held by a
                         Non-Released Party against all Released Parties shall be conclusively,
                         absolutely, unconditionally, irrevocably, and forever enjoined, discharged
                         and released pursuant to the terms of the Plan.

            ii.          In the event a holder of a Sexual Misconduct Claim does not affirmatively
                         elect to release Harvey Weinstein and such holder obtains any judgment
                         against Harvey Weinstein arising out of, related to or connected to their
                         Sexual Misconduct Claims, such holder may seek to enforce, collect or
                         otherwise recover on such judgment by any manner or means, whether
                         directly or indirectly, from either Harvey Weinstein or the Insurance
                         Companies (as applicable), provided, however, if such holder seeks to
                         enforce, collect or otherwise recover the judgment from the Insurance
                         Companies, Harvey Weinstein shall not seek coverage from the Insurance
                         Companies for such judgment; provided further, that (i) with respect to the
                         such holder’s non-released Sexual Misconduct Claims against Harvey
                         Weinstein, the Insurance Companies reserve their rights to contest
                         coverage, and (ii) nothing in this paragraph shall be read to expand or alter
                         the terms, conditions and provisions of any Insurance Policies;

       D.         Exclusions and Waivers.

             i.          Notwithstanding the foregoing, the releases set forth in this Agreement and
                         the Plan shall not include or constitute a release of (i) any Claims in
                         Section 2.B of this Agreement that are specifically excluded from the
                         releases set forth in Sections 2.A and 2.B or (ii) any of the following:

                         (1)    any Former Representatives’ and/or their respective affiliates’ or
                                representatives’ Claims (other than Claims released in Section 2.B),
                                including any claim for indemnification, against any Released Party
                                other than the Debtors, the Estates and the Former Representatives;




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                  (2)    Robert Weinstein’s and Harvey Weinstein’s Claims for
                         indemnification against the Non-Debtor Entities that arise from,
                         relate to or connect to Sexual Misconduct Claims;

                  (3)    in the event a holder of a Sexual Misconduct Claim does not
                         affirmatively elect to release Harvey Weinstein; (i) Harvey
                         Weinstein shall not be required to release the Insurance Companies
                         from any Claims in any way arising out of, related to or connected
                         to such holder’s Sexual Misconduct Claims other than as set forth in
                         Section 2.B.i(3); and (ii) the Insurance Companies shall not be
                         required to release Harvey Weinstein from any Claims in any way
                         arising out of, related to or connected to Sexual Misconduct Claims
                         that are not released in accordance with subparagraph (i) of this
                         Section 2.D.i(3);

                  (4)    the Debtors’, Harvey Weinstein’s, Robert Weinstein’s, Frank Gil’s
                         and David Glasser’s claims and counterclaims against the Debtors,
                         Harvey Weinstein, Robert Weinstein, Frank Gil and David Glasser,
                         arising out of the actions entitled Frank Gil v. Weinstein Live
                         Entertainment LLC, et. al., Supreme Court of the State of New York,
                         County of New York, Case No. 653555/2019, and Sartraco et. al. v.
                         Robert Weinstein, et. al., Superior Court for the State of California,
                         County of Los Angeles, Case No. 19-cv-00448;

                  (5)    Claims to enforce the terms of this Agreement and the Plan and any
                         related documents;

                  (6)    Claims for professional fees, as further described in the Plan.

           ii.    The Settlement Parties hereby expressly, knowingly and voluntarily waive
                  the provisions of Section 1542 of the California Civil Code (or any
                  comparable statutory or common law provision of any other jurisdiction
                  with respect to the Claims released pursuant to this Agreement), which
                  provides as follows:

                       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                   WHICH THE CREDITOR OR RELEASING PARTY DOES NOT
                   KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE
                   TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM
                   OR HER WOULD HAVE MATERIALLY AFFECTED HIS OR HER
                   SETTLEMENT WITH THE DEBTOR OR RELEASED PARTY.

                         The Settlement Parties expressly waive and relinquish any and all
                   rights and benefits that they may have under, or that may be conferred
                   upon them by, the provisions of Section 1542 of the California Civil Code,
                   or any other law of any state or territory that is similar, comparable, or
                   equivalent to Section 1542, to the fullest extent that they may lawfully


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                         waive such rights or benefits pertaining to the Claims. In connection with
                         such waiver and relinquishment, the Settlement Parties hereby
                         acknowledge that they are aware that they or their attorneys may hereafter
                         discover claims or facts in addition to or different from those that they now
                         know or believe exist with respect to the Claims, but that it is their
                         intention to hereby fully, finally, and forever settle and release all of the
                         Claims known or unknown, suspected or unsuspected, matured or
                         unmatured, disclosed or undisclosed, contingent or absolute, liquidated or
                         unliquidated, accrued or unaccrued, apparent or unapparent, that they have
                         against the Released Parties and Harvey Weinstein. In furtherance of such
                         intention, the release herein given by the Settlement Parties to the Released
                         Parties and Harvey Weinstein shall be and remain in effect as a full and
                         complete general release as to the Claims, notwithstanding the discovery
                         or existence of any such additional or different claims or facts. Each of the
                         Settlement Parties expressly acknowledges that he/she/it has been advised
                         by his/her/its attorney of the contents and effect of Section 1542, and with
                         that knowledge, each of the Settlement Parties hereby expressly waives
                         whatever benefits he/she/it may have had pursuant to such section.

 3.     No Admission.

                  By entering into this Agreement, no Released Party is admitting any wrongdoing,
 liability, fault or violation of law and no Insurance Company is admitting coverage under any
 policy of insurance. Rather, the Parties agree and acknowledge that (i) Debtors, the Former
 Representatives and Harvey Weinstein deny all allegations and Claims asserted against them,
 (ii) this Agreement is without prejudice to any coverage position taken or that may be taken by
 any Insurance Company, any Former Representative or Harvey Weinstein in the event this
 Agreement does not become effective, and (iii) the Parties are entering into the Settlement to avoid
 the risk, burden, and expense of continued litigation.

 4.     Costs.

                None of the Former Representatives, Harvey Weinstein or the Insurance
 Companies shall have any obligation to provide funds (other than the Settlement Amount) to fund
 any expense incurred by or in the course of the administration of the Estates, including seeking
 approval of this Agreement and the Plan; provided, however, the Estates shall not bear the costs
 of seeking enforcement of the Channeling Injunction or the Plan in any foreign jurisdictions.

 5.     Plan Support; Channeling Injunction Support; Other Support.

        With respect to the Plan, the Parties further agree as follows:

        A.       The Debtors shall (i) have filed the Plan with the Bankruptcy Court on or before
                 October 1, 2020 and (ii) use best efforts to obtain confirmation of the Plan as soon
                 as reasonably practicable in accordance with the Bankruptcy Code and on terms
                 consistent with this Agreement.



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        B.     Each Party shall support entry of the Confirmation Order so long as such order and
               the Plan are consistent in all material respects with the terms of this Agreement
               (a “Conforming Chapter 11 Plan”).

        C.     Each Party entitled to vote on the Plan will (i) support and vote to accept the Plan
               to the extent it is a Conforming Chapter 11 Plan and (ii) opt-in to any consensual
               releases thereunder.

        D.     Each Party shall use best efforts to support and cooperate with the Debtors to obtain
               confirmation of the Plan and any regulatory or other approvals necessary for
               confirmation or effectiveness of the Plan to the extent it is a Conforming Chapter
               11 Plan.

        E.     No Party shall: (i) object to, delay, impede, or take any other action to interfere with
               acceptance, confirmation or implementation of the Plan so long as it is a
               Conforming Chapter 11 Plan; (ii) directly or indirectly solicit approval or
               acceptance of, encourage, propose, file, support, participate in the formulation of
               or vote for, any restructuring, sale of assets, merger, workout or plan of liquidation
               or reorganization for the Debtors other than the Plan so long as it is a Conforming
               Chapter 11 Plan or (iii) otherwise take any action that would interfere with, delay,
               impede, or postpone (a) the solicitation of acceptances, consummation or
               implementation of the Plan so long as it is a Conforming Chapter 11 Plan, or (b)
               the Effective Date.

        F.     In the event a person or entity asserts a Claim or commences an action against a
               Released Party and such Claim or action arises from, connects to or relates to a Tort
               Claim, the Released Party (or Released Parties) against whom such Claim or action
               is asserted shall take all commercially reasonable actions to enforce or otherwise
               have recognized the terms of the Confirmation Order and the Plan (including, but
               not limited to, the Bankruptcy Injunctions), which provide that such Claim or action
               is discharged, released and enjoined pursuant to the Confirmation Order and the
               Plan.

        G.     The Parties to this Agreement shall support the entry of a Bankruptcy Court order
               approving the Channeling Injunction.

 6.     Further Assurances.

                 The Parties acknowledge and agree that they will each cooperate in the execution
 and delivery of any other or further documentation that may be reasonably necessary to carry out
 the intentions of this Agreement.

 7.     Effectiveness.

        A.     This Agreement shall be binding on all Parties upon execution and delivery of this
               Agreement by all Parties subject to the terms and conditions herein and in the Plan.



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        B.      Upon the execution of this Agreement and until the Effective Date, the Parties shall
                proceed in good faith to seek Bankruptcy Court approval of the Plan and the Parties
                shall not, directly or indirectly, propose, file, support, solicit, encourage or
                participate in any Settlement other than the Settlement embodied in the Plan, unless
                it is a Conforming Chapter 11 Plan.

        C.      Any Foreign Court Approval Orders, as may be mutually deemed necessary and
                agreed upon by Harvey Weinstein and the Former Representatives who seek such
                orders, and the costs of which shall be borne exclusively by Harvey Weinstein and
                those Former Representatives who seek such orders, may be obtained at any time
                and from time to time following the Effective Date (as determined by Harvey
                Weinstein and such Former Representatives), but shall not constitute a condition to
                this Agreement becoming fully effective as provided in this Section 7. The Debtors
                and other Parties will reasonably cooperate with the obtaining of any such Foreign
                Court Approval Order, but will not be required to incur any unreimbursed costs or
                expenses related thereto (including attorneys’ fees).

        D.      In the event the Bankruptcy Court declines to enter the Confirmation Order, unless
                the Parties agree otherwise, this Agreement shall be deemed terminated, null and
                void ab initio, and the Parties will be excused from any future performance
                thereunder. In such event, nothing in this Agreement shall be admissible as
                evidence in any case or proceeding for any purpose, it being the intent of the Parties
                that in such circumstance all discussions and negotiations related to the Settlement
                and this Agreement will be treated as inadmissible settlement discussions protected
                under Federal Rule of Evidence 408 and its state law equivalents.

 8.     Tolling.

                 Any unexpired statute of repose, statute of limitations, limitation or laches period,
 or other provision that requires, mandates, or establishes any deadline for the commencement or
 filing of any matter, proceeding or other action, or the assertion of any right, claim or defense
 related thereto, by or on behalf of the Debtors against the applicable Former Representatives, or
 any of them, applicable to any of the Excluded Actions (as defined in the Asset Purchase
 Agreement with Lantern Entertainment dated March 19, 2018) covered under sections 108 and
 546 of the Bankruptcy Code (collectively, the “Limitation Deadline”), are hereby tolled until the
 earlier of (i) the Effective Date, (ii) forty-five (45) days after the first hearing at which the
 Bankruptcy Court declines to approve the Confirmation Order or (iii) in the event an order
 converting the Chapter 11 Cases to chapter 7 cases has been entered by the Bankruptcy Court,
 forty-five (45) days after the date on which a chapter 7 trustee is duly appointed, elected or
 designated (as applicable).

 9.     Governing Law.

                 This Agreement shall be governed by and construed in accordance with federal
 bankruptcy law, to the extent applicable, and where state law is applicable, the laws of the State of
 New York shall govern, without giving effect to the choice of law principles thereof, including as
 to all matters of the construction, validity and performance of this Agreement.


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 10.    Dispute Resolution.

                 In the event of a dispute arising out of this Agreement after the Effective Date, such
 dispute, controversy or claim shall first be referred to the respective senior representatives or
 counsel of the Parties, who shall in good faith endeavor to amicably resolve the dispute,
 controversy or claim. Any such dispute, controversy or claim, including any dispute, controversy
 or claim arising out of, relating to, or in connection with this Agreement, or the breach, termination
 of validity thereof that is not resolved by the Parties pursuant to the preceding sentence, shall be
 adjudicated or otherwise resolved in the Bankruptcy Court; provided, however, that if the
 Bankruptcy Court is unwilling or unable to hear any such dispute, controversy or claim, the New
 York State courts located in New York County and/or the federal courts of the United States of
 America located in New York County will have sole jurisdiction over such dispute, controversy
 or claim. Upon the Effective Date, the Parties consent to venue and personal jurisdiction over
 them in those courts solely with regards to any such dispute, controversy or claim and shall not
 object to or otherwise challenge the same.

 11.    Entire Agreement.

                This Agreement, the Plan, and the other documents and agreements contemplated
 hereby and thereby represent the entire agreement of the Parties with respect to the matters and
 transactions that are the subject of this Agreement and the Plan.

 12.    Integration.

                This Agreement, the Plan and the other documents and agreements contemplated
 hereby and thereby supersede and replace all prior and contemporaneous agreements and
 understandings, oral or written, between any or all of the Parties with regard to the matters and
 transactions that are the subject of this Agreement and the Plan.

 13.    Amendments.

                No amendment to this Agreement shall be effective unless made in writing and
 signed by all Parties.

 14.    Construction.

                As this Agreement was jointly drafted by the Parties, no provision of this
 Agreement shall be construed against or interpreted to the disadvantage of any Party by any court
 or other governmental or judicial authority by reason of such Party having or being deemed to
 have structured or drafted such provision.

 15.    Notices.

                  Should any notice be required or sent with respect to this Agreement, such notice
 shall be in writing and be given in person or by means of electronic mail (with request for assurance
 of receipt in a manner typical with respect to communications of that type), by recognized
 overnight courier that maintains written confirmation of delivery or by registered or certified mail,
 and shall become effective: (i) on delivery if given in person; (ii) on the date of transmission if

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 sent by electronic mail; (iii) one (1) Business Day after delivery by overnight courier; or (iv) three
 (3) Business Days after being mailed, with proper postage and documentation, for first-class
 registered or certified mail, prepaid. Notices shall be addressed as specified in Exhibit B to this
 Agreement.

 16.    Voluntary Signing of Agreement.

                 The Parties acknowledge that they each have voluntarily entered into this
 Agreement. The Parties further acknowledge that they each have read this Agreement and
 understand all of its terms, including the mutual release and discharge of claims in Section 2 of
 this Agreement. The Parties acknowledge that they may hereafter discover claims or facts in
 addition to or different from those they now know or believe to exist with respect to the subject
 matter of this Agreement which, if they had known or suspected at the time of execution of this
 Agreement, may have materially affected the Settlement. The Parties nevertheless agree that the
 mutual release and discharge of claims in Section 2 applies to any such additional or different
 claims or facts.

 17.    Consent, Withdrawal and Termination Rights.

                 Each Party may withdraw from this Agreement prior to the Effective Date, solely
 as to itself, by written notice to all Parties stating the Party’s intention to withdraw from this
 Agreement and the basis for such withdrawal, on or after the occurrence of any of the following
 (at which time this Agreement shall be deemed to be terminated and null and void ab initio):

        A.      the Plan or Confirmation Order is amended, modified or otherwise changed in a
                manner that adversely affects such Party’s rights in any material respect, including
                but not limited to with respect to any of the following: (i) the provisions of the Plan
                that relate to the exculpation and release of Harvey Weinstein, the Former
                Representatives or the Insurance Companies contemplated in this Agreement,
                including, without limitation, any non-consensual releases by any holders of Tort
                Claims against any Former Representative and the waiver of any such Former
                Representative’s rights to seek full reimbursement under the Insurance Policies;
                and (ii) the form of Channeling Injunction set forth in Section 5 of the Plan;

        B.      the noticing and claims procedures and other implementation in connection with
                the Channeling Injunction effectuated pursuant to the Plan are not reasonably
                satisfactory to a Former Representative or an Insurance Company;

        C.      the NYOAG has not provided the releases contemplated under the Plan in a form
                and substance reasonably acceptable to the Former Representatives; or

        D.      the Confirmation Order is not entered on or before December 31, 2020 (or such
                later date as may be agreed to by the Parties).




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 18.    Authority.

                 Each Party executing this Agreement on such Party’s behalf or in a representative
 capacity represents and warrants that such Party is duly authorized to do so and that such Party’s
 signature so binds the Party or the represented Party (as applicable), its former, current, and future
 Affiliates, predecessors, successors, privies, assigns, members, partners, employees, agents,
 representatives, heirs, administrators and executors, and all others who are acting or have acted on
 its behalf (as applicable).

 19.    Severability.

                If a provision of this Agreement is determined by a court of competent jurisdiction
 to be unenforceable under applicable law, that provision will be enforced to the maximum extent
 permitted by applicable law and the remaining provisions of this Agreement will continue in full
 force and effect.

 20.    Counterparts.

               This Agreement may be executed in one or more counterparts, each of which will
 be deemed an original and part of one and the same document. Signatures delivered in PDF format
 shall be deemed original signatures.

                                                 ****

                IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed
 in a manner legally binding upon them as of the date hereof.

                                       [signature pages follow]




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                                       For the Debtors



                                       By:__________________________
                                            _________________
                                       Name: Ivona Smith
                                       Title: Director, The Weinstein Company
                                              Holdings, LLC


                                       The Weinstein Company Holdings LLC,
                                       a Delaware Limited Liability Company

                                       The Weinstein Company LLC,
                                       a Delaware Limited Liability Company

                                       Avenging Eagle SPV, LLC,
                                       a Delaware Limited Liability Company

                                       Branded Partners LLC,
                                       a Delaware Limited Liability Company

                                       Check Hook LLC,
                                       a Delaware Limited Liability Company

                                       CTHD 2 LLC,
                                       a Delaware Limited Liability Company

                                       Cues TWC (ASCAP), LLC,
                                       a Delaware Limited Liability Company

                                       Current War SPV, LLC,
                                       a Delaware Limited Liability Company

                                       DRT Films, LLC,
                                       a Delaware Limited Liability Company

                                       DRT Rights Management LLC,
                                       a Delaware Limited Liability Company

                                       FFPAD, LLC,
                                       a Delaware Limited Liability Company




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                                       HRK Films, LLC,
                                       a Delaware Limited Liability Company

                                       InDirections LLC,
                                       a Delaware Limited Liability Company

                                       InteliPartners LLC,
                                       a Delaware Limited Liability Company

                                       ISED, LLC,
                                       a Delaware Limited Liability Company

                                       MarcoTwo, LLC,
                                       a Delaware Limited Liability Company

                                       One Chance LLC,
                                       a Delaware Limited Liability Company

                                       PA Entity 2017, LLC,
                                       a Delaware Limited Liability Company

                                       Paddington 2, LLC,
                                       a Delaware Limited Liability Company

                                       PS Post LLC,
                                       a Delaware Limited Liability Company

                                       Scream 2 TC Borrower, LLC,
                                       a Delaware Limited Liability Company

                                       Small Screen Productions LLC,
                                       a Delaware Limited Liability Company

                                       Small Screen Trades LLC,
                                       a Delaware Limited Liability Company

                                       Spy Kids TV Borrower, LLC,
                                       a Delaware Limited Liability Company

                                       Team Players LLC,
                                       a Delaware Limited Liability Company

                                       The Actors Group LLC,
                                       a Delaware Limited Liability Company




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                                       The Giver SPV, LLC,
                                       a Delaware Limited Liability Company

                                       Tulip Fever LLC,
                                       a Delaware Limited Liability Company

                                       TWC Borrower 2016, LLC,
                                       a Delaware Limited Liability Company

                                       TWC Domestic LLC,
                                       a Delaware Limited Liability Company

                                       TWC Fearless Borrower, LLC,
                                       a Delaware Limited Liability Company

                                       TWC Library Songs (BMI), LLC,
                                       a Delaware Limited Liability Company

                                       TWC Loop LLC,
                                       a Delaware Limited Liability Company

                                       TWC Mist, LLC,
                                       a Delaware Limited Liability Company

                                       TWC Polaroid SPV, LLC,
                                       a Delaware Limited Liability Company

                                       TWC Production-Acquisition Borrower
                                       2016, LLC,
                                       a Delaware Limited Liability Company

                                       TWC Production, LLC,
                                       a Delaware Limited Liability Company

                                       TWC Replenish Borrower, LLC,
                                       a Delaware Limited Liability Company

                                       TWC Short Films, LLC,
                                       a Delaware Limited Liability Company

                                       TWC Untouchable SPV, LLC,
                                       a Delaware Limited Liability Company

                                       TWC Waco SPV, LLC,
                                       a Delaware Limited Liability Company




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                                       Twenty O Five Holdings, LLC,
                                       a Delaware Limited Liability Company

                                       W Acquisition Company LLC,
                                       a Delaware Limited Liability Company

                                       WC Film Completions, LLC,
                                       a Delaware Limited Liability Company

                                       Weinstein Books, LLC,
                                       a Delaware Limited Liability Company

                                       Weinstein Development LLC,
                                       a Delaware Limited Liability Company

                                       Weinstein Global Funding Corp.,
                                       a Delaware Corporation

                                       Weinstein Global Film Corp.,
                                       a Delaware Corporation

                                       Weinstein Productions LLC,
                                       a Delaware Limited Liability Company

                                       Weinstein Television LLC,
                                       a Delaware Limited Liability Company

                                       WTV Guantanamo SPV, LLC,
                                       a Delaware Limited Liability Company

                                       WTV JCP Borrower 2017, LLC,
                                       a Delaware Limited Liability Company

                                       WTV Kalief Browder Borrower, LLC,
                                       a Delaware Limited Liability Company

                                       WTV Scream 3 SPV, LLC,
                                       a Delaware Limited Liability Company

                                       WTV Yellowstone SPV, LLC,
                                       a Delaware Limited Liability Company




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                                       For Current Films UK Limited
                                       a Delaware Limited Liability Company



                                       By:__________________________
                                       Name: Ivona Smith
                                       Title: Director, The Weinstein Company
                                              Holdings, LLC


                                       For MarcoThree, LLC,
                                       a Delaware Limited Liability Company



                                       By:__________________________
                                       Name: Ivona Smith
                                       Title: Director, The Weinstein Company
                                              Holdings, LLC


                                       For Tulip Fever Films Limited,
                                       a Delaware Limited Liability Company



                                       By:__________________________
                                       Name: Ivona Smith
                                       Title: Director, The Weinstein Company
                                              Holdings, LLC


                                       For The Weinstein Company (UK) Ltd.,
                                       a UK Private Limited Company



                                       By:__________________________
                                       Name: Ivona Smith
                                       Title: Director, The Weinstein Company
                                              Holdings, LLC




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                                       For the Official Committee of Unsecured
                                       Creditors
                                         editors



                                       By:__________________________
                                           __________________________
                                       Name:
                                          me: Lo
                                               Louisette
                                                  isette Geiss
                                       Title: Committee Co-Chair




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                                                                                                                     For Harvey Weinstein
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                                                                                                                     Name:
                                                                                                                        me: Imran H. Ansari., Esq.
                                                                                                                     Title: Partner, Aid
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                                               For Robert Weinstein




                                               By:__
                                               Name:
                                                    di           __________

                                               Title:




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                                                             For James Dolan

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                                                             By:        62C68351218A4E6 .

                                                             Name:
                                                             Title:




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                                               For David Glasser



                                               By: /s/ Douglas E. Grover
                                               Name: Douglas E, Grover
                                               Title: Partner
                                                       Schlam Stone & Dolan LLP




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                                               For Paul Tudor Jones




                                               Name:
                                               Title:




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                                               For Marc Lasry



                                               By:_,,__...---- +-------=-- <-----;,~--
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                                               Title:




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                                               For Barbara Schneeweiss




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                                               For Lance Maerov



                                               By:__________________________
                                                      ______________________
                                               Name:
                                               Title:




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                                               For Tarak Ben Ammar




                                               By:__________________________
                                               Name: Tarak BEN AMMAR
                                               Title:




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                                               For Richard Koenigsberg



                                                   ____________________
                                               By:__________________________
                                               Name: Richard Koenigsberg
                                               Title:




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                                 ror Dirk Ziff


                                 By:

                                 Name:

                                 Title:




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                                               For Tim Sarnoff



                                               By : - - , 1 , ~£__-,,'--'"-lr-Hl' - - - - - - - - --
                                               Nam
                                               Title.




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                                               For Fireman 's Fund Insurance
                                               Company




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                                               For The American Insurance
                                               Company




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                                               For National Union Fire Insurance
                                               Company of Pittsburgh, PA.



                                               By: __________________________
                                               Name:
                                                  me: Richard F. Dziedziula
                                               Title: Vice President Financial Lines




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                The Weinstein Company Press Release of March 19, 2018




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                             THE WEINSTEIN COMPANY



          TWC and Lantern Capital Partners Enter Into Stalking Horse Agreement
                                  for Section 363 Sale

                 Deal Contemplates Business Continuing as a Going Concern

                                TWC Releases NDA Obligations



 FOR IMMEDIATE RELEASE – March 19, 2018

 The Weinstein Company Holdings LLC today entered into a “stalking horse” agreement with an
 affiliate of Lantern Capital Partners, a Dallas-based private equity company. TWC entered into
 the agreement with Lantern in conjunction with the filing of a voluntary petition under the
 United States Bankruptcy Code in the United States Bankruptcy Court in the District of
 Delaware. Under the agreement, Lantern will purchase substantially all of the assets of the
 Company, subject to certain conditions including approval of the Bankruptcy Court. The Board
 selected Lantern in part due to Lantern’s commitment to maintain the assets and employees as a
 going concern. The Company hopes that this orderly sale process under the supervision of the
 Bankruptcy Court will allow it to maximize the value of the Company’s assets for the benefit of
 its creditors and other stakeholders.

 Today, the Company also takes an important step toward justice for any victims who have been
 silenced by Harvey Weinstein. Since October, it has been reported that Harvey Weinstein used
 non-disclosure agreements as a secret weapon to silence his accusers. Effective immediately,
 those “agreements” end. The Company expressly releases any confidentiality provision to the
 extent it has prevented individuals who suffered or witnessed any form of sexual misconduct by
 Harvey Weinstein from telling their stories. No one should be afraid to speak out or coerced to
 stay quiet. The Company thanks the courageous individuals who have already come forward.
 Your voices have inspired a movement for change across the country and around the world.

 “While we had hoped to reach a sale out of court, the Board is pleased to have a plan for
 maximizing the value of its assets, preserving as many jobs as possible and pursuing justice for
 any victims,” said Chairman Robert Weinstein. The Board also expressed its great appreciation
 to New York Attorney General Eric Schneiderman, and his colleagues, for helping the Company
 achieve these objectives.




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                              THE WEINSTEIN COMPANY



 Lantern co-founders Andy Mitchell and Milos Brajovic stated: “We are honored to be selected
 as the bidder to acquire the company’s businesses as an ongoing concern. In the last several
 months, Lantern has evaluated the company and is proud to provide a solution to the board. As
 with all our businesses, Lantern will improve the performance of the company’s businesses with
 the utmost respect to all employees and promote a diverse and transparent environment. We are
 grateful for everyone involved in the transaction and look forward to following through on our
 promise to reposition the business as a preeminent content provider, while cultivating a positive
 presence in the industry.”

 The Company regrets that it cannot undo the damage Harvey Weinstein caused, but hopes that
 today’s events will mark a new beginning. Even as the Company heads into bankruptcy, the
 Company remains committed to doing whatever it can to maximize value for its creditors and, in
 cooperation with Attorney General, continue its pursuit of justice for any victims.

 About Lantern Capital Partners

 Founded in 2010, Lantern is a private equity firm that has managed and/or acquired over $2
 billion in assets across a diverse range of industries. As a true partner to investors with a
 commitment to providing solutions to complicated business problems, Lantern believes in hands-
 on investment management and partnership with leading industry executives and complete
 integrity. Lantern has earned the reputation for its turnaround capabilities because of the history
 of investing in and contributing to the growth of businesses that foster long-term value. Led by
 Co-Founders Andy Mitchell and Milos Brajovic, Lantern Capital Partners is headquartered in
 Dallas, TX, with its affiliate, Lantern Asset Management. For more information about Lantern,
 please visit www.lanternam.com.




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                                             Exhibit B

                To the extent any notice is required with respect to the Agreement, notices shall be
 addressed as follows:

                if to Debtors:

                       Paul H. Zumbro
                       Lauren A. Moskowitz
                       CRAVATH SWAINE & MOORE, LLP
                       Worldwide Plaza
                       825 Eighth Avenue
                       New York, NY 10019
                       Phone: (212) 474-1000
                       pzumbro@cravath.com
                       lmoskowitz@cravath.com

                       and

                       Paul N. Heath
                       RICHARDS, LAYTON & FINGER, PA
                       920 N King St.
                       Wilmington, DE 19801
                       Phone: (302) 651-7700
                       heath@RLF.com

                if to the Committee:

                       James I. Stang (CA Bar No. 94435)
                       Robert J. Feinstein (NY Bar No. 1767805)
                       Debra I. Grassgreen (CA Bar No. 169978)
                       Colin R. Robinson (DE Bar No. 5524)
                       PACHULSKI STANG ZIEHL & JONES LLP
                       919 North Market Street, 17th Floor
                       P.O. Box 8705
                       Wilmington, DE 19899 (Courier 19801)
                       Telephone: 302-652-4100
                       Facsimile: 302-652-4400




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             if to Former Representatives

                    Elior Shiloh
                    LEWIS BRISBOIS BISGAARD & SMITH, LLP
                    77 Water Street, Suite 2100
                    New York, NY 10005
                    Phone: (212) 232-1300
                    elior.shiloh@lewisbrisbois.com

                    and

                    Adam Harris
                    SCHULTE ROTH & ZABEL LLP
                    919 Third Avenue
                    New York, NY 10022
                    Phone: (212) 756-2253
                    adam.harris@srz.com

                    and

                    Lawrence S. Spiegel
                    SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
                    One Manhattan West
                    New York, New York 10001
                    Phone: (212) 735-3000
                    lawrence.spiegel@skadden.com

                    and

                    Marvin Putnam
                    LATHAM & WATKINS LLP
                    10250 Constellation Blvd. Suite 1100
                    Los Angeles, CA 90067
                    Phone: (424) 653-5588
                    marvin.putnam@lw.com

                    and

                    Mark Silverschotz
                    ANDERSON KILL P.C.
                    1251 6th Avenue
                    New York, NY 10020
                    Phone: (212) 278-1000
                    msilverschotz@andersonkill.com




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                   and

                   Kathy Jorrie
                   PILLSBURY WINTHROP SHAW
                   PITTMAN LLP
                   725 South Figueroa Street
                   Suite 2800
                   Los Angeles, CA 90017
                   Phone: (213) 488-7100
                   kathy.jorrie@pillsburylaw.com

                   and

                   Israel David
                   FRIED, FRANK, HARRIS, SHRIVER & JACOBSON LLP
                   One New York Plaza
                   New York, NY 10004
                   Phone: (212) 859-8000
                   israel.david@friedfrank.com

                   and

                   James D. Wareham
                   FRIED, FRANK, HARRIS, SHRIVER & JACOBSON LLP
                   801 17th Street, NW
                   Washington, DC 20006
                   Phone: (202) 639-7000
                   james.wareham@friedfrank.com

                   and

                   Ann Kramer
                   REED SMITH LLP
                   599 Lexington Avenue
                   New York, NY 10022
                   Phone: (212) 521-5400
                   akramer@reedsmith.com




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                    and

                    James V. Masella, III
                    Daniel A. Lowenthal
                    Alejandro H. Cruz
                    PATTERSON BELKNAP WEBB &
                    TYLER LLP
                    1133 6th Avenue
                    New York, NY 10036
                    Phone: (212) 336-2000
                    jmasella@pbwt.com
                    dalowenthal@pbwt.com
                    acruz@pbwt.com

                    and

                    John J. Rosenberg
                    ROSENBERG, GIGER & PERALA P.C.
                    1330 Avenue of the Americas
                    Suite 1800
                    New York, NY 10019
                    Phone: (646) 494-5000
                    jrosenberg@rglawpc.com

                    and

                    Douglas E. Grover
                    SCHLAM STONE & DOLAN LLP
                    26 Broadway
                    New York, NY 10004
                    Phone: (212) 344-5400
                    dgrover@schlamstone.com

             If to the Insurance Companies:

                    E. Joseph O’Neil
                    PEABODY & ARNOLD LLP
                    600 Atlantic Avenue
                    Boston, MA 02210
                    Phone: (617) 951-4705
                    eoneil@peabodyarnold.com




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                   and

                   Alex Fooksman
                   AIG
                   80 Pine Street 5th Floor
                   New York, NY 10005
                   Phone: (646) 857-2168
                   alex.fooksman@aig.com

                   and

                   David Simantob
                   WILSON ELSER MOSKOWITZ EDELMAN & DICKER LLP
                   555 South Flower Street Suite 2900
                   Los Angeles, CA 90071
                   Phone: (213) 330-8819
                   david.simantob@wilsonelser.com

                   and

                   Sherry L. Pantages
                   ALLIANZ GLOBAL CORPORATE & SPECIALTY
                   2350 West Empire Avenue, Suite 200
                   Burbank, CA 91504 USA
                   Phone: (818) 972-5204
                   sherry.pantages@agcs.allianz.com

                   and

                   Christopher Celentano
                   CHUBB
                   10 Exchange Place, 9th Floor
                   Jersey City, NJ 07302
                   Phone: (201) 479-6398
                   Christopher.celentano@chubb.com

                   and

                   Edward Gibbons
                   Joyce Noyes
                   WALKER WILCOX MATOUSEK LLP
                   One North Franklin Street
                   Chicago, IL 60606
                   Phone: (312) 244-6700
                   egibbons@walkerwilcox.com
                   jnoyes@walkerwilcox.com



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                                  EXHIBIT C

                                     Plan
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                                  EXHIBIT 4

              SEXUAL MISCONDUCT CLAIMS FUND PROCEDURES




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                     SEXUAL MISCONDUCT CLAIMS
           RESOLUTION PROCEDURES IN THE CHAPTER 11 CASES
  OF THE WEINSTEIN COMPANY HOLDINGS LLC AND ITS DEBTOR AFFILIATES

 1.     PURPOSE

 The purpose of this protocol is to provide for the distribution of funds to holders of Allowed Sexual
 Misconduct Claims. This protocol does not apply to Other Tort Claims, which shall recover solely,
 if allowed, from the Liquidation Trust in accordance with the Plan and the Liquidation Trust
 Agreement.

 2.     DEFINITIONS

        2.1     Capitalized Terms

 A capitalized term used but not defined herein shall have the meaning ascribed to it in the Plan or
 the Bankruptcy Code and such definitions are incorporated herein by reference.

        2.2     Defined Terms

                (a)     “Claims Examiner” means Simone Lelchuk and Jed Melnick of Melnick
                        ADR, LLP.

                (b)     “Claimant” means a Holder of an Allowed Sexual Misconduct Claim.

 3.     RULES OF INTERPRETATION AND GENERAL GUIDELINES

        3.1     Sole and Exclusive Method With Respect to the Debtors
                and Former Representatives (other than Harvey Weinstein)

 The Plan and this protocol shall together be the sole and exclusive method by which a Claimant
 may seek monetary distribution on account of a Sexual Misconduct Claim against the Debtors
 and/or Former Representatives; provided, however, that after a Sexual Misconduct Claim is
 Allowed and liquidated in accordance with the procedures set forth herein, a Claimant shall have
 the option to release Harvey Weinstein or to not release Harvey Weinstein and pursue an
 action against him (but not any Released Party) in a court of competent jurisdiction.

 Holders of Allowed Sexual Misconduct Claims who do not affirmatively elect to release Harvey
 Weinstein shall receive 25% of the Liquidated Value of their Allowed Sexual Misconduct Claims
 in consideration of the release of their Sexual Misconduct Claims against the Released Parties.

 Holders of Allowed Sexual Misconduct Claims who affirmatively elect to release Harvey
 Weinstein shall receive the full Liquidated Value of their Sexual Misconduct Claims.

        3.2     Conflict with Plan.

 The terms of the confirmed Plan (as it may be amended) or the Confirmation Order shall prevail
 if there is any conflict between the terms of the Plan and the terms of this protocol.



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        3.3     Non-Compensatory Damages and Other Theories of Liability

 In determining the distribution to any Claimant, punitive damages and damages that do not
 compensate the Claimant shall not be considered or allowed, even if these damages could have
 been considered or allowed under applicable non-bankruptcy law. While punitive damages may
 be a tool for punishing behavior and deterring future similar behavior, taking potential punitive
 and similar damages into account in the context of a limit pool settlement would increase
 administrative costs and burdens and likely would benefit some Claimants to the detriment of other
 Claimants.

        3.4     Withdrawal of Claims

 A Claimant can irrevocably withdraw a Sexual Misconduct Claim at any time upon written notice
 to the Claims Administrator. If a Claimant irrevocably withdraws a Sexual Misconduct Claim, the
 Claimant shall forever be barred, estopped, and enjoined from asserting such Sexual Misconduct
 Claim against each of the Debtors and the Released Parties and their respective property (or filing
 a subsequent proof of claim with respect thereto), and each of the Debtors, the Former
 Representatives, and their respective chapter 11 estates (as applicable), successors, and property
 shall be forever released from any and all indebtedness or liability with respect to or arising from
 such Sexual Misconduct Claim.

        3.5     Res Judicata Effect

 The Claims Examiner’s determination with respect to a Sexual Misconduct Claim shall have no
 preclusive, res judicata, judicial estoppel, or similar effect outside of the Chapter 11 Cases as to
 any third party and, accordingly, the Claims Examiner’s determination may not be used by or
 against any Claimant or Harvey Weinstein or any other third party in any other matter, case, or
 proceeding.

 The Claims Examiner’s determination and information or documents related thereto with respect
 to a Sexual Misconduct Claim (i) shall not be offered, introduced, admitted, referenced, discussed
 or otherwise disclosed to the judge, jury (any mediator(s) or arbitrator(s)) or any other finder of
 fact in any non-bankruptcy lawsuit or proceeding concerning any Non-Released Claim for any
 reason, except by a Released Party if necessary to prove entitlement to a credit against any amounts
 owed in connection with a judgment, award, decree or other order with respect to any such
 Non-Released Claim against any of the Released Parties, (ii) shall not have, and shall not be argued
 by a Holder of Non-Released Claims to have, preclusive, binding, res judicata, estoppel, or
 preemptive effect of any kind whatsoever with respect to the amount of any such Holder’s
 Non-Released Claims, and (iii) shall not constitute an adjudication, judgment, trial, hearing on the
 merits, settlement, resolution of or otherwise establish any parties’ liability or obligation for any
 Non-Released Claims.

        3.6     Confidentiality and Privilege

 All information that the Claims Examiner receives from any source about any Sexual Misconduct
 Claim, including all documents submitted in support of a Sexual Misconduct Claim (e.g., medical
 records), shall be held in strict confidence and shall not be disclosed absent an Order of the
 Bankruptcy Court or the written consent of the Claimant (or such Claimant’s counsel of record).


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 All information that the Claims Examiner receives from any Claimant (including from counsel to
 such Claimant) shall be subject to a mediation privilege and receipt of such information by the
 Claims Examiner shall not constitute a waiver of any attorney-client privilege or attorney
 work-product claim or any similar privilege or doctrine.

 4.     SEXUAL MISCONDUCT CLAIMS EXAMINER

 Simone Lelchuk and Jed Melnick of Melnick ADR, LLP have been appointed as the Claims
 Examiner under the terms of this protocol and an order of the Bankruptcy Court. The Claims
 Examiner shall conduct a review of each of the Sexual Misconduct Claims and, according to the
 guidelines set forth in section 5 below, make determinations upon which individual monetary
 distributions will be made subject to the Plan. The Claims Examiner’s review as to each Claimant
 shall be final, subject only to: (1) reconsideration and judicial review as set forth in section 8
 below; and (2) the option to not release Harvey Weinstein and pursue an action against him (but
 not any Released Party) in a court of competent jurisdiction as set forth in section 9 below.

 5.     PROCEDURE FOR ALLOCATION
        AMONG ALLOWED SEXUAL MISCONDUCT CLAIMS

        5.1     Proof of Sexual Misconduct Claim

 As set forth in the Plan, upon the Effective Date of the Plan, the Debtors shall serve each person
 that filed a proof of claim asserting a Sexual Misconduct Claim with a long form proof of claim
 (the “Long Form Proof of Claim”). Holders of Sexual Misconduct Claims must submit the Long
 Form Proof of Claim to the Claims Examiner within 60 days following the Effective Date of the
 Plan.

 The Claims Examiner shall consider all of the facts and evidence presented by the Claimant in the
 Claimant’s filed Long Form Proof of Claim.

 By a date to be established by the Claims Examiner and upon written request by a Claimant or
 such Claimant’s counsel of record, the Claims Examiner may interview any Claimant; provided
 that any face to face interview shall be conducted by video conference.

        5.2     Guidelines for Allocation for Allowed Sexual Misconduct Claims

                (a)    Initial Evaluation

 Each Sexual Misconduct Claim will be evaluated by the Claims Examiner. Before making a final
 determination regarding a particular Sexual Misconduct Claim, the Claims Examiner shall
 consider the degree to which the Claimant has proven by a preponderance of the evidence that the
 sexual misconduct was perpetrated by Harvey Weinstein. The Claims Examiner will evaluate all
 evidence provided by the Claimant or otherwise available to the Claims Examiner that may
 enhance or diminish the overall reliability of any asserted Sexual Misconduct Claims.

 The Long Form Proof of Claim shall require Claimants to disclose whether such Claimant
 previously entered into a settlement agreement or executed a release of liability with any of the
 Released Parties and/or Harvey Weinstein relating to the Sexual Misconduct Claim, the date of


                                             Exh. 4-4
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 the settlement or release, and to provide a copy of such agreement upon request of the Claims
 Examiner on a confidential basis. Claimants who previously entered a settlement agreement or
 release of liability with any Released Party and/or Harvey Weinstein relating to a Sexual
 Misconduct Claim may only recover for conduct that occurred after the date of the settlement or
 release of liability; provided, however, releases contained in ordinary course of business
 employment separation agreements shall not be a basis to disallow a Sexual Misconduct Claim.

                (b)      Evaluation Factors

 The Claims Examiner will review a Claimant’s Long Form Proof of Claim and any accompanying
 evidence according to the guidelines below (the “Point Guidelines”). The Point Guidelines are
 illustrative of the various types and impacts of conduct, but are not meant to be a complete or
 conclusive description of all possible fact patterns for which the Claims Examiner may assign
 points. In evaluating a Claim, the Claims Examiner shall consider the totality of the circumstances
 of the Sexual Misconduct Claim. The Claims Examiner will also consider the likelihood that the
 Claimant would have been able to prove such Claimant’s claims in court, including the application
 of relevant statutes of limitation and any other relevant considerations. The fact that a claim may
 be time-barred under the relevant statute of limitations shall not be used as a total bar to recovery
 on the Sexual Misconduct Claim.

 The Claims Examiner will determine a Point Award in accordance with the Point Guidelines.
 The total number of points for which a Claimant may qualify is 100 points.

                        NATURE OF PHYSICAL SEXUAL MISCONDUCT CLAIM
                                     MAXIMUM 60 POINTS
    No.     Factor                        Examples
    1.      Type of alleged conduct       Unwanted penetration of any kind, including oral, anal, or vaginal.

                                          Unwanted sexualized touching, such as being touched by Harvey
                                          Weinstein, being coerced or forced to touch Harvey Weinstein, or
                                          forced or coerced to masturbate in front of Harvey Weinstein.

                                          Indecent exposure, such as being exposed to Harvey Weinstein’s
                                          nudity, partial nudity, or to him masturbating, or being forced or
                                          coerced by Harvey Weinstein to remove clothing to expose
                                          breast(s), buttocks, or genitals.
    2.      Frequency and duration        Number of physical encounters.
    3.      Direct physical injury        Unwanted penetration of any kind, including oral, anal, or vaginal;
                                          unwanted sexualized touching, such as being touched by Harvey
                                          Weinstein, being coerced or forced to touch Harvey Weinstein, or
                                          forced or coerced to masturbate in front of Harvey Weinstein; or
                                          bruises, scarring, internal or external injuries.




                                               Exh. 4-5
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    4.    Control of environment        Imprisonment whereby Claimant was physically prevented from
                                        leaving the environment, such as being locked in a room in an
                                        enclosed space without an easy form of exit (e.g., an airplane or a
                                        hotel room); and/or the Claimant was transported to a location at
                                        Harvey Weinstein’s direction or invitation and then prevented from
                                        leaving. Other examples include being physically restrained by
                                        Harvey Weinstein or an attempted or actual sexual assault forced
                                        the Claimant to lock herself into a room.
                     NATURE OF NON-PHYSICAL SEXUAL MISCONDUCT CLAIM
                                    MAXIMUM 30 POINTS
    No.   Factor                        Examples
    5.    Stalking                      Repeated contact by or communication from Harvey Weinstein
                                        (e.g., in-person, via text messages, email, or phone, or through
                                        intermediaries) after declining, avoiding, or expressing reluctance
                                        to communicate or meet with Harvey Weinstein.

                                        Unplanned, unannounced, or otherwise unwelcome visits by
                                        Harvey Weinstein at Claimant’s residence, lodging, or workplace.

                                        Claimant was followed, investigated, or otherwise targeted by
                                        private investigators retained by or on behalf of Harvey Weinstein.
    6.    Type of non-physical sexual   Verbal sexual harassment may include being asked, explicitly or by
          misconduct                    implication, to engage in sexual acts or sexual conduct, being
                                        subjected to comments about a person’s physical attractiveness,
                                        being called or exposed to gendered epithets, being subjected to
                                        insults based on sex stereotypes (i.e., comments like women are
                                        only good for getting married and having children, derogatory
                                        comments about menstruation, etc.)

                                        Employment or professional opportunity conditioned on
                                        performing gendered personal tasks for Harvey Weinstein outside
                                        of and in addition to the Claimant’s profession, including those
                                        tasks that involved exposure to Harvey Weinstein’s sexual
                                        encounters (such as obtaining or having to store or otherwise
                                        handle penile dysfunction medication for Harvey Weinstein or
                                        cleaning rooms following Harvey Weinstein’s sexual encounters).
    7.    Frequency and duration        Number of occurrences, including whether Claimant was employed
                                        by the Debtors.
    8.    Employment retaliation        Unfavorable employment terms or denial of professional
                                        opportunity after the Claimant complained, whether in writing or
                                        orally, about Harvey Weinstein’s sexual misconduct, sexual
                                        harassment, and/or sexual discrimination to Harvey Weinstein or
                                        others in the workplace, including human resources personnel.




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                                          IMPACT OF SEXUAL MISCONDUCT
                                               MAXIMUM 10 POINTS
    No.          Factor                         Examples
    9.           Emotional distress             Mental health problems and other emotional trauma, whether or not
                                                diagnosed or treated, including: paranoia, depression, substance
                                                abuse, suicide attempt or suicidal ideation, self-harm, anxiety,
                                                flashbacks, post-traumatic stress disorder, damage to personal or
                                                familial relationships, and difficulty in obtaining or maintaining
                                                employment due to mental or emotional condition resulting from
                                                incident(s).
    10.          Economic harm                  Economic harm including monetary loss attributable to retaliation,
                                                termination, or denial of professional opportunity by Harvey
                                                Weinstein for resisting or refusing to acquiesce to Harvey
                                                Weinstein’s sexual conduct or demands or for complaining about
                                                such conduct or demands.
                                  ADJUSTMENTS TO POINT AWARDS
                    MAXIMUM +/- 20 POINTS (UP TO A MAXIMUM OF 100 TOTAL POINTS)
    No.          Factor                         Examples
    11.          Age                            Age of claimant at time of abuse.
    12.          Litigation                     What was the outcome of prior litigation? What is the current status
                                                of pending litigation?
    13.          Corroborating evidence         Items such as documents, emails, text messages, videos, receipts,
                                                hotel folios, itineraries, travel records, event tickets, etc.
    14.          Limitation on Damages in       Are there any limits on compensatory damages in the applicable
                 Applicable Jurisdiction        jurisdiction?
                               DOWNWARD ADJUSTMENTS TO POINT AWARDS
                                       MAXIMUM - 35 POINTS
         No.     Factor                         Examples
    15.          Limitations                    What is or would be the applicable statute of limitation? Is the
                                                claim timely on its face under the applicable statute of limitations?
                                                Are there reasons why, notwithstanding a claim's apparent
                                                untimeliness the claim may not be time – barred, after all? Would
                                                the law applicable in the relevant jurisdiction lead to the conclusion
                                                that there is a reasonable expectation of the time bar being set
                                                aside?



           5.3         Joint or Several Liability Issues Not Applicable

 The primary function of the Sexual Misconduct Claim evaluation is to facilitate the fair and
 equitable division of the proceeds of this settlement among the various Claimants. Accordingly,
 there will be no consideration of joint or several liability issues vis-à-vis non-Debtor individuals
 or entities that may potentially be liable for the Sexual Misconduct Claim.




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 6.     MINIMUM DISTRIBUTION

 Notwithstanding anything to the contrary herein or in the Plan, every holder of an Allowed Sexual
 Misconduct Claim shall receive a distribution of at least $7,500. The Claims Examiner, however,
 shall have the discretion to apply downward adjustments to the minimum distribution amount
 based on the total number of Sexual Misconduct Claims.

 7.     MONETARY DISTRIBUTION

 Once the Claims Examiner determines each Claimant’s Point Award, the Claims Administrator
 shall then calculate the value of each Point Award. Each Claimant’s Point Award value will be
 determined by dividing (x) the total amount of dollars in the Sexual Misconduct Claims Fund
 (approximately $17 million) by (y) the total number of points among all of the Point Awards, the
 result of which will be the value of one point (the “Point Value”). The Claims Administrator will
 then multiply the Point Value by each Claimant’s Point Award to calculate the Liquidated Value
 of the Claimant’s Sexual Misconduct Claims. By way of example, if there are 100 claimants, with
 Point Awards totaling 7,500 points and a total settlement fund of $17 million, each point would be
 valued at $2,266.67 and a Claimant with 75 points would be allocated $170,000. Claimants who
 receive a Point Award of zero points shall not be eligible to receive any monetary distribution,
 provided, however, such Claimants may seek reconsideration of their Point Award pursuant to the
 process set forth in Section 9 below.

 At the conclusion of the claims determination process, as set forth in Section 8 below, the Claims
 Administrator shall make a monetary distribution to Holders of Allowed Sexual Misconduct
 Claims in accordance the written payment instructions provided to the Claims Administrator on
 the Long Form Proof of Claim. Although the Claims Administrator is authorized to make interim
 distributions, the final monetary distribution will depend on (a) the number of Electing Judicial
 Claimants (defined below) and (b) the conclusion of all Final Judicial Determinations (defined
 below).

 The Plan Proponents anticipate that an interim distribution will be made within approximately 7
 months from the Effective Date of the Plan.

 8.     NOTICE OF SEXUAL MISCONDUCT CLAIMS DETERMINATION

        8.1     Claim Determination

 After the Claims Examiner has fully evaluated all Sexual Misconduct Claims and the Claims
 Administrator has calculated the Liquidated Value of each Claimant’s Sexual Misconduct Claims,
 the Claims Administrator shall notify each Claimant in writing (the “Determination Notice”) of
 their Point Award and the estimated Liquidated Value with respect to their Sexual Misconduct
 Claims (the “Claims Determination”).

 The Claims Administrator shall mail the Determination Notice to the Claimant or such Claimant’s
 counsel of record, or in the case of unrepresented parties, to the last address based on the
 Claimant’s filed proof of claim. Upon mailing of a Claimant’s Determination Notice where such
 Claimant is issued a Point Award of one or more points, such mailing shall constitute a withdrawal



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 of the Settlement Parties’ objections to such Claimant’s Sexual Misconduct Claims (if any) and
 such Claimant’s Sexual Misconduct Claims shall be deemed Allowed Sexual Misconduct Claims.

  If a Claimant receives a Point Award of zero points and is therefore ineligible for monetary
 distribution, the Claims Determination will explain the reason(s) for such Point Award. Upon
 mailing of a Claimant’s Determination Notice where such Claimant is issued a Point Award of
 zero points, such mailing shall constitute an objection to the allowance of such Claimant’s Sexual
 Misconduct Claims. If such Claimant fails to seek reconsideration as set forth in Section 8.2
 below, such Claimant’s Sexual Misconduct Claims shall be deemed Disallowed Sexual
 Misconduct Claims.

        8.2     Reconsideration

 The Determination Notice shall be final and non-appealable unless the Claimant makes a timely
 request for the Point Award to be reconsidered by the Claims Examiner. The Claimant may request
 reconsideration of the Point Award by delivering a written request for reconsideration to the
 Claims Examiner within 14 calendar days after the date of mailing of the Determination Notice.
 The Claimant, with the request for reconsideration, may submit additional evidence and argument
 in support of such request upon a showing that such additional information was not previously
 available or was not previously provided to the Claims Examiner. If a Claimant fails to request
 reconsideration within 14 calendar days after the date of mailing of the Determination Notice, the
 Claims Examiner’s determination shall become final and non-appealable, provided, however, a
 Claimant shall have the option to not release Harvey Weinstein and pursue an action against
 him (but not any Released Party) in a court of competent jurisdiction in accordance with
 section 9 below.

 If a Claimant makes a timely request for reconsideration, after reconsideration of the Claims
 Determination by the Claims Examiner, the Claims Administrator will issue a notice (a
 “Reconsideration Notice”) of the outcome of its decision (the “Final Claims Determination”).
 If the Claimant accepts the Final Claims Determination, such Final Claims Determination shall be
 final and non-appealable; provided, however, a Claimant shall have the option to not release
 Harvey Weinstein and pursue an action against him (but not any Released Party) in a court
 of competent jurisdiction in accordance with section 9 below.

        8.3     Judicial Review of Point Award

 Claimants that reject the Final Claims Determination may appeal the Final Claims Determination
 to the District Court.1

 Election of Judicial Review. Within 14 days after a Claimant receives a Reconsideration Notice
 (the “Election Deadline”), such Claimant must (i) notify the Claims Administrator of the
 Claimant’s intent to seek judicial review of Final Claims Determination (“Judicial Review”) by
 submitting a written notice to the Claim Administrator (a “Judicial Review Election Notice”) and
 (ii) file a copy of such Judicial Review Election Notice with the District Court. Claimants who

 1
     Nothing in these procedures shall be deemed a waiver or modification of a Claimant’s right to
     a trial by jury as to Harvey Weinstein.


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 fail to submit and file a Judicial Review Election Notice by the Election Deadline shall be deemed
 to accept the Final Claims Determination, and such Final Claims Determination shall become final,
 binding, non-appealable and not subject to review by any Court.

 Claimants who submit and file a Judicial Review Election Notice by the Election Deadline
 (“Electing Judicial Claimants”) shall have no right to receive any distribution from the Sexual
 Misconduct Claims Fund absent the issuance of an order or judgment of the District Court
 confirming or revising the Point Award for such Claimant’s Sexual Misconduct Claims that are no
 longer subject to appeal and for which no appeal is pending (a “Final Judicial Determination”).

 Limited Scope of Judicial Review. The Judicial Review shall be limited to the Final Claims
 Determination and the Point Award thereunder; provided, however, the District Court shall have
 plenary review of the Final Claims Determination and Point Award thereunder. The maximum
 points that the District Court may award on account of a Sexual Misconduct Claim is 100 points.

 Recovery Limited to Final Judicial Determination. To the extent that a Claimant’s Final Judicial
 Determination with respect to such Claimant’s Sexual Misconduct Claims results in a Point Award
 that is more or less than the Point Award in the Final Claims Determination, the Claimant will
 receive payment from the Sexual Misconduct Claims Fund that will be based on the Point Award
 of the Final Judicial Determination.

 Consolidation of Judicial Reviews. Subject to notice and a hearing and at the discretion of the
 District Court, all judicial review proceedings elected pursuant to this Section 8.3 may be heard
 and determined in one or more consolidated proceedings to the extent practicable, in a manner
 acceptable to the District Court, and in accordance with applicable law.

 Attorneys’ Fees and Expenses. Electing Judicial Claimants shall be required to pay their own
 attorneys’ fees and expenses in connection with the Judicial Review. The Plan Proponents have
 structured these Sexual Misconduct Claims Resolution Procedures in a manner that is intended to
 reduce administrative costs and attorneys’ fees attendant to administering the Sexual Misconduct
 Claims Fund including, but not limited to, retaining the Claims Examiner and Claims
 Administrator in a pro bono capacity, which thereby maximizes the amount of funds available for
 distribution to Claimants. The Judicial Review process is included for the benefit of all Claimants
 and to comport with applicable law. Accordingly, all attorney’s fees and expenses of the Claims
 Administrator and/or Claims Examiner in connection with the Judicial Review shall be paid from
 the Sexual Misconduct Claims Fund. To the extent there are pending Judicial Reviews at the time
 of any interim distribution from the Sexual Misconduct Claims Fund, the Claims Administrator
 shall create a reserve for its expected attorney’s fees and expenses related to such Judicial Reviews.

 9.     ELECTION TO RELEASE HARVEY WEINSTEIN

 Upon the later of (i) the Claims Determination; (ii) a Final Claims Determination; or (ii) a Final
 Judicial Determination, the Claims Administrator shall provide each Claimant with the option to
 release Harvey Weinstein or to not release Harvey Weinstein and pursue an action against him
 (but not any Released Party) in another court of competent jurisdiction (including the right to a
 jury trial) (the “Election Notice”). The Election Notice shall include the estimated minimum
 Liquidated Value of a Claimant’s Allowed Sexual Misconduct Claims.



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 Claimants who do not affirmatively elect to release Harvey Weinstein shall receive 25% of
 the Liquidated Value of their Allowed Sexual Misconduct Claims in consideration of the
 release of their Sexual Misconduct Claims against the Released Parties (except the Insurance
 Companies as it relates to such Claimant’s Sexual Misconduct Claims against Harvey
 Weinstein).

 Claimants who affirmatively elect to release Harvey Weinstein shall receive the full
 Liquidated Value of their Sexual Misconduct Claims in consideration of the release of their
 Sexual Misconduct Claims against the Released Parties and Harvey Weinstein.

 Claimants must return the Election Notice to the Claims Administrator within 14 calendar days
 after the date of mailing of the Election Notice. If a Claimant does not affirmatively elect to
 release Harvey Weinstein (a “Non-Releasing Claimant”), such Non-Releasing Claimant shall
 receive 25% of the Liquidated Value of its Allowed Sexual Misconduct Claims and pursue an
 action against Harvey Weinstein (but not any Released Party) in another court of competent
 jurisdiction.

 For each Non-Releasing Claimant, the remaining 75% of the Liquidated Value of their Allowed
 Sexual Misconduct Claim shall be allocated to a reversionary fund for the benefit of the Insurance
 Companies.

 10.    ELECTION TO IMMEDIATELY PURSUE HARVEY WEINSTEIN

 Notwithstanding anything to the contrary contained herein, a Claimant may, upon a preliminary
 showing of a valid Sexual Misconduct Claim, elect on the Long Form Proof of Claim to receive
 the minimum distribution amount ($7,500), waive all further rights with respect to the Sexual
 Misconduct Claims Fund, and immediately pursue an action against Harvey Weinstein (but not
 any Released Party) in another court of competent jurisdiction.




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                                        SCHEDULE 1

                              RELEASED PROFESSIONALS

    1.   For the Debtors
         Cravath, Swaine & Moore LLP
         Richards Layton & Finger, PA
         Seyfarth Shaw LLP

    2.   For the UCC
         Pachulski Stang Ziehl & Jones LLP
         Berkeley Research Group, LLC

    3.   For Marc Lasry
         Anderson Kill P.C.
         Paul Weiss Rifkind Wharton & Garrison LLP

    4.   For Barbara Schneeweiss
         Barta Tate

    5.   For Jeff Sackman and Lance Maerov
         Fried, Frank, Harris, Shriver & Jacobson LLP

    6.   For Tim Sarnoff
         Latham & Watkins LLP

    7.   For Harvey Weinstein
         Lewis Brisbois Brisgaard & Smith LLP
         Pasich LLP

    8.   For Paul Tudor Jones
         Patterson Belknap Webb & Tyler LLP

    9.   For Tarak Ben Ammar
         Pillsbury Winthrop Shaw Pittman LLP

    10. For Richard Koenigsberg
        Reed Smith LLP

    11. For James Dolan
        Rosenberg, Giger and Perala P.C.
        Skadden Arps Slate Meagher & Flom LLP

    12. For Dirk Ziff
        Skadden Arps Slate Meagher & Flom LLP




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    13. For David Glasser
        Schlam Stone & Dolan LLP

    14. For Robert Weinstein
        Schulte Roth & Zabel LLP
        Sauer & Wagner LLP

    15. For Frank Gil
        White, Hilferty & Albanese, P.C.
        Ween & Kozek
        Bowles, Liberman & Newman




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                                 SCHEDULE 2

                 INSURANCE COMPANIES’ FUNDING AMOUNTS

                                   [SEALED]




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                                    Exhibit B

                           Form of Effective Date Notice




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE
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                                                               :
 In re:                                                        :           Chapter 11
                                                               :
 THE WEINSTEIN COMPANY HOLDINGS,                               :           Case No. 18-10601 (MFW)
 LLC, et al.,                                                  :
                                                               :           (Jointly Administered)
                                   Debtors.1                   :
                                                               :           Re: D.I. [___]
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      NOTICE OF EFFECTIVE DATE AND ENTRY OF ORDER CONFIRMING PLAN
     PROPONENTS’ FIFTH AMENDED JOINT CHAPTER 11 PLAN OF LIQUIDATION

         PLEASE TAKE NOTICE that, on January 20, 2021, the above-captioned debtors (the
 “Debtors”) and the Official Committee of Unsecured Creditors (the “Committee”) appointed in
 their chapter 11 cases filed the Fifth Amended Joint Chapter 11 Plan of Liquidation [D.I. 3182]
 (as amended, modified or supplemented, the “Plan”) with the United States Bankruptcy Court for
 the District of Delaware (the “Court”).2

        PLEASE TAKE FURTHER NOTICE that, on ________, 2021, the Court entered the
 Order Confirming Plan Proponents’ Fifth Amended Joint Chapter 11 Plan of Liquidation [D.I.
 [____]] (the “Confirmation Order”).

        PLEASE TAKE FURTHER NOTICE that the Effective Date of the Plan occurred on
 _____, 2021.

         PLEASE TAKE FURTHER NOTICE that, except as otherwise provided in the Initial Bar
 Date Order or the Plan, requests for payment of Administrative Expense Claims must be filed with
 the Court and served on the Liquidation Trustee and its counsel and the U.S. Trustee within forty-
 five (45) days from service of this Notice (i.e. ____, 2021). Any Administrative Expense Claims
 that are not asserted in accordance herewith and with Section 3.7.1 of the Plan shall be deemed
 disallowed under the Plan and shall be forever barred against the Debtors, their estates, the
 Liquidation Trust, or any of their assets or property, and the holder thereof shall be enjoined from


 1
   The last four digits of The Weinstein Company Holdings LLC’s federal tax identification number are 3837. The
 mailing address for The Weinstein Company Holdings LLC is 99 Hudson Street, 4th Floor, New York, New York
 10013. Due to the large number of debtors in these cases, which are being jointly administered for procedural purposes
 only, a complete list of the Debtors and the last four digits of their federal tax identification numbers is not provided
 herein. A complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent
 at https://dm.epiq11.com/twc.
 2
  Capitalized terms used in this Confirmation Order but not otherwise defined shall have the same meaning as in the
 Plan.



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 commencing or continuing any action, employment of process or act to collect, offset, recoup, or
 recover such claim and shall be subject to the injunction provision.

         PLEASE TAKE FURTHER NOTICE that each Bankruptcy Professional requesting
 compensation for services rendered and reimbursement for expenses incurred during the period
 from the Petition Date through the Effective Date must (i) file and serve a properly noticed final
 fee application by no later than forty-five (45) days after the Effective Date and (ii) be paid solely
 from the Liquidation Trust (a) the full unpaid amount as is Allowed by the Court within 7 days
 after the date that such Claim is Allowed by Order of the Court or (b) upon such other terms as
 may be mutually agreed upon between the Holder of such an Allowed Professional Fee Claim and
 the Liquidation Trustee. Any Professional Fee Claim that is not asserted in accordance herewith
 and with Section 3.8 of the Plan shall be deemed disallowed under the Plan and shall be forever
 barred against the Debtors, their estates, the Liquidation Trust, or any of their assets or property,
 and the holder thereof shall be enjoined from commencing or continuing any action, employment
 of process or act to collect, offset, recoup, or recover such claim and shall be subject to the
 injunction provision. Any Holder of a Claim or Interest (or their representative, including, but not
 limited to, the Committee) or the Liquidation Trustee may object to the allowance of Professional
 Fee Claims.

         PLEASE TAKE FURTHER NOTICE that, in accordance with Section 8.1 of the Plan, on
 the Effective Date, except as otherwise provided in the Plan, or the Confirmation Order, and except
 for executory contracts and unexpired leases which the Debtors either have assumed, have rejected
 or have filed a motion to assume or reject prior to the Confirmation Date and which remains
 pending as of the Confirmation Date, all executory contracts and unexpired leases for goods,
 services, or premises used in connection with Debtors’ business operations shall be deemed
 rejected by the Debtors on the Effective Date. In accordance with Section 8.2 of the Plan, Claims
 created by the rejection of executory contracts or unexpired leases pursuant to the Plan must be
 filed with the Court and served on the Liquidation Trustee, no later than thirty (30) days after the
 Effective Date (i.e. ____, 2021). Any Claims for rejection of executory contracts or unexpired
 leases pursuant to the Plan for which a proof of claim is not filed and served within such time will
 be forever barred and shall not be enforceable against the Debtors or their Estates, assets,
 properties, or interests in property, or against the Liquidation Trust.

         PLEASE TAKE FURTHER NOTICE that the Plan, Confirmation Order and all other
 documents and pleadings filed in the Debtors’ chapter 11 cases may be viewed free of charge at
 https://dm.epiq11.com/case/twc/info, or for a fee on the Court’s website at
 http://www.deb.uscourts.gov.




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